FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 1 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         SUPREME                   COURT             OF THE             STATE               OF      NEW YORK
         COUNTY               OF         NEW YORK

               ALEXANDRA                         CANOSA,                                                                                         Index         No.             161254/2017


                                                                  Plaintiff,

                                           -against-


               DIRK        ZIFF,          TIM  SARNOFF,   MARC LASRY,
               TARAK             BEN        AMMAR,    LANCE  MAEROV,                                                                             SUMMONS
               RICHARD               KOENIGSBERG,                                PAUL          TUDOR                JONES,
               JAMES          L.    DOLAN,               JEFF           SACKMAN,                    THE
               WEINSTEIN                   COMPANY                      HOLDINGS,                      LLC,             THE
               WEINSTEIN                   COMPANY,                     LLC,          HARVEY
               WEINSTEIN                   and ROBERT                      WEINSTEIN,                      DOES                 1-10


                                                                  Defendants.



         Plaintiff         designates              New           York        County            as      the        place          of     trial,      based                 on     location              of      occurrence,
         Defendants              THE        WEINSTEIN                      COMPANY                        HOLDINGS,                       LLC,           THE              WEINSTEIN                          COMPANY,
         LLC    county              of     incorporation,                  Defendants       THE WEINSTEIN         COMPANY                                                                  HOLDINGS,                       LLC,
         Defendants'                                                            Defendants'
                                   place         of business,              and                 county of residence


         TO THE             ABOVE-NAMED                                 DEFENDANTS:


                      YOU           ARE           HEREBY                 SUMMONED                            to     answer             the       complaint                 in this         action             and     to   serve
         a copy       of    your          answer,         or,     if the         complaint             is not           served          with       this        summons,                    to        serve      a notice          of

         appearance,               on      the      Plaintiff's            Attorney(s)                 within             20      days           after         the         service              of     this      summons,
         exclusive          of     the     day      of   service           (or     within         30      days          after     the        service           is complete                  if this           summons             is
         not    personally               delivered          to    you       within          the     State          of     New          York);            and         in    the     case          of     your        failure       to
         appear       or      answer,            judgment           will         be   taken         against              you      by         default           for        the     relief             demanded              in   the
         complaint.


         Dated:       New          York,         NY
                      April         30,     2018
                                                                                       RHEINGOLD                        GlUFFRA              RUFFO         &         PLOTKIN               LLP
                                                                                       Attorneys                  for     Plaintiff




                                                                                       By:                Jeremy            A.        Hellman,            Esq.
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                                                                                                       1 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 2 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




          SUPREME                 COURT          OF THE                 STATE            OF   NEW YORK
         COUNTY              OF     NEW YORK

               ALEXANDRA                     CANOSA,                                                                                 Index               No.     161254/2017


                                                               Plaintiff,

                                        -against-
                                        -a ainst-
                                                                                                                                     COMPLAINT
               DIRK        ZIFF,       TIM      SARNOFF,                    MARC            LASRY,
               TARAK             BEN      AMMAR,               LANCE            MAEROV,
               RICHARD             KOENIGSBERG,                             PAUL   TUDOR                    JONES,
               JAMES         L.    DOLAN,             JEFF          SACKMAN,                   THE                                   PLAINTIFF                     DEMANDS
               WEINSTEIN                COMPANY                     HOLDINGS,                     LLC,          THE                  A      TRIAL                BY JURY
               WEINSTEIN                COMPANY,                        LLC,       HARVEY
               WEINSTEIN                and ROBERT                       WEINSTEIN,                  DOES             1-10


                                                               Defendants.



                      Plaintiff           ALEXANDRA                            CANOSA,                   complaining                 of       Defendants                      DIRK         ZIFF,            TIM


          SARNOFF,                 MARC              LASRY,                    TARAK              BEN           AMMAR,                    LANCE                   MAEROV,                      RICHARD


         KOENIGSBERG,                         JAMES                L.     DOLAN,              JEFF          SACKMAN,                         THE               WEINSTEIN                   COMPANY


         HOLDINGS,                 LLC,       THE       WEINSTEIN                        COMPANY,                   LLC,       HARVEY                      WEINSTEIN                     and    ROBERT

                                                                                                                     "Defendants"
         WEINSTEIN,                 DOES             1-10      (hereinafter               referred         to     as "Defendants")                          by    her        attorneys         Rheingold


         Giuffra         Ruffo      &     Plotkin,          LLP,         respectfully             sets    forth       and     alleges              the     following,             upon     information


         and     belief:


                                                                                               PARTIES


          1.          Plaintiff,        Alexandra              Canosa              has    worked          for     or with      Harvey                Weinstein,                  THE     WEINSTEIN


         COMPANY                   HOLDINGS,                  LLC          and      THE       WEINSTEIN                       COMPANY,                           LLC        in   various        capacities


         since     2010.


         2.           Plaintiff         designates            New           York         County          as the       place     of        trial,         based         on    location          of   some      of


         the     occurrences            complained                 of    herein,         Defendants               THE        WEINSTEIN                         COMPANY                   HOLDINGS,

                                                                                                                                                                            Defendants'
         LLC       and      THE        WEINSTEIN                    COMPANY,                      LLC's           county       of    incorporation,                                                 place     of


                                   Defendants'
         business,         and                               county            of residence.




                                                                                                  2 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                     INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 3 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         3.               That         at       all         times          hereinafter                  mentioned,               Defendant                THE          WEINSTEIN                         COMPANY


         HOLDINGS,                     LLC.                 was     and      still     is a foreign             limited         liability          company,            duly         organized             and     existing


         under       and         by    virtue               of    the      laws       of the        State      of     Delaware.


         4.               That         at       all         times          hereinafter                  mentioned,               Defendant                THE          WEINSTEIN                         COMPANY


         HOLDINGS,                      LLC             was         and      still     is a business                 entity,      doing        business            in the       State        of New            York.


         5.               That         at         all            times         herein             mentioned,                   Defendant                 THE          WEINSTEIN                          COMPANY


         HOLDINGS,                     LLC              regularly             did      and/or            solicited        business            and/or        engaged            in    a persistent               course          of


         conduct           or derived                   substantial                  revenue            from      goods         used         or consumed               or services                rendered           within


         the      State     of New                York.


         6.               That             at         all         times           herein           mentioned,                  Defendant                 THE          WEINSTEIN                          COMPANY


         HOLDINGS,                     LLC              derived             substantial                 revenue        from       interstate             and/or       international                 commerce               and


         expected            and/or              should              reasonably               have          expected            that    if    it    committed               a tortious             act    without          the


          State      of New            York             that        said     tortious             act    would         have       consequences                    within       the        State     of New             York.


         7.               That        at all          times         hereinafter               mentioned,                Defendant              THE         WEINSTEIN                       COMPANY,                     LLC.


         was      and      still      is a foreign                  limited           liability          company,              duly     organized            and      existing            under          and    by     virtue


         of the      laws          of the             State         Delaware.


          8.              That        at all          times          hereinafter               mentioned,                Defendant                 THE     WEINSTEIN                       COMPANY,                      LLC


         was       and     still      is a business                       entity,       doing           business          in the       State        of New          York.


         9.               That        at        all         times         herein           mentioned,                Defendant                THE         WEINSTEIN                        COMPANY,                      LLC


         regularly           did       and/or                solicited         business             and/or           engaged           in a persistent               course          of    conduct             or derived


         substantial               revenue                  from          goods        used        or     consumed               or    services           rendered            within         the     State        of     New


         York.




                                                                                                                  3 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                                 INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 4 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




          10.             That           at        all     times           herein            mentioned,                        Defendant                     THE           WEINSTEIN                    COMPANY,                          LLC


         derived          substantial                     revenue             from               interstate               and/or             international                   commerce              and        expected                  and/or


         should          reasonably                      have       expected                that        if it committed                           a tortious           act     without           the    State       of New               York


         that     said        tortious              act     would           have         consequences                            within            the       State         of New         York.


          11.            Defendant                       Harvey            Weinstein                   is a citizen                   of the           United         States        and     a resident           of New                 York,


         New       York.           He          is        a former            co-chairman                           of     Miramax,                     and      was        a director            and        employee               of     THE


         WEINSTEIN                        COMPANY                            HOLDINGS,                                  LLC       and            THE         WEINSTEIN                     COMPANY,                         LLC           from


         2005      to October                      2017.


          12.            Harvey               Weinstein                 was           an agent,                   director,           owner             and        employee           of the       Weinstein                 Company


         from      2010          through                  October            2017.                At      the        time        of        the    time        of     the     acts    alleged           herein         there         was         an


         actual          or      assumed                    agency               relationship                           between                  Harvey            Weinstein               and         THE          WEINSTEIN


         COMPANY                      HOLDINGS,                             LLC             and         THE              WEINSTEIN                           COMPANY,                     LLC,         as well             as between



         Harvey          Weinstein                       and      its   Board           of        Directors.


          13.            Defendant                       Robert         Weinstein                      is a citizen               of        the    United             States        and    a resident            of    Greenwich,


         Connecticut.                    Robert                 Weinstein                   is     the            brother             of     Harvey                Weinstein,              the     former             chairman                   of



         Miramax,               and           is     and        was        a director                   of        THE          WEINSTEIN                           COMPANY                      HOLDINGS,                     LLC           and


         THE       WEINSTEIN                              COMPANY,                          LLC              from         2005         to the           present.


          14.            Robert               Weinstein                    has        known                  of     Harvey                 Weinstein's                 pattern            and     practice            of     predatory


         sexual          conduct               toward              women,               including                       during             the     time         the     brothers           worked             at Miramax                    and


         THE       WEINSTEIN                              COMPANY                       HOLDINGS,                              LLC               and     THE          WEINSTEIN                   COMPANY,                         LLC.


          15.            Defendant                       Dirk       Ziff         is    a citizen                   of    the     United                States         and      a resident              of    New           York,          New


         York.       Dirk          Ziff            was          a director             of        THE              WEINSTEIN                            COMPANY                      HOLDINGS,                   LLC           and         THE


         WEINSTEIN                        COMPANY,                               LLC.              Ziff            knew          of         Harvey              Weinstein's                 pattern           and          practice              of




                                                                                                                          4 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                      INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 5 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         predatory            sexual          conduct           toward              women                from          both         his      personal          relationship              with       Harvey


         Weinstein           and      his    position          as a director               of THE            WEINSTEIN                       COMPANY                   HOLDINGS,                 LLC      and


         THE       WEINSTEIN                     COMPANY,                    LLC.


          16.          Defendant             Tim        Sarnoff         is a citizen            of the           United            States       and    a resident          of Westlake            Village,


         California.          Tim         Sarnoff        was      a director           of      THE           WEINSTEIN                       COMPANY                   HOLDINGS,                LLC       and


         THE       WEINSTEIN                     COMPANY,                     LLC.         Sarnoff            knew            of   Harvey           Weinstein's             pattern       and     practice


         of     predatory           sexual          conduct         toward            women                 from         both        his        personal        relationship             with       Harvey


         Weinstein           and      his    position          as a director               of THE            WEINSTEIN                       COMPANY                   HOLDINGS,                 LLC      and


         THE       WEINSTEIN                     COMPANY,                    LLC.


          17.          Defendant              Marc        Lasry         is    a citizen             of     the        United         States        and      resident        of    New      York,        New


         York.       Marc         Lasry       was      a director            of    THE         WEINSTEIN                           COMPANY                  HOLDINGS,                 LLC       and     THE


         WEINSTEIN                    COMPANY,                    LLC.             Lasry        knew             of     Harvey              Weinstein's               pattern      and      practice           of



         predatory            sexual          conduct           toward              women                from          both         his      personal          relationship              with       Harvey


         Weinstein           and      his    position          as a director               of THE            WEINSTEIN                       COMPANY                   HOLDINGS,                 LLC      and


         THE       WEINSTEIN                     COMPANY,                    LLC.


          18.          Defendant              Tarak       Ben      Anmar             is a citizen                of    Tunisia            and     currently       resides         in France.           Tarak


         Ben       Anmar           was       a   director          at        THE       WEINSTEIN                             COMPANY                     HOLDINGS,                 LLC          and     THE


         WEINSTEIN                    COMPANY,                     LLC.            Anmar             knew              Harvey             Weinstein's             pattern         and       practice           of



         predatory           sexual         conduct        toward            women            from         both        his     position          as a director           of THE         WEINSTEIN


         COMPANY                   HOLDINGS,                   LLC           and     THE        WEINSTEIN                          COMPANY,                   LLC.        Anmar          admitted        that


         he      and        the     THE          WEINSTEIN                         COMPANY                            HOLDINGS,                       LLC       and        THE          WEINSTEIN


         COMPANY,                   LLC        Board        were        aware          that     Weinstein                    had     been         accused        of     groping       model           Anmar


         Gutierrez           in 2015.         According             to Anmar,                 the        majority            of    the     then-THE           WEINSTEIN                   COMPANY




                                                                                                     5 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                      INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 6 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         HOLDINGS,                  LLC        and     THE       WEINSTEIN                    COMPANY,                      LLC          Board          members             supported            renewing


         Harvey        Weinstein's               contract         despite          the     serious         assault         allegations.


          19.          Defendant              Lance          Maerov         is a citizen           of the        United            States        and      a resident           of   Bedford,             New


         York.       Lance         Maerov            was       a director          of      THE          WEINSTEIN                    COMPANY                        HOLDINGS,                    LLC        and


         THE        WEINSTEIN                  COMPANY,                     LLC,         including             as a non-voting                   observer            from      2005        to 2013          and


         then       as a voting           member             through         the     present.            Maerov            Knew            of    Harvey          Weinstein's                pattern         and


         practice        of    predatory              sexual           conduct           toward          women              from         his      position           as      a director           of     THE


         WEINSTEIN                       COMPANY                  HOLDINGS,                       LLC           and        THE             WEINSTEIN                      COMPANY,                      LLC.



         According            to    Maerov,            for     years      prior      to    the     2015         Gutierrez             allegations,              he     had      heard        from        THE


         WEIN         STEIN              COMPANY                   HOLDINGS,                      LLC           and         THE            WEIN          STEIN              COMPANY,                     LLC


         employees            about        complaints             against          Harvey         Weinstein.


         20.           Defendant              Richard          Koenigsberg                is a citizen            of the        United           States        and     a resident           of Franklin



         Lakes,        New          Jersey.          Richard           Koenigsberg                was          a director             of        THE        WEINSTEIN                       COMPANY


         HOLDINGS,                  LLC        and      THE        WEINSTEIN                      COMPANY,                      LLC         from         2005        through         October            2017.



         Koenigsberg               Knew         of Harvey             Weinstein's             pattern          and    practice             of predatory               sexual        conduct         toward


         women         from        his   personal            relationship           with      Harvey            Weinstein                and     his     position           as a director           of THE


         WEINSTEIN                  COMPANY                    HOLDINGS,                    LLC         and      THE        WEINSTEIN                      COMPANY,                     LLC.


         21.           Defendant              Jeff    Sackman             is a citizen            of     the    United          States          and,      on    information                and    belief,         a


         resident        of        Toronto,           Canada.            Sackman              was          a     director           of      THE           WEINSTEIN                        COMPANY


         HOLDINGS,                   LLC        and      THE        WEINSTEIN                     COMPANY,                      LLC             from,      on       information             and        belief,


         THE        WEINSTEIN                   COMPANY                     HOLDINGS,                    LLC         and     THE           WEINSTEIN                      COMPANY,                     LLC's


         inception        to 2015.            Sackman            Knew         of Harvey                Weinstein's              pattern           and     practice          of predatory               sexual


         conduct        toward           women          from       his      personal         relationship                with       Harvey              Weinstein            and     his    position             as




                                                                                                  6 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                       INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 7 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         a     director            of      THE           WEINSTEIN                             COMPANY                      HOLDINGS,                       LLC            and           THE            WEINSTEIN


         COMPANY,                       LLC.


         22.            Defendant                 James          L.    Dolan              is a citizen          of     the     United           States        and         a resident              of     Miller           Place,


         New       York.          Dolan           was         a director             of    THE         WEINSTEIN                      COMPANY                      HOLDINGS,                           LLC          and     THE


         WEINSTEIN                       COMPANY,                       LLC.              Dolan          Knew          of     Harvey             Weinstein's                 pattern              and        practice              of



         predatory               sexual          conduct            toward            women              from        his     personal             relationship               with           Harvey             Weinstein


         and      his      position             as     a director               of    THE             WEINSTEIN                     COMPANY                      HOLDINGS,                            LLC         and       THE


         WEINSTEIN                       COMPANY,                      LLC.


         23.            By        virtue          of     their         positions                 as    a     board          member              of       THE        WEINSTEIN                               COMPANY


         HOLDINGS,                       LLC         and       THE          WEINSTEIN                        COMPANY,                        LLC,         each       of     the          Director            Defendants


         availed          themselves                 of the         laws        of New            York        and      are        subject       to jurisdiction                   in New               York.


         24.              This      Court            has       jurisdiction                 and        venue          over         this      case        because            it      is     a court             of     general


         jurisdiction              in law         and         equity        in the         State       of New           York.


         25.            Venue              is    proper             pursuant              to     CPLR           503(a)             because              substantial               parts          of      the        event          or


         commissions                    giving         rise     to the          claims           occurred            in this        jurisdiction,             the     corporate                  Defendants,                 The


         Weinstein               Company                and         Weinstein               Company               Holdings,                 LLC         maintain            their         principal               offices          in


         New        York            City         and          are      incorporated                    therein,             and       individual              defendants                    including                 Harvey


         Weinstein               reside         in this        County.


         26.              That      Defendants                   are       in   violation              of,    among            other         things,        New           York            City        Human               Rights


         Law       § 296.1(a),                  New        York         Human               Rights           Law,          N.Y.       Exec.          Law       § 290             et seq.         which              prohibits


         sexual         harassment                in the        workplace                  and     New        York          Consolidated                  Laws        NY CPLR                    § 213-C,                 Sexual



         Harassment,                New          York          Penal        Code           § 240.30           (Assault             and      Battery).          The        causes            of action               are based


         on     repeated                sexual         harassment,                    sexual           intimidation,                  emotional              abuse,              assault              and      battery             of




                                                                                                             7 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                        INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 8 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         Plaintiff           by     Defendant                    Harvey             Weinstein                 over       a period            of     years         through           2015.              The         foregoing


         events         and       actions            of    Harvey            Weinstein                 took        place        in conjunction                   with      Plaintiff's                employment,                 in


         various           capacities,               for       Harvey           Weinstein                  and      THE           WEINSTEIN                     COMPANY                    HOLDINGS,                         LLC


         and     THE          WEINSTEIN                          COMPANY,                        LLC.


                                                                        ACTIONS                        OF      HARVEY                    WEINSTEIN


         27.               Over       the      course           of his       misconduct                    and      up to September                      2017,          Harvey        Weinstein                 constantly


         threatened               Plaintiff              and     made          it clear         that       if she      did      not      succumb               to his     demands               for     sexual        contact


         or if       she    exposed                his     unwanted              conduct               there        would          be retaliation,                   including           humiliation,                 the    loss


         of her       job      and         loss      of     any      ability         to work               in the      entertainment                  business.


         28.               That       on      August              12,       2010,         in     the       Tribeca             Grand        hotel         in     Manhattan,               New           York,         Harvey


         Weinstein                sexually               assaulted           plaintiff.


         29.               That      from          November,                  2011        to March,                2012,          Harvey          Weinstein              sexually              assaulted,            verbally


         assaulted,               bullied            and         intimidated                   plaintiff           multiple              times       in        Los      Angeles,               California,              in       the


         Montage              Hotel         or Peninsula                    Hotel.


         30.               That      on or about                  May        2, 2012,             in the         Tribeca          Grand          hotel         in Manhattan,               New          York,         Harvey


         Weinstein                sexually               assaulted           and/or            assaulted             plaintiff.


         31.               That       on      or     about          October            22,        2012,            Harvey          Weinstein               sexually              assaulted             plaintiff           at the


         Peninsula             Hotel           in Los           Angeles,             California.


         32.               That       on      or     around             December                  20,       2012,          in     the     Tribeca              Grand       Hotel          in     Manhattan,                  New


         York,          Harvey                Weinstein                 intimidated                    plaintiff            and         forced        plaintiff            to      perform               oral        sex      and


         threatened               and       bullied            plaintiff.


         33.               That      between               2010         and      2014,           Harvey             Weinstein              sexually             assaulted,          raped,            forced         plaintiff


         into     sex       acts,       verbally               abused          and     threatened                  plaintiff            numerous               times.




                                                                                                                 8 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                54   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 9 of 157
                                                                     RECEIVED  NYSCEF: 04/30/2018




         34.            That        on         May         29,      2014,         in       Malaysia,                Harvey            Weinstein                 sexually                assaulted             and       raped


         plaintiff.


         35.            That        in the        week           following             December                2, 2014,             Harvey              Weinstein               threatened                and      verbally


         abused         Plaintiff              in Manhattan,                  New         York.


         36.            That        on     or     about          December                 21,     2014,        in    the      Peninsula                Hotel          in    Beverly             Hills,       California,



         Harvey         Weinstein                 forced          plaintiff         into        performing                 a sex      act.


         37.            That        on     or about              June     24,     2015,              in Harvey            Weinstein's                   room       in the           Four        Seasons            Hotel         in



         Budapest,             Hungary,              Harvey             Weinstein               physically               assaulted             and       verbally             abused            plaintiff.


         38.            That        on     August            29,        2017,       Harvey              Weinstein                verbally          threatened                  plaintiff            not      to    speak         to


         anyone         about        his         abuse      of plaintiff,              which            was        one      of many            such          occurrences                 starting            in 2010.


         39.            On       many             occasions,              Harvey                Weinstein                insisted           on     meeting                  with        Plaintiff            in     isolated


         environments                    for     business           purposes,               made            sure     that      no     other        persons                 or bystanders                  were        around


         when         having         business              meetings             with        plaintiff,             demanded                sexual            contact,           and          threatened             plaintiff


         if    she     would         not          give      him         what        he      wanted,                and      forcing           himself              on       plaintiff           despite            repeated


         requests         to stop.


         40.           Defendants,                   knew          or    should           have         known             about        Harvey             Weinstein's                    conduct,             and     did        not


         act    to     correct           or      curtail         such         activity.               Instead,           Defendants                    facilitated,             hid,          and        supported              his


         unlawful          conduct.


         41.           HARVEY                      WEINSTEIN                       made              quid      pro          quo       offers            or     demands                  of      sexual            favors         in


         exchange            for     career          advancement                   at THE              WEINSTEIN                      COMPANY                         HOLDINGS,                      LLC          and      THE


         WEINSTEIN                       COMPANY,                       LLC,        and         in    general,           or    to    avoid         adverse                 employment                    consequences


         at THE         WEINSTEIN                          COMPANY                     HOLDINGS,                         LLC        and      THE          WEINSTEIN                           COMPANY,                     LLC


         or    anywhere                  else.       HARVEY                     WEINSTE1N's                          overt          quid         pro         quo           sexual          harassment                 further




                                                                                                            9 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 10 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         contributed              to the      hostile        work        environment                     within         THE        WEINSTEIN                     COMPANY                      HOLDINGS,


         LLC        and      THE          WEINSTEIN                  COMPANY,                       LLC           and    its     subsidiaries.


         42.           The         quid     pro       quo     harassment                took         several            forms,          including             demands              for      sex     or    intimate


         physical            contact          in     exchange             for      career           advancement,                        or    qualifying               career            opportunities                on


         flirtatious            or otherwise             attractive            dress      and       behavior.


         43.           Individuals                 who      complained              to Harvey                Weinstein                or to the          Human           Resources                 Department


         of THE           WEINSTEIN                      COMPANY                  HOLDINGS,                        LLC         and      THE          WEINSTEIN                     COMPANY,                     LLC,


         for    similar          transgressions               as those            complained                 of     herein         were          subject        to    retaliation             by     HARVEY


         WEINSTEIN                       as a result         of their       complaints.


         44.           Defendant               Harvey             Weinstein               treated           plaintiff            and         other       women              less      well        than      others,


         because           of    their      gender.


         45.           Defendant               Harvey           Weinstein               repeatedly                 and     persistently                  treated        female             employees              less


         well       than         male       employees               through            gender-based                     hostile          workplace              harassment,                   quid        pro     quo



         harassment,               and      discrimination.


         46.           Defendant               Harvey          Weinstein               similarly             sexually             assaulted             and     threatened                numerous              other


         women             similarly          situated         to     plaintiff         Alexandra                  Canosa,              before         these         aforesaid            acts      to    Plaintiff


         Alexandra               Canosa,           yet    nothing           was        done         to     prevent             future        acts,      including             those          complained                of


         herein.


         47.           Harvey             Weinstein           used       his      power         in the          movie          industry,             physical         power           and     personality              to


         overwhelm                 and      subdue          and      threaten           Plaintiff            so     that        she      would          not     refuse          his       advances.               Any


         objections              to his      conduct          were       met       with       anger          and        demands               immediately               to    accede          to his        wishes


         or to face             adverse       consequences.                    Harvey         Weinstein                 created          an environment                      in which             there     was       no


         choice        but       to do his         bidding          or suffer          dire     consequences                      both        physically              and     to plaintiff's              career.




                                                                                                           -1



                                                                                                     10 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 11 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         48.           Pursuant            to       the     doctrine            of     equitable               estoppel,               all     of     plaintiff's                  claims          alleged             herein           are



         timely       made          as, for         as long          as Harvey                 Weinstein                  was      in power                 (until        less          than      a year         ago)        at THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                       LLC            and         THE      WEINSTEIN                             COMPANY,                        LLC,          plaintiff


         was      induced           by   fraud,             misrepresentations                           or        deception             to     refrain              from          filing         any        lawsuit,          as she


         received          numerous                verbal          threats          to her        career            by     Harvey             Weinstein                  if she          were       to say           anything            to


         anyone        about          Harvey              Weinstein's                illicit       conduct                complained                  of herein,                   as well         as physical                threats


         to her      well-being               if    she     did      so.


         49.           As     described               herein,           all    defendants                 were            aware         of,     ratified             and        condoned                  said       threats        that


         were       ever      received              from      any       other        victim,             and        worked            to cover              up       any        wrongdoing.


         50.           All     of plaintiff's                claims           are further               timely            as all     of the          acts      committed                     by    Harvey             Weinstein,


         and       acts/inactions                   by      all     defendants                   herein,             were            interrelated,                   a        collective               act,         and      were             a


         continuous            violation              and         abuse.


                                                                        COMPANY                          FAILURES                       AND            ACTS


         51.           THE          WEINSTEIN                       COMPANY                        HOLDINGS,                          LLC           and       THE             WEINSTEIN                        COMPANY,


         LLC        were       aware          of     Harvey             Weinstein's                 history               of    sexual          misconduct                      but         facilitated             his     conduct



         by,      among        other       things:            (1)       using          employees                    to     arrange            for     meeting                 in    Weinstein's                     hotel      rooms


                                                                                                                                             meetings"
         even       though          he had           a history           of     misconduct                    in    "business                                            in     such         places;          (2)     paying            off


         multiple          claims        of        sexual         misconduct                   without             adequate             corrective               actions;                (3)      continuing                to allow


         Weinstein             to     operate             improperly,                 and         (4)      attempting                   to     keep          Weinstein's                       misconduct                   a secret



         thereby           allowing           Weinstein                 to     continue             his       predatory                and          threatening                    behavior             to     Plaintiff           who


         thought        her     circumstance                      was         one    that       she       suffered              alone         and      therefore                   no    one       would            believe         her.




                                                                                                                   -11-



                                                                                                           11 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 12 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         52.            That        Defendants                         THE                WEINSTEIN                            COMPANY                         HOLDINGS,                        LLC          and          THE


         WEINSTEIN                   COMPANY,                               LLC          solicited,            requested,                  commanded,                  importuned,                  or    intentionally


         aided       Harvey         Weinstein                 in       engaging                 in the        illicit       conduct              complained               of herein.


         53.            That        Defendants                         THE                WEINSTEIN                            COMPANY                         HOLDINGS,                        LLC          and          THE


         WEINSTEIN                   COMPANY,                           LLC              omitted          discharging                  a specific               duty      of      affirmative             performance


         imposed           on     corporations                    by        law.


         54.            That        Defendants                         THE                WEINSTEIN                            COMPANY                         HOLDINGS,                        LLC          and          THE


         WEINSTEIN                  COMPANY,                           LLC              had     notice        of Harvey               Weinstein's                repeated            unlawful             conduct         with


         plaintiff         and     other         women                 which             amounted                to     a recurring                issue,       yet      failed       to    investigate             further,


         and/or         failed     to take            reasonable                    steps        to become                 aware           of    such        recurring            issues,       or to      do     anything


         about       them.


         55.            That      the      illicit         acts        of     Harvey              Weinstein                complained                   of    herein         were      authorized,                solicited,


         requested,              commanded,                   or        recklessly                  tolerated              by       Defendants                 THE        WEINSTEIN                       COMPANY


         HOLDINGS,                  LLC              and    THE             WEINSTEIN                         COMPANY,                          LLC.


         56.            That       the      illicit         actions                of     Harvey           Weinstein                  complained                  of     herein         were         engaged            in     by


         Harvey          Weinstein               as an            agent            of     THE         WEINSTEIN                            COMPANY                     HOLDINGS,                    LLC           and     THE


         WEINSTEIN                  COMPANY,                            LLC             while        acting           within         the        scope        of his    employment                   and     in behalf          of


         THE         WEINSTEIN                        COMPANY                           HOLDINGS,                          LLC       and         THE          WEINSTEIN                     COMPANY,                    LLC,


         and      the    offense          committed                    by      Harvey               Weinstein                  was     a crime               and/or       violation,            one       defined         by     a


         statute         which           clearly            indicates                    a      legislative                intent          to     impose              such        criminal            liability          on      a



         corporation,             or an offense                    set forth              in title       twenty-seven                      of article          seventy-one                 of the     environmental


         conservation              law.




                                                                                                                      -1



                                                                                                              12 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                          INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 13 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         57.            That          Defendants                       THE                WEIN            STEIN                   COMPANY                         HOLDINGS,                         LLC       and          THE


         WEINSTEIN                    COMPANY,                              LLC           caused               to     be         performed              the      illicit         acts    of    Harvey          Weinstein


         complained              of     herein,             in    the        name          of     or      in        behalf         of     Defendant               THE           WEINSTEIN                  COMPANY


         HOLDINGS,                    LLC            and     THE            WEINSTEIN                            COMPANY,                        LLC.


         58.            Defendants                   THE          WEINSTEIN                            COMPANY                            HOLDINGS,                        LLC        and     THE         WEINSTEIN


         COMPANY,                     LLC             was         aware             of     the         illicit             activities           committed                  by        HARVEY               WEINSTEIN


         complained              of     herein,             and        numerous                  other              instances             of    similar          conduct             committed             against       other



         women,           and     failed         to do           anything                about          same               or to investigate                   further.


         59.            That          Defendants                       THE                WEIN            STEIN                   COMPANY                         HOLDINGS,                         LLC       and          THE


         WEINSTEIN                    COMPANY,                              LLC          solicited,                 requested,                 commanded,                  importuned,               or    intentionally


         aided     Harvey             Weinstein                  in    engaging                 in the           illicit         conduct          complained                    of herein.


         60.            That          Defendants                       THE                WEIN            STEIN                   COMPANY                         HOLDINGS,                         LLC       and          THE


         WEINSTEIN                    COMPANY,                          LLC             omitted             discharging                    a specific             duty          of   affirmative           performance


         imposed          on     corporations                     by        law.


         61.            That      the      illicit         acts        of     Harvey             Weinstein                       complained               of    herein           were       authorized,           solicited,


         requested,            commanded,                        or recklessly                   tolerated                  by     the    Defendant               THE           WEINSTEIN                  COMPANY


         HOLDINGS,                    LLC            and     THE            WEINSTEIN                            COMPANY,                        LLC.


         62.            That      the       illicit         actions                of     Harvey               Weinstein                  complained                  of    herein           were     engaged            in    by


         Harvey          Weinstein               as an            agent            of     THE          WEINSTEIN                               COMPANY                     HOLDINGS,                  LLC         and      THE


         WEINSTEIN                    COMPANY,                          LLC             while      acting              within            the    scope          of his      employment                and     in behalf          of


         THE       WEINSTEIN                          COMPANY                           HOLDINGS,                            LLC          and     THE           WEINSTEIN                     COMPANY,                   LLC,


         and     the    offense          committed                     by     Harvey             Weinstein                       was      a crime         and/or           violation          defined        by      a statute


         which         clearly        indicates              a legislative                  intent          to impose                    such     criminal            liability         on    a corporation,               or an




                                                                                                                    13 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 14 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         offense         set        forth         in     title        twenty-seven                   of        article        seventy-one                  of     the          environmental                   conservation


         law.


         63.            That              Defendants                     THE             WEINSTEIN                             COMPANY                          HOLDINGS,                               LLC        and         THE


         WEINSTEIN                         COMPANY,                          LLC         caused                to     be     performed               the        illicit           acts         of    Harvey        Weinstein


         complained                  of     herein,              in   the    name            of    or     in        behalf       of    Defendant                 THE             WEINSTEIN                      COMPANY


         HOLDINGS,                        LLC          and        THE        WEINSTEIN                          COMPANY,                      LLC.


         64.            THE           WEINSTEIN                          COMPANY                         HOLDINGS,                       LLC         and        THE             WEINSTEIN                      COMPANY,


         LLC        failed          to:     further           investigate               to    discover                 the     nature         and     extent              of     the      misconduct;              absolutely


         prohibit            such         misconduct;                  restrict        HARVEY                        WEINSTEIN's                     ability              to hire         or supervise             employees


         and    his      use         of      corporate                 resources              in     order            to     avoid       future        recurrence                        of     such       misconduct;             or


         terminate             HARVEY                     WEINSTEIN's                             employment                   altogether.


         65.            Instead                  of     investigating                    and             taking              prompt           corrective                       action,              THE        WEINSTEIN


         COMPANY                      HOLDINGS,                          LLC           and        THE          WEINSTEIN                      COMPANY,                            LLC           used       settlements           that


         contained             strict        Non-Disclosure                        Agreements                         to keep         law      enforcement,                        the        public,       and    even        other


         THE        WEINSTEIN                           COMPANY                         HOLDINGS,                            LLC        and     THE             WEINSTEIN                            COMPANY,                  LLC


         employees                   from              discovering                 the            extensive                  allegations              of        misconduct                          against        HARVEY


         WEINSTEIN.


         66.            THE           WEINSTEIN                          COMPANY                         HOLDINGS,                       LLC         and        THE             WEINSTEIN                      COMPANY,


         LLC        itself      entered                into       several         of    these            Non-Disclosure                       agreements                       -containing                settlements           with



         company              employees.                      Many          witnesses               to     HARVEY                     WEINSTE1N's                              unlawful              conduct        separately


         were         subject               to        broad            Non-Disclosure                            Agreements                   pursuant                    to      their             THE       WEINSTEIN


         COMPANY                           HOLDINGS,                         LLC             and           THE               WEINSTEIN                      COMPANY,                                 LLC         employment



         agreements,                  preventing                      them        from             revealing                 their      own          observations                         of        misconduct            to     law




                                                                                                                       -1



                                                                                                                    14 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 15 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         enforcement                as well.             In     this       way,         THE          WEINSTEIN                       COMPANY                       HOLDINGS,                      LLC      and      THE


         WEINSTEIN                      COMPANY,                          LLC      and         ROBERT                WEINSTEIN                         enabled            HARVEY              WEINSTEIN's


         unlawful           conduct            to    continue               far        beyond          the    date           when,         through              reasonable             diligence,           it   should


         have      been          stopped.


         67.              That          THE         WEINSTEIN                            COMPANY                         HOLDINGS,                          LLC            and        THE          WEINSTEIN


         COMPANY,                    LLC       lacked               an effective               process         for      reporting            and         investigating                complaints            of   sexual


         harassment               or other          sexual             misconduct,                 as is required                by       law:         it did      not    train       employees            on      sexual


         harassment               policies          or        laws;        it did        not       have      a meaningful                    or    consistent               process         for     documenting


         and    preserving                  claims             of      sexual           harassment                 or    other            misconduct;                    and,     when        individuals              did



         complain,                Human             Resources                    was         not       empowered                     to     address              claims           related          to     HARVEY


         WEINSTEIN.


         68.              THE       WEINSTEIN                          COMPANY                       HOLDINGS,                    LLC            and       THE           WEINSTEIN                  COMPANY,


         LLC        did     not     adequately                 investigate               complaints                made         regarding                acts      of wrongdoing                   committed            by


         HARVEY                  WEINSTEIN,                         did    not     act to protect              employees                   and         persons           such     as plaintiff,           or prevent


         HARVEY                  WEINSTEIN                      from         engaging                in recurring              conduct.


         69.              HARVEY                WEINSTEIN                              was     only         able        to    engage              in     repeated               and    persistent           unlawful


         conduct           because            of     the        failure           of    key        members               of    Defendant                   THE           WEINSTEIN                      COMPANY


         HOLDINGS,                      LLC        and        THE         WEINSTEIN                       COMPANY,                        LLC's          failing         to ensure          that    the     company


         complied            with         relevant              nondiscrimination                            laws        and         prevent              its    executives              from           engaging            in


         unlawful            conduct           while            representing                   the     company.                Defendant                   THE           WEINSTEIN                      COMPANY


         HOLDINGS,                       LLC          and             THE              WEINSTEIN                        COMPANY,                         LLC's             acquiescence                   renders            it


         responsible              for    HARVEY                      WEINSTE1N's                          misconduct              on       separate             grounds.




                                                                                                              -1



                                                                                                           15 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                            INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 16 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         70.            Individuals            who       complained                to Harvey            Weinstein                  or to the          Human              Resources               Department


         of THE           WEINSTEIN                    COMPANY                 HOLDINGS,                        LLC        and         THE         WEINSTEIN                  COMPANY,                      LLC,


         for    similar       transgressions                as those           complained                  of    herein           were        subject        to    retaliation              by     HARVEY


         WEINSTEIN                   as a result          of their       complaints.


         71.            THE       WEINSTEIN                     COMPANY                    HOLDINGS,                       LLC           and       THE       WEINSTEIN                      COMPANY,


         LLC's        decision         to avoid           utilizing          their       power        to investigate                    credible         claims           of misconduct,                   and      to


         shield         HARVEY                 WEINSTEIN                     from          consequences                      of        that        misconduct,               enabled               HARVEY


         WEINSTEIN                   to continue           victimizing               employees                  of THE         WEINSTEIN                       COMPANY                      HOLDINGS,


         LLC      and      THE        WEINSTEIN                     COMPANY,                     LLC        and       coworkers.


         72.            THE       WEINSTEIN                     COMPANY                    HOLDINGS,                       LLC           and       THE       WEINSTEIN                      COMPANY,


         LLC      failed       to undertake               efforts       that       would         have           resulted          in    discovery            of    even       more          of     HARVEY


         WEINSTE1N's                   prior       misconduct,               or to do           anything            about          said       instances           that     they       did    know          about.


         73.            Through            the       actions          and      inactions              described                above,              Defendants               THE             WEINSTEIN


         COMPANY                     HOLDINGS,                   LLC           and        THE          WEINSTEIN                          COMPANY,                        LLC         repeatedly                 and



         persistently           violated          the    New          York        State        Human            Rights         Laws           and     New         York       City       Human              Rights


         Laws         by      subjecting               employees             to      a     sex-based               hostile             work          environment,                  targeting               female


         employees             for    quid       pro     quo     harassment,                   and    otherwise                discriminating                  against            female          employees


         in the     terms,        conditions,             and    privileges               of   employment.


         74.            The     conduct           and      inactions           of    Defendants                   THE          WEINSTEIN                     COMPANY                        HOLDINGS,


         LLC       and      THE        WEINSTEIN                      COMPANY,                       LLC         complained                   of    herein        was      willful,          wanton,             and


         malicious.


         75.            Defendants               THE       WEINSTEIN                       COMPANY                       HOLDINGS,                       LLC        and      THE            WEINSTEIN


         COMPANY,                    LLC       repeatedly              and     persistently                aided         and       abetted           wrongful             conduct,               namely,         the




                                                                                                 16 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                    INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 17 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         gender-based               hostile         work       harassment                 of,   quid    pro        quo       harassment               of,   and     discrimination             against


         female        employees              by     HARVEY                  WEINSTEIN.


         76.           Defendants               THE          WEINSTEIN                      COMPANY                   HOLDINGS,                       LLC      and         THE      WEINSTEIN


         COMPANY,                   LLC         condoned               and/or           acquiesced           in    HARVEY                  WEINSTEIN's                     sexual       harassment


         of     and   gender-based                  discrimination                   against        female         employees.


         77.           Defendants               THE          WEINSTEIN                      COMPANY                   HOLDINGS,                       LLC      and         THE      WEINSTEIN


         COMPANY,                   LLC       knowingly,                  repeatedly,            and    persistently,                deprived          women          of    equal      treatment         in



         terms,       conditions,             and     privileges             of employment                   and    of the       right         to be free     from         severe     or pervasive


         hostile       treatment           because           of their            sex.


         78.           By     reason           of     the      conduct             alleged          above,          Defendants                  THE         WEINSTEIN                 COMPANY


         HOLDINGS,                  LLC        and     THE           WEINSTEIN                     COMPANY,                   LLC        discriminated               against        persons        based


         on     sex    in violation            of New              York      Civil        Rights       Law         §40-c.


         79.           Defendants               THE          WEINSTEIN                      COMPANY                   HOLDINGS,                       LLC      and         THE      WEINSTEIN


         COMPANY,                   LLC         negligence                  in     supervising           and/or             retaining            HARVEY               WEINSTEIN                 was        a


         substantial          factor       in causing                Plaintiff          harm.


          80.          It was       foreseeable               that        Harvey         Weinstein           would           engage            in sexual      and       physical       misconduct


         if     Defendants                THE         WEINSTEIN                         COMPANY                    HOLDINGS,                      LLC         and       THE         WEINSTEIN


         COMPANY,                   LLC         continued              to    allow         Harvey       Weinstein               to      have      private         business          meetings        with


         women.


          81.          Defendants               THE          WEINSTEIN                      COMPANY                   HOLDINGS,                       LLC      and         THE      WEINSTEIN


         COMPANY,                   LLC       knew          that     Harvey             Weinstein        was        using       his      power        and    position        to coerce         women


         into      engaging          in    physical           and         sexual         contact       and        knew        that      this     physical         and      sexual      misconduct


         would        cause     harm.




                                                                                                    17 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 18 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          82.         Defendants              THE          WEINSTEIN                         COMPANY                        HOLDINGS,                        LLC            and      THE           WEINSTEIN


         COMPANY,                 LLC         failed        to     institute           corrective                measures               to     protect           women              coming               into         contact


         with       Harvey        Weinstein,                including            Plaintiff,                from         sexual               misconduct               despite              Defendants                    THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                             LLC         and         THE              WEINSTEIN                         COMPANY,                            LLC


         possessing           actual        notice          of     Harvey            Weinstein's                  sexually              inappropriate                  behavior.                   Such          acts      and


         omissions           demonstrate               a conscious               disregard                 of the       safety          of     others.


          83.         Defendants              THE          WEINSTEIN                         COMPANY                        HOLDINGS,                        LLC            and      THE           WEINSTEIN


         COMPANY,                 LLC         were         aware         of     the     probable                 dangerous                   consequences                   of     failing          to      remove               or



         adequately            supervise             Harvey            Weinstein.                    In     failing          to      do        so,        Defendants                 THE           WEINSTEIN


         COMPANY                  HOLDINGS,                        LLC         and      THE               WEINSTEIN                          COMPANY,                       LLC            acted         with          actual


         malice       and     with      conscious                disregard            to Plaintiff               Alexandra                   Canosa's             safety.


          84.         As      a      direct          and         proximate                  result          of        Defendant                    THE            WEINSTEIN                          COMPANY


         HOLDINGS,                   LLC      and      THE          WEINSTEIN                        COMPANY,                       LLC            conduct           and         failure       to act,            Plaintiff


         was      a victim        of Harvey             Weinstein's              sexual              and     physical             misconduct.


          85.         The      sexual         misconduct                 has      caused              Plaintiff            to     suffer           continuing,               severe           and           permanent



         psychological,              pain      and        suffering            and      emotional                stress,          and        the     loss    of     enjoyment                 of    life.


                                                   ROBERT                 WEINSTEIN'S                              FAILURES                          AND          ACTS


          86.         That     Defendant                ROBERT                 WEINSTEIN                         solicited,             requested,               commanded,                    importuned,                       or



         intentionally            aided       Harvey             Weinstein             in    engaging                 in the       illicit         conduct           complained                    of herein.


          87.         That     Defendant               ROBERT                  WEINSTEIN                         omitted           discharging                   a specific           duty         of affirmative


         performance              imposed            on    corporations                 by     law.


          88.         That        Defendant                ROBERT                 WEINSTEIN                            had        notice             of     Harvey               Weinstein's                     repeated


         unlawful          conduct          with       plaintiff         and      other         women              which           amounted                 to     a recurring               issue,             yet     failed




                                                                                                     18 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 19 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         to     investigate            further,              and/or             failed         to        take     reasonable              steps        to     become                aware            of    such          recurring


         issues.


          89.          That      the        illicit          acts     of        Harvey              Weinstein               complained                of     herein          were          authorized,                   solicited,


         requested,           commanded,                         or recklessly                  tolerated              by     the    Defendant                 ROBERT                     WEINSTEIN.


         90.           That          the     illicit          actions             of     Harvey                 Weinstein                complained                  of     herein           was           engaged              in     by


         Harvey           Weinstein                   as    an      agent          of    ROBERT                      WEINSTEIN                       while          acting          within            the       scope          of      his


         employment                  and        in         behalf          of     ROBERT                        WEINSTEIN,                   and        the         offense           committed                     by       Harvey


         Weinstein            was          a crime            and/or            a violation,                 defined          by     a statute         which              clearly         indicates               a legislative


         intent      to    impose             such           criminal                                     on     a corporation,                 or     an      offense              set    forth          in    title        twenty-
                                                                                   liability


         seven       of    article         seventy-one                     of the         environmental                       conservation                   law.


         91.           That      Defendant                     ROBERT                    WEINSTEIN                          caused         to be performed                          the    illicit         acts         of   Harvey


         Weinstein            complained                     of herein,             in the           name          of or in behalf                 of Defendant                 ROBERT                      WEINSTEIN.


         92.           Defendant                  ROBERT                        WEINSTEIN                            was       aware          of      the       illicit         activities                 committed                   by


         HARVEY               WEINSTEIN                             complained                      of     herein,         and      numerous                other         instances             of        similar            conduct


         committed             against            other          women,                 and     failed           to do       anything           about          same          or to investigate                          further.


         93.           That      Defendant                     ROBERT                    WEINSTEIN                          solicited,         requested,                 commanded,                       importuned,                  or



         intentionally               aided        Harvey              Weinstein                     in    engaging             in the      illicit         conduct            complained                    of herein.


         94.           That      Defendant                    ROBERT                     WEINSTEIN                         omitted         discharging                    a specific           duty            of affirmative


         performance                 imposed                on      corporations                    by      law.


         95.           That      the        illicit          acts     of        Harvey              Weinstein               complained                of     herein          were          authorized,                   solicited,


         requested,           commanded,                         or recklessly                  tolerated              by     the    Defendant                 ROBERT                     WEINSTEIN.


         96.           That          the     illicit          actions             of     Harvey                 Weinstein                complained                  of     herein           was           engaged              in     by


         Harvey           Weinstein                   as    an      agent          of    ROBERT                      WEINSTEIN                       while          acting          within            the       scope          of      his




                                                                                                                     -1



                                                                                                                 19 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                      INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 20 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         employment                 and          in     behalf          of     ROBERT                    WEINSTEIN,                       and           the     offense         committed                   by        Harvey


         Weinstein              was        a         crime          and/or        violation,               one        defined             by        a    statute        which            clearly            indicates                a


         legislative            intent          to    impose           such      criminal               liability           on    a corporation,                   or an offense                  set      forth       in title


         twenty-seven                 of    article           seventy-one                  of    the     environmental                    conservation                  law.


         97.             That      Defendant                  ROBERT                  WEINSTEIN                       caused           to be performed                     the        illicit      acts        of     Harvey


         Weinstein              complained                   of herein,          in the          name        of or in behalf                   of Defendant                ROBERT                   WEINSTEIN.


         98.            ROBERT                   WEINSTEIN                       failed          to:     further           investigate              to    discover          the       nature             and       extent       of


         the     misconduct;                absolutely                prohibit             such        misconduct;                 restrict         HARVEY                 WEINSTEIN's                             ability      to


         hire     or supervise                  employees               and      his       use     of     corporate              resources               in order         to avoid              future         recurrence


         of     such     misconduct;                   or terminate               HARVEY                     WEINSTE1N's                        employment                     altogether.


         99.            Instead            of        investigating                and           taking         prompt              corrective                 action,       Robert               Weinstein                   used


         settlements             that      contained                 strict     Non-Disclosure                        Agreements                    to keep         law     enforcement,                       the    public,


         and      even          other           THE           WEINSTEIN                         COMPANY                         HOLDINGS,                       LLC        and          THE           WEINSTEIN


         COMPANY,                     LLC             employees                from         discovering                the        extensive              allegations             of     misconduct                    against


         HARVEY                   WEINSTEIN.                            THE            WEINSTEIN                            COMPANY                           HOLDINGS,                         LLC            and           THE


         WEINSTEIN                                                     LLC        itself          entered           into        several        of       these      Non-Disclosure                         agreements                 -
                                        COMPANY,


         containing             settlements                  with       company                 employees.


          100.          Many        witnesses                  to    HARVEY                     WEINSTE1N's                       unlawful               conduct          separately               were         subject             to


         broad         Non-Disclosure                        Agreements                pursuant             to their            THE       WEINSTEIN                     COMPANY                         HOLDINGS,


         LLC       and      THE            WEINSTEIN                          COMPANY,                     LLC         employment                       agreements,              preventing                    them          from



         revealing          their          own          observations                  of    misconduct                     to    law      enforcement                   as well.            In     this        way,          THE


         WEINSTEIN                       COMPANY                        HOLDINGS,                        LLC          and         THE          WEINSTEIN                       COMPANY,                         LLC           and




                                                                                                           20 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 21 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         ROBERT              WEINSTEIN                       enabled             HARVEY                         WEINSTEIN's                         unlawful             conduct              to     continue              far


         beyond        the     date     when,            through         reasonable                  diligence,                  it should          have      been         stopped.


          101.         Defendant                 ROBERT               WEINSTEIN                                did         not      adequately               investigate                complaints                     made



         regarding           acts      of        wrongdoing                committed                      by      HARVEY                      WEINSTEIN,                    did        not         act     to        protect


         employees             and     persons             such      as plaintiff,                   or        prevent            HARVEY                   WEINSTEIN                    from             engaging              in



         recurring          conduct.


          102.         HARVEY                    WEINSTEIN                      was         only          able        to         engage        in     repeated             and     persistent                  unlawful


         conduct        because             of     the     failure         of    ROBERT                        WEINSTEIN                       to    ensure         that     he      and           the     aforesdaid


         companies             complied              with         relevant                nondiscrimination                           laws          and     prevent          their           executives                 from



         engaging           in unlawful              conduct          while           representing                     the       company.


          103.         Defendant                 ROBERT               WEINSTE1N's                                 acquiescence                      also      renders            him          responsible                  for


         HARVEY              WEINSTE1N's                       misconduct.


          104.         ROBERT                WEINSTEIN,                         as        co-owner,                  co-Chairman,                   and      co-CEO,              was         responsible                  for



         maintaining            a safe           workplace,           free           of     sexual         harassment                   and     other        unlawful             conduct.               Yet         instead


         of   doing      so,    ROBERT                   WEINSTEIN                         acquiesced                 in     allowing           HARVEY                   WEINSTEIN                        to     create          a


         hostile       work           environment                  and          engage             in      sexual                misconduct                that      was         known              to     ROBERT


         WEINSTEIN,                   of which            he was           responsible                  for      preventing.


          105.         ROBERT                WEINSTE1N's                         decision                 to     avoid            utilizing          his     power          to    investigate                   credible


         claims        of      misconduct,                  and       to        shield             HARVEY                        WEINSTEIN                        from       consequences                        of       that



         misconduct,                enabled              HARVEY                  WEINSTEIN                             to         continue            victimizing                 employees                     of      THE


         WEINSTEIN                    COMPANY                      HOLDINGS,                         LLC             and         THE          WEINSTEIN                    COMPANY,                         LLC           and


         coworkers.




                                                                                                                      1-



                                                                                                        21 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 22 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          106.        ROBERT              WEINSTEIN                      failed         to undertake                 efforts         that      may        have       resulted            in        discovery           of


         at least     a portion          of    HARVEY                  WEINSTEIN's                       prior         misconduct.


          107.        Through            the     actions           and      inactions             described                above,           Defendant               ROBERT                    WEINSTEIN


         repeatedly          and     persistently              violated           the    New         York           State      Human               Rights          Laws       and        New          York          City


         Human        Rights         Laws        by       subjecting          employees                  to    a sex-based                  hostile         work       environment,                       targeting


         female       employees                for     quid        pro      quo         harassment,                 and        otherwise               discriminating                    against             female


         employees           in the      terms,           conditions,             and       privileges            of    employment.


          108.        The      conduct           and       inactions         of     ROBERT                    WEINSTEIN                      complained                 of    herein           were         willful,


         wanton,       and     malicious.


          109.        Defendant               ROBERT               WEINSTEIN                      repeatedly               and      persistently              aided          and    abetted            wrongful



         conduct,          namely,        the        gender-based                 hostile         work         harassment               of,        quid      pro       quo     harassment                    of,     and


         discrimination              against          female        employees                by     HARVEY                   WEINSTEIN.


          110.        Defendant                 ROBERT                    WEINSTEIN                           condoned                 and/or                acquiesced                  in          HARVEY


         WEINSTE1N's                  sexual          harassment              of    and       gender-based                   discrimination                     against        female               employees.


          111.        Defendant               ROBERT               WEINSTEIN                      has     knowingly,                  repeatedly,                and      persistently,                   deprived


         women        of     equal       treatment            in    terms,         conditions,                and      privileges             of      employment                   and        of    the     right      to


         be free      from      severe          or pervasive              hostile           treatment            because            of their          sex.


          112.        By     reason       of the          conduct          alleged           above,           Defendant              ROBERT                  WEINSTEIN                        discriminated


         against      persons         based          on    sex     in violation               of New           York         Civil       Rights            Law       §40-c.


          113.        Defendant            ROBERT                  WEINSTEIN's                      negligence                 in supervising                   and/or        retaining              HARVEY


         WEINSTEIN                 was        a substantial              factor         in causing             Plaintiff         harm.




                                                                                                  22 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                      INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 23 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          114.            It was         foreseeable             that      Harvey             Weinstein                would           engage             in sexual             misconduct               if Defendant


         ROBERT                  WEINSTEIN                     continued                to    allow           Harvey           Weinstein                  to    have       private            business            meetings


         with       women.


          115.            Defendant              ROBERT                   WEINSTEIN                      knew           that     Harvey              Weinstein                  was      using        his     power         and


         position          to      coerce        women             into        engaging             in        sexual       contact             and        knew          that      this       sexual         misconduct


         would         cause         harm.


          116.            Defendant              ROBERT                 WEINSTEIN                        failed        to institute            corrective                measures              to protect              women



         coming            into      contact           with      Harvey            Weinstein,                  including               Plaintiff,              from       sexual            misconduct                 despite


         Defendant                 ROBERT                  WEINSTEIN                         possessing                 actual           notice            of       Harvey             Weinstein's                 sexually


         inappropriate                   behavior.            Such        acts         and    omissions                 demonstrate                   a conscious                  disregard             of      the    safety


         of     others.


          117.            Defendant              ROBERT                   WEINSTEIN                      was       aware          of     the    probable                dangerous                  consequences                  of



         failing          to      remove          or     adequately                    supervise               Harvey            Weinstein.                    In     failing          to     do      so,     Defendant


         ROBERT                   WEINSTEIN                      acted           with         actual           malice            and        with           conscious                  disregard             to     Plaintiff


         Alexandra                Canosa's             safety.


          118.            As      a direct           and       proximate                 result          of     Defendant                 ROBERT                      WEINSTEIN's                        conduct            and


         failure          to      act,     Plaintiff           was         a     victim            of     Harvey               Weinstein's                     sexual           misconduct.                 The         sexual


         misconduct                 has        caused         Plaintiff           to     suffer         continuing,               severe             and        permanent                   psychological,                pain


         and       suffering             and     emotional              stress,         and       the     loss     of     enjoyment                  of    life.


                                                                                       DIRECTORS'
                                                       BOARD               OF                                             FAILURES                        AND           ACTS


          119.            That      Defendant                 DIRK         ZIFF,             TIM        SARNOFF,                  MARC                LASRY,                TARAK                  BEN        AMMAR,

         LANCE                 MAEROV,                  RICHARD                   KOENIGSBERG,                                  JAMES               L.         DOLAN              and        JEFF        SACKMAN




                                                                                                          23 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                       INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 24 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         solicited,              requested,                 commanded,                        importuned,                   or     intentionally                   aided         Harvey                Weinstein            in



         engaging               in the      illicit        conduct              complained                  of herein.


          120.          That          Defendants                    DIRK         ZIFF,            TIM       SARNOFF,                 MARC               LASRY,             TARAK                  BEN       AMMAR,

         LANCE              MAEROV,                        RICHARD                      KOENIGSBERG,                              JAMES            L.     DOLAN                 and         JEFF         SACKMAN


         omitted           discharging                   a specific              duty        of    affirmative             performance                  imposed            on        corporations/directors



         by      law.


          121.          That          Defendants                    DIRK         ZIFF,            TIM       SARNOFF,                 MARC               LASRY,             TARAK                  BEN       AMMAR,

         LANCE              MAEROV,                        RICHARD                      KOENIGSBERG,                              JAMES            L.     DOLAN                 and         JEFF         SACKMAN


         had      notice         of Harvey                Weinstein's                   repeated           unlawful              conduct     with         plaintiff           and       other          women        which


         amounted                to    a recurring                   issue,       yet        failed        to     investigate          further,           and/or           failed           to    take     reasonable


         steps      to become                 aware            of    such        recurring              issues.


          122.          That          the     illicit       acts       of       Harvey            Weinstein              complained            of        herein       were            authorized,              solicited,


         requested,              commanded,                         or recklessly                  tolerated          by    the     Defendants                DIRK            ZIFF,              TIM      SARNOFF,


         MARC              LASRY,                 TARAK                 BEN             AMMAR,                    LANCE             MAEROV,                   RICHARD                       KOENIGSBERG,


         JAMES             L.     DOLAN                  and        JEFF         SACKMAN.


          123.          That          the      illicit           actions          of     Harvey             Weinstein              complained                 of     herein           were         engaged           in     by


         Harvey            Weinstein                  as an         agent        of     DIRK            ZIFF,         TIM         SARNOFF,                 MARC             LASRY,                     TARAK          BEN


         AMMAR,                   LANCE                   MAEROV,                       RICHARD                    KOENIGSBERG,                           JAMES                 L.      DOLAN               and      JEFF


          SACKMAN                     while             acting        within           the        scope      of    his     employment                   and    in behalf               of    DIRK          ZIFF,       TIM


          SARNOFF,                     MARC                  LASRY,                     TARAK                   BEN         AMMAR,                  LANCE                   MAEROV,                       RICHARD


         KOENIGSBERG,                                 JAMES                L.    DOLAN                    and     JEFF           SACKMAN,                     and     the        offense               committed            by


         Harvey         Weinstein                  was         a crime           and/or            violation,            one     defined      by         a statute         which             clearly       indicates         a




                                                                                                                24 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 25 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         legislative            intent          to       impose         such          criminal          liability          on    a corporation,                or   an offense            set forth          in title


         twenty-seven                of       article        seventy-one                   of     the    environmental                 conservation                 law.


          124.          That      Defendants                    DIRK              ZIFF,         TIM         SARNOFF,               MARC               LASRY,           TARAK             BEN        AMMAR,

         LANCE            MAEROV,                          RICHARD                      KOENIGSBERG,                            JAMES            L.    DOLAN                and      JEFF        SACKMAN


         caused         to be performed                         that        illicit      acts     of    Harvey            Weinstein         complained                  of herein,          in the         name       of


         or      in    behalf           of      Defendants                      DIRK            ZIFF,         TIM          SARNOFF,                   MARC             LASRY,               TARAK              BEN


         AMMAR,                  LANCE                    MAEROV,                       RICHARD                   KOENIGSBERG,                          JAMES               L.     DOLAN             and       JEFF


          SACKMAN.


          125.          Defendants                       DIRK          ZIFF,             TIM        SARNOFF,                    MARC         LASRY,                 TARAK                BEN        AMMAR,

         LANCE            MAEROV,                          RICHARD                      KOENIGSBERG,                            JAMES            L.    DOLAN                and      JEFF        SACKMAN


         was      aware         of the         illicit      activities                committed              by     HARVEY             WEINSTEIN                       complained               of herein,         and


         numerous               other         instances                of      similar          conduct             committed           against          other         women,            and      failed      to     do



         anything          about             same         or to investigate                      further.


          126.          That      Defendants                    DIRK              ZIFF,         TIM         SARNOFF,               MARC               LASRY,           TARAK             BEN        AMMAR,

         LANCE            MAEROV,                          RICHARD                      KOENIGSBERG,                            JAMES            L.    DOLAN                and      JEFF        SACKMAN


         solicited,             requested,                  commanded,                      importuned,                    or    intentionally                 aided         Harvey             Weinstein             in



         engaging          in the            illicit       conduct               complained                 of herein.


          127.          That      Defendants                    DIRK              ZIFF,         TIM         SARNOFF,               MARC               LASRY,           TARAK             BEN        AMMAR,

         LANCE            MAEROV,                          RICHARD                      KOENIGSBERG,                            JAMES            L.    DOLAN                and      JEFF        SACKMAN


         omitted         discharging                     a specific              duty     of     affirmative              performance                 imposed          on        corporations          and        their


         directors         by     law.


          128.          That       the        illicit       acts       of      Harvey           Weinstein              complained            of       herein        were          authorized,         solicited,


         requested,             commanded,                      or recklessly                    tolerated           by    the    Defendants              DIRK             ZIFF,        TIM       SARNOFF,




                                                                                                             25 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                           INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 26 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         MARC                     LASRY,                TARAK                    BEN              AMMAR,                      LANCE              MAEROV,                RICHARD                    KOENIGSBERG,


         JAMES                    L.    DOLAN                   and       JEFF           SACKMAN.


          129.               That          the        illicit         actions               of     Harvey             Weinstein                  complained             of     herein          were       engaged       in    by


         Harvey               Weinstein                     as an         agent          of       DIRK              ZIFF,          TIM         SARNOFF,                MARC           LASRY,              TARAK          BEN


         AMMAR,                         LANCE                    MAEROV,                         RICHARD                      KOENIGSBERG,                             JAMES             L.     DOLAN           and      JEFF


          SACKMAN                           while               acting          within             the        scope           of    his        employment,              and     the          offense      committed           by


         Harvey               Weinstein                     was       a crime               and/or            violation,            one        defined       by     a statute        which         clearly     indicates          a


         legislative                    intent         to       impose           such            criminal            liability            on    a corporation,               or an offense               set forth     in title


         twenty-seven                        of       article         seventy-one                     of       the    environmental                      conservation            law.


          130.               That         Defendants                     DIRK            ZIFF,             TIM        SARNOFF,                    MARC              LASRY,           TARAK              BEN     AMMAR,

         LANCE                    MAEROV,                         RICHARD                        KOENIGSBERG,                                  JAMES           L.      DOLAN             and      JEFF        SACKMAN


         caused              to be performed                             that     illicit          acts        of    Harvey           Weinstein              complained              of herein,           in the     name     of


         or      in         behalf              of     Defendants                     DIRK                 ZIFF,            TIM           SARNOFF,                  MARC             LASRY,              TARAK           BEN


         AMMAR,                         LANCE                    MAEROV,                         RICHARD                      KOENIGSBERG,                             JAMES             L.     DOLAN           and      JEFF


          SACKMAN.


          131.               Defendants                         DIRK            ZIFF,             TIM           SARNOFF,                       MARC           LASRY,             TARAK                  BEN     AMMAR,

         LANCE                    MAEROV,                         RICHARD                        KOENIGSBERG,                                  JAMES           L.      DOLAN             and      JEFF        SACKMAN


         failed             to:        further              investigate               to         discover               the        nature         and      extent       of     the      misconduct;             absolutely


         prohibit                 such      misconduct;                     restrict             HARVEY                     WEINSTEIN's                      ability     to hire         or supervise          employees


         and          his         use      of        corporate              resources                    in     order         to     avoid        future       recurrence               of     such      misconduct;          or


         terminate                     HARVEY                    WEINSTEIN's                              employment                      altogether.


          132.               Instead              of investigating                          and      taking           prompt              corrective         action,         Defendants                DIRK    ZIFF,        TIM


          SARNOFF,                          MARC                    LASRY,                       TARAK                   BEN              AMMAR,                  LANCE               MAEROV,                 RICHARD




                                                                                                                        26 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                 INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 27 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         KOENIGSBERG,                                  JAMES          L.      DOLAN                     and     JEFF             SACKMAN                  used        settlements               that       contained


         strict      Non-Disclosure                             Agreements                 to     keep          law        enforcement,                 the      public,           and     even        other       THE


         WEINSTEIN                         COMPANY                         HOLDINGS,                           LLC           and         THE           WEINSTEIN                      COMPANY,                      LLC


         employees                     from            discovering                 the          extensive              allegations                of      misconduct                  against           HARVEY


         WEINSTEIN.                           THE          WEINSTEIN                            COMPANY                      HOLDINGS,                        LLC           and      THE          WEINSTEIN


         COMPANY,                        LLC            itself      entered              into      several            of     these        Non-Disclosure                      agreements                containing


         settlements               with           company             employees.                    Many          witnesses               to      HARVEY                   WEINSTEIN's                     unlawful


         conduct            separately                  were        subject          to         broad         Non-Disclosure                      Agreements                  pursuant            to    their       THE


         WEINSTEIN                         COMPANY                         HOLDINGS,                           LLC           and         THE           WEINSTEIN                      COMPANY,                      LLC


         employment                    agreements,                 preventing               them         from         revealing           their        own     observations                of misconduct                  to


         law      enforcement                  as well.           In this     way,             THE       WEINSTEIN                       COMPANY                    HOLDINGS,                    LLC        and    THE


         WEINSTEIN                       COMPANY,                     LLC           and         ROBERT                WEINSTEIN                        enabled        HARVEY                   WEINSTE1N's


         unlawful               conduct           to      continue           far     beyond              the     date        when,        through             reasonable              diligence,            it   should


         have       been         stopped.


          133.            Defendants                    DIRK         ZIFF,           TIM           SARNOFF,                      MARC             LASRY,               TARAK                   BEN      AMMAR,

         LANCE              MAEROV,                       RICHARD                   KOENIGSBERG,                                 JAMES            L.     DOLAN                and        JEFF        SACKMAN


         had      power           to     supervise               HARVEY                  WEINSTEIN,                         to   limit     his     contact           with         female        employees             and


         third      parties,            and    to take            concrete           steps         to    stop     illicit        conduct.


          134.            Defendants                    DIRK         ZIFF,           TIM           SARNOFF,                      MARC             LASRY,               TARAK                   BEN      AMMAR,

         LANCE              MAEROV,                       RICHARD                   KOENIGSBERG,                                 JAMES            L.     DOLAN                and        JEFF        SACKMAN


         also       had    the     power               to refuse      to renew                  HARVEY                WEINSTEIN's                        employment                  contract          in 2015        and



         earlier,         but     failed          to     act,     in part      out        of     HARVEY                    WEINSTE1N's                       power          and     influence           and      in part


         due      to concern               that        HARVEY                WEINSTE1N's                          departure              or a public             battle       over       his    contract          would




                                                                                                              27 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 28 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         inflict          financial           harm              on        THE             WEINSTEIN                   COMPANY                         HOLDINGS,                         LLC           and     THE


         WEINSTEIN                      COMPANY,                       LLC.


          135.           HARVEY                WEINSTEIN                          and      Board      members               loyal     to        HARVEY                   WEINSTEIN,                     defeated



         any       efforts        by     independent                      Board           members       to      investigate               claims             of     sexual          misconduct,              or    to


         remove               HARVEY               WEINSTEIN                         or    prevent      him          from      continuing                    to    sexually             harass        and    harm


         women.


          136.           Defendants                DIRK              ZIFF,           TIM      SARNOFF,                 MARC                LASRY,                  TARAK                BEN           AMMAR,

         LANCE                MAEROV,                 RICHARD                        KOENIGSBERG,                      JAMES               L.         DOLAN              and       JEFF          SACKMAN


         did       not        adequately            investigate                 complaints            made           regarding                 acts     of        wrongdoing                  committed            by


         HARVEY                  WEINSTEIN,                      did      not     act to protect         employees                  and        persons            such        as plaintiff,           or prevent


         HARVEY                  WEINSTEIN                      from         engaging          in recurring            conduct.


          137.           HARVEY                WEINSTEIN                             was     only     able      to     engage             in     repeated             and         persistent           unlawful


         conduct              because         of     the        failure         of    key     members            of     Defendant                     THE         WEINSTEIN                      COMPANY


         HOLDINGS,                      LLC         and         THE         WEINSTEIN                  COMPANY,                      LLC's              Board            of     Directors,            including


         Defendants                DIRK            ZIFF,          TIM           SARNOFF,              MARC             LASRY,                  TARAK                BEN          AMMAR,                 LANCE


         MAEROV,                   RICHARD                      KOENIGSBERG,                          JAMES            L.     DOLAN                    and        JEFF          SACKMAN,                    and     in



         failing         to    ensure      that      the        company               complied        with       relevant           nondiscrimination                            laws      and    prevent          its


         executives              from      engaging               in unlawful               conduct          while      representing                   the        company.


          138.           Defendants                DIRK              ZIFF,           TIM      SARNOFF,                 MARC                LASRY,                  TARAK                BEN           AMMAR,

         LANCE                MAEROV,                 RICHARD                        KOENIGSBERG,                      JAMES               L.         DOLAN              and       JEFF          SACKMAN


         acquiescence                   renders            it     responsible                for     HARVEY                  WEINSTEIN's                             misconduct                  on     separate


         grounds.




                                                                                                      28 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 29 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          139.          Defendants                   DIRK            ZIFF,          TIM          SARNOFF,                MARC           LASRY,                 TARAK               BEN          AMMAR,

         LANCE             MAEROV,                     RICHARD                     KOENIGSBERG,                         JAMES          L.     DOLAN               and       JEFF         SACKMAN's


         decision          to    avoid         utilizing             their    power          to   investigate            credible           claims        of    misconduct,               and       to       shield


         HARVEY                 WEINSTEIN                       from         consequences                of that        misconduct,            enabled            HARVEY                 WEINSTEIN


         to continue             victimizing                employees               of THE         WEINSTEIN                  COMPANY                     HOLDINGS,                      LLC        and       THE


         WEINSTEIN                     COMPANY,                        LLC         and     coworkers.


          140.          Defendants                   DIRK            ZIFF,          TIM          SARNOFF,                MARC           LASRY,                 TARAK               BEN          AMMAR,

         LANCE             MAEROV,                      RICHARD                     KOENIGSBERG,                         JAMES          L.      DOLAN                 and     JEFF         SACKMAN


         failed       to   undertake                 efforts         that     may         have     resulted        in     discovery           of     at least         a portion           of     HARVEY


         WEINSTE1N's                        prior       misconduct.


          141.          Through                the       actions             and      inactions           described            above,              Defendants                DIRK              ZIFF,           TIM


          SARNOFF,                     MARC                LASRY,                  TARAK              BEN          AMMAR,                    LANCE                MAEROV,                      RICHARD


         KOENIGSBERG,                              JAMES             L.      DOLAN           and     JEFF       SACKMAN                     repeatedly            and       persistently               violated


         the      New      York            State      Human               Rights         Laws      and    New        York       City         Human             Rights        Laws        by      subjecting


         employees               to a sex-based                  hostile           work      environment,                targeting          female         employees               for    quid         pro      quo



         harassment,                 and     otherwise               discriminating                against         female       employees                in     the     terms,      conditions,                 and


         privileges             of    employment.


          142.          The          conduct          and       inactions           of     Defendants            DIRK         ZIFF,          TIM         SARNOFF,                MARC               LASRY,


         TARAK             BEN          AMMAR,                   LANCE              MAEROV,                RICHARD                   KOENIGSBERG,                           JAMES              L.   DOLAN


         and      JEFF          SACKMAN                     complained                of herein          were      willful,         wanton,          and        malicious.


          143.          Defendants                   DIRK            ZIFF,          TIM          SARNOFF,                MARC           LASRY,                 TARAK               BEN          AMMAR,

         LANCE             MAEROV,                      RICHARD                     KOENIGSBERG,                         JAMES          L.      DOLAN                 and     JEFF         SACKMAN


         and      persistently                 aided           and        abetted         wrongful            conduct,         namely,             the        gender-based                hostile             work




                                                                                                     29 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 30 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         harassment               of,     quid     pro      quo           harassment              of,   and    discrimination                    against            female         employees              by


         HARVEY                WEINSTEIN.


          144.         Defendants                 DIRK          ZIFF,           TIM      SARNOFF,                 MARC            LASRY,                 TARAK                BEN         AMMAR,

         LANCE             MAEROV,                 RICHARD                      KOENIGSBERG,                      JAMES              L.    DOLAN                and         JEFF     SACKMAN


         condoned           and/or          acquiesced               in    HARVEY                WEINSTEIN's                  sexual           harassment             of     and    gender-based


         discrimination                 against        female             employees.


          145.         Defendants                 DIRK          ZIFF,           TIM      SARNOFF,                 MARC            LASRY,                 TARAK                BEN         AMMAR,

         LANCE             MAEROV,                 RICHARD                      KOENIGSBERG,                      JAMES              L.    DOLAN                and         JEFF     SACKMAN


         have      knowingly,                repeatedly,                  and     persistently,           deprived            women              of     equal         treatment            in        terms,


         conditions,              and     privileges            of        employment              and    of   the     right      to       be     free    from          severe        or   pervasive


         hostile       treatment           because          of their            sex.


          146.         By      reason       of the       conduct             alleged        above,      Defendants             DIRK             ZIFF,        TIM       SARNOFF,                 MARC


         LASRY,             TARAK            BEN         AMMAR,                   LANCE            MAEROV,                RICHARD                 KOENIGSBERG,                            JAMES               L.


         DOLAN              and      JEFF         SACKMAN                    discriminated              against       persons             based         on    sex      in    violation          of     New


         York      Civil       Rights        Law         §40-c.


          147.         Defendants                 DIRK          ZIFF,           TIM      SARNOFF,                 MARC            LASRY,                 TARAK                BEN         AMMAR,

         LANCE             MAEROV,                 RICHARD                   KOENIGSBERG,                      JAMES             L.       DOLAN               and     JEFF         SACKMAN's


         negligence             in      supervising           and/or            retaining          HARVEY                WEINSTEIN                      was      a substantial              factor            in



         causing        Plaintiff          harm.


          148.         It was        foreseeable           that       Harvey           Weinstein         would        engage           in sexual             misconduct             if Defendants


         DIRK          ZIFF,         TIM         SARNOFF,                   MARC            LASRY,            TARAK            BEN             AMMAR,                LANCE               MAEROV,


         RICHARD                  KOENIGSBERG,                             JAMES            L.    DOLAN             and       JEFF         SACKMAN                     continued            to        allow



         Harvey         Weinstein            to have         private            business          meetings        with     women.




                                                                                                  30 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                           INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 31 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          149.        Defendants              DIRK           ZIFF,           TIM           SARNOFF,                      MARC               LASRY,              TARAK               BEN           AMMAR,

         LANCE             MAEROV,                RICHARD                   KOENIGSBERG,                               JAMES                L.     DOLAN               and        JEFF       SACKMAN


         knew      that     Harvey          Weinstein              was      using          his    power            and        position           to coerce            women         into     engaging              in


         sexual       contact       and     knew         that      this     sexual          misconduct                   would            cause       harm.


          150.        Defendants              DIRK           ZIFF,           TIM           SARNOFF,                    MARC                 LASRY,              TARAK               BEN           AMMAR,

         LANCE             MAEROV,                RICHARD                   KOENIGSBERG,                               JAMES                L.     DOLAN               and        JEFF       SACKMAN


         failed       to    institute        corrective              measures                to        protect           women              coming             into      contact           with         Harvey


         Weinstein,             including          Plaintiff,             from        sexual            misconduct                   despite           Defendants                 DIRK       ZIFF,           TIM


          SARNOFF,                MARC              LASRY,                  TARAK                     BEN          AMMAR,                    LANCE                    MAEROV,                RICHARD


         KOENIGSBERG,                       JAMES            L.      DOLAN                 and        JEFF       SACKMAN                     possessing                actual       notice        of Harvey


         Weinstein          s sexually            inappropriate                   behavior.              Such          acts         and     omissions             demonstrate                a conscious


         disregard         of the       safety      of     others.


          151.        Defendants              DIRK           ZIFF,           TIM           SARNOFF,                    MARC                 LASRY,              TARAK               BEN           AMMAR,

         LANCE             MAEROV,                RICHARD                   KOENIGSBERG,                               JAMES                L.     DOLAN               and        JEFF       SACKMAN


         were     aware         of the      probable            dangerous              consequences                      of     failing          to remove            or adequately                supervise



         Harvey        Weinstein.            In failing           to do          so, Defendants                  DIRK            ZIFF,           TIM         SARNOFF,               MARC               LASRY,


         TARAK             BEN      AMMAR,                 LANCE             MAEROV,                      RICHARD                    KOENIGSBERG,                             JAMES          L.        DOLAN


         and      JEFF        SACKMAN                      acted          with       actual            malice            and         with         conscious             disregard            to        Plaintiff


         Alexandra           Canosa's            safety.


          152.        As     a direct         and        proximate                result         of     Defendants                  DIRK            ZIFF,       TIM          SARNOFF,                   MARC


         LASRY,            TARAK            BEN          AMMAR,                  LANCE                MAEROV,                   RICHARD                      KOENIGSBERG,                     JAMES                L.


         DOLAN             and      JEFF         SACKMAN                     conduct              and        failure           to    act,        Plaintiff        was        a victim             of    Harvey


         Weinstein          s sexual         misconduct.                  The       sexual            misconduct                has       caused         Plaintiff           to   suffer     continuing,




                                                                                                              1-



                                                                                                      31 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                        INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 32 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         severe       and       permanent                 psychological,                   pain         and      suffering             and     emotional             stress,      and      the        loss      of


         enjoyment             of   life.


                                                          HARVEY                   WEINSTEIN'S                            AFORESAID                     ACTS
                                                PERFORMED                           WITHIN                    SCOPE             OF      EMPLOYMENT


          153.        Harvey           Weinstein              acted          as an executive,                   agent,        management                 employee           and     officer         of    THE


         WEINSTEIN                   COMPANY                      HOLDINGS,                   LLC             and     THE         WEINSTEIN                 COMPANY,                    LLC.


          154.        Harvey           Weinstein              committed               the     unlawful               acts      complained               of herein       in his      capacity             as co-


         owner       and     co-CEO             of THE            WEINSTEIN                       COMPANY                      HOLDINGS,                  LLC        and    THE         WEINSTEIN


         COMPANY,                   LLC,        making            him        the    most       senior           person          in the       company.


          155.        Harvey           Weinstein's                meetings             with         Plaintiff              as alleged          herein       occurred           within         the     course


         and      scope      of     his      employment                  for       THE        WEINSTEIN                        COMPANY                   HOLDINGS,                 LLC         and        THE


         WEINSTEIN                   COMPANY,                     LLC.


          156.        In    that      role,         Harvey         Weinstein                used         THE          WEINSTEIN                  COMPANY                    HOLDINGS,                     LLC


         and     THE        WEINSTEIN                      COMPANY,                      LLC's           corporate               resources          and     employees             to     facilitate          the


         unlawful          conduct.           Thus,        as a matter              of law,         Harvey            Weinstein's              unlawful          activities        are     attributable


         to THE        WEINSTEIN                      COMPANY                      HOLDINGS,                        LLC       and      THE       WEINSTEIN                  COMPANY,                     LLC.


          157.        THE           WEINSTEIN                     COMPANY                     HOLDINGS,                       LLC        and     THE       WEINSTEIN                    COMPANY,


         LLC        employees               facilitated           the    meetings             that        lead        to    illicit     sexual      activity           complained              of     herein,


         while      knowing            that      same        was        unwanted.


          158.        That          THE             WEINSTEIN                       COMPANY                         HOLDINGS,                     LLC          and         THE          WEINSTEIN


         COMPANY,                   LLC         paid        for    hotel           rooms          for    HARVEY                       WEINSTEIN                while       knowing             that      same


         were       intended         for      the    purpose            of     facilitating             the     illicit      acts      complained            of herein.




                                                                                                        32 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 33 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          159.          That        expenses           arising               from       an illicit        sexual        encounter            with      plaintiff           and     others        were          treated


         as      a     business           expense                 of         THE             WEINSTEIN                      COMPANY                    HOLDINGS,                         LLC             and         THE


         WEINSTEIN                    COMPANY,                          LLC.


          160.          THE         WEINSTEIN                       COMPANY                          HOLDINGS,                    LLC       and     THE         WEINSTEIN                       COMPANY,


         LLC         is responsible             for        the     unlawful                  conduct        described             herein.         When        the    legal        violations             described


         herein        were        committed,               HARVEY                      WEINSTEIN                     was        a high-ranking               officer           of THE          WEINSTEIN


         COMPANY                    HOLDINGS,                          LLC          and        THE        WEINSTEIN                     COMPANY,                     LLC.         As      the     most          senior


         member               of     THE         WEINSTEIN                                   COMPANY                    HOLDINGS,                     LLC            and         THE            WEINSTEIN


         COMPANY,                    LLC        management,                            the     actions         taken        by     HARVEY                WEINSTEIN                       in     the      course          of



         managing                  THE        WEINSTEIN                                COMPANY                       HOLDINGS,                      LLC             and          THE            WEINSTEIN


         COMPANY,                    LLC        and         conducting                   THE           WEINSTEIN                   COMPANY                    HOLDINGS,                       LLC         and        THE


         WEINSTEIN                    COMPANY,                           LLC            business            are      attributable             to    THE         WEINSTEIN                        COMPANY


         HOLDINGS,                   LLC        and         THE          WEINSTEIN                        COMPANY,                    LLC.


          161.          Defendants              also        understood                    that    HARVEY                 WEINSTEIN                    was      using            company           resources              to


                                                                                                                                                                                   "roster"
         facilitate         his     sexual       exploits,                   including            his     employment                 on     the     payroll          of    the                        of       women


         described            above       and        his     use        of     company               resources           for      sexual      encounters.


          162.          Harvey           Weinstein                  was           an     agent,          director,          owner           and     employee               of     THE           WEINSTEIN


         COMPANY                    HOLDINGS,                           LLC         and        THE        WEINSTEIN                     COMPANY,                      LLC         from         2010        through


         October            2017.        At    the         time         of    the       time      of     the   acts      alleged          herein       there         was        an actual           or     assumed



         agency         relationship            between                  Harvey              Weinstein            and    THE         WEINSTEIN                      COMPANY                     HOLDINGS,


         LLC          and     THE        WEINSTEIN                           COMPANY,                      LLC,         as well           as between                Harvey          Weinstein                  and    the


         Board         of Directors             of     THE          WEINSTEIN                           COMPANY                   HOLDINGS,                   LLC          and     THE          WEINSTEIN


         COMPANY,                     LLC.           All         acts        or     omissions               alleged         herein          were       ratified            by     THE           WEINSTEIN




                                                                                                          33 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                            INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 34 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         COMPANY               HOLDINGS,                LLC     and     THE         WEINSTEIN                   COMPANY,                         LLC     and    Board             of Directors


         of THE       WEINSTEIN              COMPANY                   HOLDINGS,                  LLC       and       THE          WEINSTEIN                    COMPANY,                        LLC.


         THE      WEINSTEIN               COMPANY                  HOLDINGS,                 LLC,        THE          WEINSTEIN                        COMPANY,                    LLC,          THE


         WEINSTEIN               COMPANY                   HOLDINGS,                   LLC's         Board            of        Directors              and     THE           WEINSTEIN


         COMPANY,               LLC's      Board         of Directors          knew         of the       acts     and       omissions              of    Harvey            Weinstein,             and


         THE      WEINSTEIN                COMPANY                 HOLDINGS,                   LLC       and      THE           WEINSTEIN                      COMPANY,                    LLC's



         employee,           managers,       supervisors,             executives            and      directors             had      investigated               or    knew          of     the     acts


         and     omissions         of   Harvey         Weinstein         and        THE     WEINSTEIN                       COMPANY                     HOLDINGS,                       LLC       and


         THE      WEINSTEIN               COMPANY,                 LLC       failed        and    chose         not    to take         steps        against          him.


                                                                               PRIOR             NOTICE


          163.        Defendants           DIRK         ZIFF,         TIM      SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,

         LANCE         MAEROV,              RICHARD                KOENIGSBERG,                       JAMES                L.    DOLAN,                JEFF     SACKMAN,                         THE


         WEINSTEIN               COMPANY                 HOLDINGS,                  LLC,       THE       WEINSTEIN                      COMPANY,                      LLC,          HARVEY


         WEINSTEIN               and     ROBERT            WEINSTEIN,                  DOES          1-10       are     liable       because            they        were      aware         of    and


         acquiesced          in repeated         and     persistent         unlawful           conduct          by    failing        to investigate                  or    stop     it.


          164.        Defendants           DIRK         ZIFF,         TIM      SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,

         LANCE         MAEROV,              RICHARD                KOENIGSBERG,                       JAMES                L.    DOLAN,                JEFF     SACKMAN,                         THE


         WEINSTEIN               COMPANY                 HOLDINGS,                  LLC,       THE       WEINSTEIN                      COMPANY,                      LLC,          HARVEY


         WEINSTEIN               and     ROBERT            WEINSTEIN,                  DOES          1-10       were        aware           of    and    acquiesced                in repeated


         persistent      unlawful         conduct         committed            by     Harvey         Weinstein              by     failing         to investigate                 or stop        it.


          165.        Defendants           DIRK         ZIFF,         TIM      SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,

         LANCE         MAEROV,              RICHARD                KOENIGSBERG,                       JAMES                L.    DOLAN,                JEFF     SACKMAN,                         THE


         WEINSTEIN               COMPANY                 HOLDINGS,                  LLC,       THE       WEINSTEIN                      COMPANY,                      LLC,          HARVEY




                                                                                       34 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                          INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 35 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         WEINSTEIN                      and       ROBERT             WEINSTEIN,                   DOES           1-10         were         repeatedly              presented               with           credible


         evidence           of    Harvey               Weinstein's           sexual       harassment/assault                      of       employees,                 interns           and        colleagues,


         and      his    use      of     corporate             employees            and     resources            to     facilitate           sexual            activity          with         third       parties,


         amidst         allegations               that     HARVEY             WEINSTEIN                  had      engaged                 in unlawful              sexual             conduct.


          166.           Defendants                 DIRK         ZIFF,        TIM         SARNOFF,                    MARC             LASRY,                   TARAK                 BEN           AMMAR,

         LANCE             MAEROV,                     RICHARD              KOENIGSBERG,                         JAMES               L.     DOLAN,                JEFF           SACKMAN,                        THE


         WEINSTEIN                     COMPANY                   HOLDINGS,                  LLC,         THE          WEINSTEIN                      COMPANY,                         LLC,          HARVEY


         WEINSTEIN                     and        ROBERT             WEINSTEIN,                   DOES         1-10        were           aware          of    or had           access        to numerous


         complaints               of     HARVEY                 WEINSTEIN's                    misconduct                 as    well          as     access           to    THE           WEINSTEIN


         COMPANY                      HOLDINGS,                 LLC        and     THE      WEINSTEIN                     COMPANY,                        LLC         employees                    and    records


         which          could         have        confirmed          the    accuracy         of    the    complaints                 and      the        scope        of misconduct.                       Yet     the



         company            failed           to   adequately          investigate            claims,       take         common-sense                          measures             to protect              female


         employees                and          third       parties         from       HARVEY               WEINSTE1N's                              illegal           conduct,                or      terminate


         HARVEY                  WEINSTE1N's                     employment.


          167.           When           employees               complained                about        serious          misconduct                   by         HARVEY                   WEINSTEIN,


         Defendants               DIRK             ZIFF,       TIM         SARNOFF,               MARC            LASRY,                   TARAK                 BEN        AMMAR,                       LANCE


         MAEROV,                      RICHARD                  KOENIGSBERG,                         JAMES                 L.      DOLAN,                       JEFF         SACKMAN,                             THE


         WEINSTEIN                     COMPANY                   HOLDINGS,                  LLC,         THE          WEINSTEIN                      COMPANY,                         LLC,          HARVEY


         WEINSTEIN                     and        ROBERT             WEINSTEIN,                   DOES           1-10      took           steps     to        separate          the     employee                 from


         the     company               while        securing         a non-disclosure                  agreements               that        would             prevent           the     employee                 from



         disclosing             the    misconduct              to others          or warning        others            about     the        misconduct.                  These          Non-Disclosure


         Agreements                   were         contained         within         settlement           agreements                    entered            into        by    THE           WEINSTEIN


         COMPANY                      HOLDINGS,                 LLC        and     THE      WEINSTEIN                     COMPANY,                        LLC         itself.         While         the     source




                                                                                                  35 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 36 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         of the    funds           used       to pay     for     the    monetary                 component                    of any           settlement           remains      under         investigation,


         THE       WEINSTEIN                       COMPANY                    HOLDINGS,                          LLC          and         THE         WEINSTEIN                  COMPANY,                    LLC's


         participation                 as a party       to settlements,                   and      its receipt                of complaints                 concerning            misconduct               leading


         to    those         settlements,              reflect         that     Defendants                       DIRK              ZIFF,            TIM       SARNOFF,               MARC               LASRY,


         TARAK              BEN         AMMAR,                 LANCE           MAEROV,                          RICHARD                    KOENIGSBERG,                          JAMES               L. DOLAN,


         JEFF          SACKMAN,                      THE         WEINSTEIN                          COMPANY                              HOLDINGS,                    LLC,       THE           WEINSTEIN


         COMPANY,                      LLC,        HARVEY               WEINSTEIN                          and        ROBERT                    WEINSTEIN,                    DOES        1-10        were      fully


         aware         of        numerous             settlements              involving                   claims             of     misconduct                 by     HARVEY                  WEINSTEIN


         brought            by     employees            and      others,        which              was          therefore                a recurring           problem,          and      put        Defendants


         DIRK          ZIFF,           TIM      SARNOFF,                  MARC                   LASRY,                 TARAK                   BEN         AMMAR,               LANCE               MAEROV,


         RICHARD                    KOENIGSBERG,                              JAMES                L.       DOLAN,                       JEFF         SACKMAN,                   THE           WEINSTEIN


         COMPANY                       HOLDINGS,                 LLC,         THE              WEINSTEIN                       COMPANY,                      LLC,        HARVEY                WEINSTEIN


         and     ROBERT                  WEINSTEIN,                    DOES           1-10         on notice                 of    all     similar         future      occurrences              as well.


          168.         In        support       of plaintiff's            contentions                     that     the       actions            by    Harvey          Weinstein           described           herein


         were      not           isolated          instances,           and      were             part          of      a     constant               and     recurring           issue         for     which         all


         Defendants                were       abundantly               aware         and         attempted               to       conceal,            annexed         herewith           are     copies        of   the


          Summons                and     Complaints              in the       following                  matters:


                                         Exhibit        1.             People             v.     Weinstein,                 Index         No.        450293/2018
                                                                       Supreme                  Court,          New         York          County


                                         Exhibit        2.             Rehal         v.        Weinstein,               Index            No.        151738/2018
                                                                       Supreme                  Court,          New         York          County


                                         Exhibit        3.             Huett         v.        Weinstein,             Case          No.         BC680869
                                                                       Superior                Court,           Los     Angeles                 County


                                         Exhibit        4.             Doe      v.        Weinstein,                 Case         No.      BC683411
                                                                       Superior                Court,           Los     Angeles                County




                                                                                                         36 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                            INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 37 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




                                                                                                   DAMAGES


          169.           As     a result         of the         foregoing             unlawful         conduct,          Plaintiff           incurred          substantial              physical            injury,


         pain,        suffering,          loss      of     enjoyment              of    life,     humiliation,            mental           anguish,            and        emotional             distress,        and


         claims         monetary,               compensatory                    and     punitive          damages           herein           for     each      cause        of     action.


                                                  AS AND               FOR A             FIRST            CAUSE           OF         ACTION                  FOR:
                                                                                                 BATTERY


          170.            Plaintiff          restates           and       incorporates             herein        by     reference            the     preceding              paragraphs              as if fully


         set forth          herein.


          171.           Harvey             Weinstein               intended             to      commit          and      committed                  acts      of     unwanted                contact          with


         Plaintiff.


          172.           Harvey          Weinstein                 committed              unwanted             contact        with         Plaintiff           in    a harmful               and     offensive



         manner,            including             but     not      limited        to inflicting              unwanted          sexual              contact      with         Plaintiff.


          173.           Harvey          Weinstein's                  battery          on Plaintiff           caused        physical,               mental          and     emotional              distress.


          174.           Harvey             Weinstein              used         his     power          and     personality              to         overwhelm,               subdue            and       threaten


         Plaintiff          so that         she     would           not      refuse       his     advances.             Any     objections                  to his        conduct          were      met       with


         anger        and     demands              immediately                  to accede          to his     wishes.         Harvey               Weinstein           created            an environment


         in which           there       was       no      choice          but   to do his          bidding        or suffer           dire         consequences                  both      physically            and


         to plaintiff's               career.


          175.           As     described               at length         above,         Harvey        Weinstein's              conduct              as alleged            herein         was      committed


         in     the     scope         and       furtherance                of   his      employment               for     Defendants                   DIRK          ZIFF,          TIM         SARNOFF,


         MARC             LASRY,                TARAK                 BEN        AMMAR,                   LANCE            MAEROV,                     RICHARD                    KOENIGSBERG,


         JAMES            L. DOLAN,                     JEFF       SACKMAN,                      THE      WEINSTEIN                   COMPANY                        HOLDINGS,                     LLC,        THE


         WEINSTEIN                                                               HARVEY                WEINSTEIN                     and       ROBERT                                                DOES             1-
                                       COMPANY,                       LLC,                                                                                           WEINSTEIN,


          10.




                                                                                                      37 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 38 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          176.           Harvey          Weinstein's                     misconduct                as alleged              herein            was       previously              known            to    Defendants


         DIRK          ZIFF,       TIM        SARNOFF,                          MARC             LASRY,               TARAK                  BEN          AMMAR,                 LANCE                MAEROV,


         RICHARD                KOENIGSBERG,                                    JAMES              L.       DOLAN,                  JEFF              SACKMAN,                       THE          WEINSTEIN


         COMPANY                  HOLDINGS,                         LLC,         THE        WEINSTEIN                        COMPANY,                       LLC,           HARVEY                 WEINSTEIN


         and      ROBERT                WEINSTEIN,                        DOES            1-10,         which         facilitated               his      unlawful,             abusive          and         predatory


         sexual        misconduct               by,        among            other         things         using         THE          WEINSTEIN                        COMPANY                      HOLDINGS,


         LLC       and      THE        WEINSTEIN                         COMPANY,                   LLC          employees                to lure         victims           to private          meetings,                and



         allowing           Harvey          Weinstein                   to conduct           business               in his       hotel       room         or other          places         paid       for      by      THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC        and       THE            WEINSTEIN                     COMPANY,                        LLC,           failing


         to    discipline         or     remove             Harvey              Weinstein               despite         prior          knowledge               of     recurring               such       actions              by


         Harvey          Weinstein,           all      the        while         taking       steps        to hide          his      misconduct                and      silence         victims.


          177.         That       DIRK          ZIFF,             TIM           SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,                  LANCE


         MAEROV,                  RICHARD                         KOENIGSBERG,                               JAMES                  L.       DOLAN,                  JEFF            SACKMAN,                          THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC,          THE         WEINSTEIN                       COMPANY,                      LLC,          HARVEY


         WEINSTEIN                    and    ROBERT                      WEINSTEIN,                      DOES           1-10        are      vicariously              responsible               for      the      acts        of



         Harvey          Weinstein            as alleged                 herein          as they         ratified       and         condoned                same,       as aforesaid.


          178.         That       as a result              of     the     subject          incidents,            Plaintiff             has      sustained            injury,         emotional               pain        and



         suffering,          physical         pain,             emotional            distress,            pain       and      suffering               and     loss     of      enjoyment               of      life,     and


         claims        compensatory                   and        punitive           damages              herein.


          179.         That       this      action              falls     within           one      or      more        of       the      exceptions                 set     forth       in     CPLR              §1602,


         specifically:            (5)    (due         to    Defendant's                   intentional               conduct),             (7)      (as      Defendants               acted        with         reckless



         disregard),            (8)      Article                Ten        of      the      Labor            Law,            (11)        (as       Defendant's                  acted          knowingly                      or



         intentionally,            and       in concert).




                                                                                                         38 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                             INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 39 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




          180.               That        this      action         falls     within            one     or more              of the         exceptions                 set forth        in CPLR               §1601,            as with


         due       diligence,                   Plaintiff          is unable             to      obtain         jurisdiction                    over        any      such       person           that       may         have        any


         fault          in     this         matter           aside          from         Defendants                       herein,          and         in     that        Defendants                were            vicariously


         responsible                  for        any    possible             additional               parties             with      liability           herein.


          181.               The      amount                of   damages               sought          herein             exceeds           the        jurisdictional                limits        of      all     other        courts


         which           would            otherwise               have          jurisdiction.


                                                    AS AND                 FOR A SECOND                                   CAUSE             OF          ACTION               FOR:
                                                                                                          ASSAULT


          182.               Plaintiff            restates          and         incorporates              herein             by     reference                the     preceding            paragraphs                    as if     fully


         set forth             herein.


          183.               As      described               at length            above,         Harvey            Weinstein                intended               to cause          apprehension                      of harmful


         or offensive                    conduct             against            Plaintiff.


          184.               Harvey              Weinstein                committed                  unwanted                contact            with         Plaintiff          in   a harmful                   and    offensive



         manner,               including               but       not      limited            to inflicting                unwanted               sexual           contact        with         Plaintiff.


          185.               Harvey              Weinstein's                 assault            of    Plaintiff              caused             physical,             mental          and        emotional                 distress,


         pain          and        suffering            and       loss      of     enjoyment               of      life.


          186.               As      described               at length           above,          Harvey           Weinstein's                    conduct             as alleged          herein            was         committed


         in      the     scope            and        furtherance                  of    his      employment                       for     Defendants                     DIRK        ZIFF,          TIM            SARNOFF,


         MARC                  LASRY,                  TARAK                BEN          AMMAR,                     LANCE                  MAEROV,                       RICHARD                  KOENIGSBERG,


         JAMES                 L. DOLAN,                     JEFF         SACKMAN,                      THE          WEINSTEIN                          COMPANY                      HOLDINGS,                         LLC,      THE


         WEINSTEIN                                                                       HARVEY                    WEINSTEIN                           and     ROBERT                                                    DOES             1-
                                            COMPANY,                        LLC,                                                                                                     WEINSTEIN,


          10.


          187.                Harvey              Weinstein's                   misconduct                as alleged                    herein         was         previously            known              to     Defendants


         DIRK                ZIFF,        TIM           SARNOFF,                       MARC             LASRY,                   TARAK                  BEN          AMMAR,                   LANCE                MAEROV,




                                                                                                                39 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                     INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 40 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         RICHARD                KOENIGSBERG,                                       JAMES                L.       DOLAN,                  JEFF              SACKMAN,                       THE          WEINSTEIN


         COMPANY                  HOLDINGS,                           LLC,          THE          WEINSTEIN                        COMPANY,                       LLC,           HARVEY                 WEINSTEIN


         and      ROBERT                WEINSTEIN,                           DOES               1-10,        which         facilitated               his     unlawful,              abusive          and         predatory


         sexual        misconduct                 by,        among            other          things           using         THE          WEINSTEIN                        COMPANY                      HOLDINGS,


         LLC       and      THE        WEINSTEIN                           COMPANY,                      LLC          employees                 to lure       victims            to private          meetings,                 and



         allowing           Harvey          Weinstein                     to conduct              business               in his       hotel       room        or other           places         paid       for       by      THE


         WEINSTEIN                    COMPANY                          HOLDINGS,                        LLC        and       THE            WEINSTEIN                     COMPANY,                        LLC,          failing


         to    discipline         or      remove              Harvey               Weinstein                 despite         prior          knowledge               of     recurring               such        actions            by


         Harvey          Weinstein,             all      the         while         taking         steps        to hide          his      misconduct                and      silence         victims.


          188.         That       DIRK              ZIFF,            TIM           SARNOFF,                    MARC               LASRY,               TARAK                BEN           AMMAR,                  LANCE


         MAEROV,                  RICHARD                            KOENIGSBERG,                                 JAMES                  L.       DOLAN,                  JEFF            SACKMAN,                           THE


         WEINSTEIN                    COMPANY                         HOLDINGS,                         LLC,          THE         WEINSTEIN                       COMPANY,                       LLC,          HARVEY


         WEINSTEIN                    and     ROBERT                       WEINSTEIN,                         DOES           1-10        are      vicariously              responsible               for       the      acts      of



         Harvey          Weinstein             as alleged                  herein           as they           ratified       and         condoned                same,       as aforesaid.


          189.         That       as a result                of      the     subject            incidents,            Plaintiff             has      sustained            injury,         emotional               pain         and



         suffering,          physical           pain,             emotional               distress,            pain       and      suffering               and     loss     of      enjoyment              of        life,     and


         claims        compensatory                     and        punitive            damages                herein.


          190.         That       this       action               falls      within             one      or      more        of       the      exceptions                 set     forth       in     CPLR               §1602,


         specifically:            (5)      (due         to    Defendant's                    intentional                 conduct),             (7)     (as       Defendants               acted         with         reckless



         disregard),            (8)        Article                Ten        of       the        Labor            Law,            (11)        (as      Defendant's                   acted          knowingly                     or



         intentionally,            and        in concert).


          191.         That     this        action           falls        within          one     or more             of the       exceptions                set forth           in CPLR            §1601,             as with


         due      diligence,            Plaintiff             is unable              to     obtain           jurisdiction                over        any      such        person          that      may          have          any




                                                                                                              40 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                              INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 41 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         fault         in     this          matter       aside        from         Defendants                 herein,           and      in     that        Defendants                 were         vicariously


         responsible                  for     any     possible         additional             parties         with       liability          herein.


          192.              The       amount          of    damages              sought        herein           exceeds          the    jurisdictional                  limits     of    all       other         courts


         which          would           otherwise            have       jurisdiction.


                                                     AS AND            FOR A THIRD                         CAUSE                OF      ACTION                   FOR:
                                        INTENTIONAL                              INFLICTION                     OF       EMOTIONAL                          DISTRESS


          193.              Plaintiff          restates         and     incorporates                 herein       by     reference             the     preceding             paragraphs                  as if     fully


         set forth            herein.


          194.              Harvey            Weinstein's              conduct            as aforesaid,                was       extreme             and     outrageous                and        intentionally


         caused             severe           emotional           distress         to Plaintiff.


          195.              Harvey             Weinstein's              conduct,             as      aforesaid,              was       outrageous                 and       exceeded               all     possible


         bounds              of     decency.


          196.              Harvey            Weinstein            acted         with       intent        and     recklessness                 with        the     intent        and     knowledge                  that


         Plaintiff            had       suffered           emotional             distress         and     was        subject          to his     ongoing            demands             and        control.


          197.              As      described            at length       above,         Harvey            Weinstein's                 conduct          as alleged           herein       was         committed


         in      the    scope           and      furtherance                of    his   employment                     for     Defendants               DIRK            ZIFF,          TIM         SARNOFF,


         MARC                 LASRY,                 TARAK            BEN          AMMAR,                  LANCE                MAEROV,                    RICHARD                 KOENIGSBERG,


         JAMES                L. DOLAN,                  JEFF      SACKMAN,                     THE        WEINSTEIN                        COMPANY                     HOLDINGS,                    LLC,         THE


         WEINSTEIN                                                                 HARVEY                 WEINSTEIN                     and      ROBERT                                                  DOES              1-
                                            COMPANY,                  LLC,                                                                                              WEINSTEIN,


          10.


          198.               Harvey            Weinstein's              misconduct                   as alleged              herein      was         previously             known            to    Defendants


         DIRK               ZIFF,       TIM          SARNOFF,                    MARC           LASRY,                TARAK              BEN           AMMAR,                    LANCE             MAEROV,


         RICHARD                        KOENIGSBERG,                             JAMES               L.    DOLAN,                    JEFF       SACKMAN,                         THE           WEINSTEIN


         COMPANY                        HOLDINGS,                     LLC,        THE        WEINSTEIN                       COMPANY,                      LLC,         HARVEY                 WEINSTEIN




                                                                                                                  1-



                                                                                                          41 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                        INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 42 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         and     ROBERT                  WEINSTEIN,                         DOES             1-10,       which            facilitated               Harvey         Weinstein's                unlawful,                  abusive


         and      predatory               sexual         misconduct                    by,       among            other          things         using          THE         WEINSTEIN                         COMPANY


         HOLDINGS,                   LLC           and        THE           WEINSTEIN                     COMPANY,                         LLC          employees                to lure         victims            to private



         meetings,            and         allowing              Harvey              Weinstein              to      conduct              business             in    his     hotel      room             or    other         places


         paid        for      by         THE            WEINSTEIN                            COMPANY                            HOLDINGS,                         LLC        and       THE              WEINSTEIN


         COMPANY,                    LLC,             failing          to    discipline                or remove                Harvey              Weinstein             despite          prior        knowledge                   of



         recurring           such         actions          by       Harvey           Weinstein,                  all      the    while         taking          steps       to hide         his        misconduct                  and


         silence       victims.


          199.         That         DIRK              ZIFF,           TIM           SARNOFF,                    MARC                  LASRY,             TARAK               BEN           AMMAR,                    LANCE


         MAEROV,                    RICHARD                           KOENIGSBERG,                                 JAMES                  L.        DOLAN,                 JEFF            SACKMAN,                          THE


         WEINSTEIN                       COMPANY                       HOLDINGS,                        LLC,           THE            WEINSTEIN                     COMPANY,                       LLC,            HARVEY


         WEINSTEIN                       and     ROBERT                     WEINSTEIN,                         DOES             1-10      are       vicariously             responsible                 for        the     acts     of



         Harvey            Weinstein              as alleged                herein           as they           ratified          and      condoned                same,       as aforesaid.


         200.          That        as a result                of      the     subject            incidents,            Plaintiff              has      sustained           injury,         emotional                 pain         and



         suffering,           physical             pain,           emotional               distress,            pain       and         suffering          and       loss     of      enjoyment                 of    life,        and


         claims        compensatory                      and        punitive            damages                herein.


         201.          That         this        action             falls      within             one      or      more           of     the     exceptions                 set     forth         in     CPLR              §1602,


         specifically:              (5)      (due        to     Defendant's                   intentional                 conduct),              (7)     (as      Defendants               acted            with         reckless



         disregard),               (8)       Article               Ten        of       the        Labor            Law,           (11)         (as       Defendant's                  acted            knowingly                    or



         intentionally,              and         in concert).


         202.          That        this        action         falls        within          one     or more             of the          exceptions              set forth           in CPLR              §1601,            as with


         due      diligence,              Plaintiff             is unable             to     obtain        jurisdiction                   over         any        such     person          that        may          have          any




                                                                                                               42 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 43 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         fault         in     this         matter      aside        from         Defendants               herein,            and          in     that       Defendants                 were            vicariously


         responsible                 for     any     possible         additional           parties        with        liability           herein.


         203.               The      amount          of     damages             sought      herein         exceeds               the     jurisdictional                 limits        of    all       other      courts


         which          would            otherwise          have       jurisdiction.


                                                 AS AND            FOR A FOURTH                            CAUSE                  OF      ACTION                 FOR:
                                            NEGLIGENT                    INFLICTION                       OF        EMOTIONAL                              DISTRESS


         204.               Plaintiff          restates      and      incorporates               herein        by     reference                 the      preceding            paragraphs                 as if     fully


         set forth            herein.


         205.               Harvey           Weinstein's            conduct            negligently           causes              emotional                distress          to Plaintiff.


         206.               Harvey           Weinstein           could          reasonably           foresee              that     his         actions       would           result        in     the     infliction


         of     emotional                distress      upon        Plaintiff.


         207.               Plaintiff          suffered         emotional             distress       as a result             of        Harvey           Weinstein's                 actions.


         208.               Harvey           Weinstein's              conduct            was      committed                  within             the      scope         of     his     employment                   with


         Defendants                     DIRK        ZIFF,        TIM          SARNOFF,               MARC                 LASRY,                 TARAK               BEN            AMMAR,                    LANCE


         MAEROV,                        RICHARD                  KOENIGSBERG,                             JAMES                   L.      DOLAN,                 JEFF               SACKMAN,                       THE


         WEINSTEIN                         COMPANY                 HOLDINGS,                     LLC,       THE            WEINSTEIN                        COMPANY,                       LLC,         HARVEY


         WEINSTEIN                         and      ROBERT             WEINSTEIN,                    DOES            1-10,         who          are      vicariously             liable         for     same.


         209.               As    described           at length         above,         Harvey           Weinstein's                    conduct           as alleged           herein        was         committed


         in      the    scope            and     furtherance             of     his    employment                   for     Defendants                    DIRK          ZIFF,          TIM            SARNOFF,


         MARC                LASRY,                 TARAK           BEN          AMMAR,                 LANCE                MAEROV,                       RICHARD                    KOENIGSBERG,


         JAMES               L. DOLAN,                JEFF        SACKMAN,                     THE       WEINSTEIN                        COMPANY                      HOLDINGS,                        LLC,      THE


         WEINSTEIN                                                               HARVEY                 WEINSTEIN                        and      ROBERT                                                  DOES             1-
                                           COMPANY,                 LLC,                                                                                                WEINSTEIN,


          10.




                                                                                                     43 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 44 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         210.            Harvey          Weinstein's                     misconduct                as alleged              herein            was       previously              known           to     Defendants


         DIRK          ZIFF,       TIM        SARNOFF,                          MARC             LASRY,               TARAK                  BEN          AMMAR,                 LANCE                MAEROV,


         RICHARD                KOENIGSBERG,                                    JAMES              L.       DOLAN,                  JEFF              SACKMAN,                       THE          WEINSTEIN


         COMPANY                  HOLDINGS,                         LLC,         THE        WEINSTEIN                        COMPANY,                       LLC,           HARVEY                 WEINSTEIN


         and      ROBERT                WEINSTEIN,                        DOES            1-10,         which         facilitated               his      unlawful,             abusive          and         predatory


         sexual        misconduct               by,        among            other         things         using         THE          WEINSTEIN                        COMPANY                      HOLDINGS,


         LLC       and      THE        WEINSTEIN                         COMPANY,                   LLC          employees                to lure         victims           to private          meetings,                and



         allowing           Harvey          Weinstein                   to conduct           business               in his       hotel       room         or other          places         paid       for      by      THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC        and       THE            WEINSTEIN                     COMPANY,                        LLC,         failing


         to    discipline         or     remove             Harvey              Weinstein               despite         prior          knowledge               of     recurring               such       actions            by


         Harvey          Weinstein,           all      the        while         taking       steps        to hide          his      misconduct                and      silence         victims.


         211.          That       DIRK          ZIFF,             TIM           SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,                  LANCE


         MAEROV,                  RICHARD                         KOENIGSBERG,                               JAMES                  L.       DOLAN,                  JEFF            SACKMAN,                          THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC,          THE         WEINSTEIN                       COMPANY,                      LLC,          HARVEY


         WEINSTEIN                    and    ROBERT                      WEINSTEIN,                      DOES           1-10        are      vicariously              responsible               for      the      acts      of



         Harvey          Weinstein            as alleged                 herein          as they         ratified       and         condoned                same,       as aforesaid.


         212.          That       as a result              of     the     subject          incidents,            Plaintiff             has      sustained            injury,         emotional               pain        and



         suffering,          physical         pain,             emotional            distress,            pain       and      suffering               and     loss     of      enjoyment               of      life,     and


         claims        compensatory                   and        punitive           damages              herein.


         213.          That       this      action              falls     within           one      or      more        of       the      exceptions                 set     forth       in     CPLR              §1602,


         specifically:            (5)    (due         to    Defendant's                   intentional               conduct),             (7)      (as      Defendants               acted        with         reckless



         disregard),            (8)      Article                Ten        of      the      Labor            Law,            (11)        (as       Defendant's                  acted          knowingly                    or



         intentionally,            and       in concert).




                                                                                                         44 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                       INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 45 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         214.           That          this      action          falls      within             one     or more         of the       exceptions                    set forth        in CPLR             §1601,         as with


         due     diligence,                  Plaintiff           is unable               to     obtain          jurisdiction               over        any        such        person         that     may      have          any


         fault     in        this          matter         aside           from          Defendants                  herein,          and          in      that         Defendants              were         vicariously


         responsible                 for      any     possible              additional                parties       with       liability           herein.


         215.           The          amount              of     damages             sought             herein        exceeds          the         jurisdictional                 limits       of     all   other      courts


         which       would                otherwise              have         jurisdiction.


                                                     AS AND                FOR A FIFTH                            CAUSE             OF        ACTION                     FOR:
                                                      NEGLIGENT                               SUPERVISION                         AND             RETENTION


         216.           Plaintiff              restates             and       incorporates                herein        by     reference                 the     preceding             paragraphs              as if       fully


         set forth        herein.


         217.           At          all      times            material,             THE             WEINSTEIN                     COMPANY                          HOLDINGS,                        LLC        and     THE


         WEINSTEIN                          COMPANY,                          LLC         employed                 Harvey           Weinstein                    and          Harvey         Weinstein               was       an


         executive              and/or               director              of      THE              WEINSTEIN                    COMPANY                           HOLDINGS,                        LLC        and     THE


         WEINSTEIN                         COMPANY,                        LLC.


         218.           Harvey               Weinstein                  was     unfit         or incompetent                   to work             directly            with      Plaintiff          and    posed       a risk


         of    sexually             harassing                 and    assaulting                her.


         219.           Defendants                       DIRK             ZIFF,          TIM           SARNOFF,                  MARC                  LASRY,                  TARAK                BEN      AMMAR,

         LANCE               MAEROV,                      RICHARD                       KOENIGSBERG,                           JAMES                L.      DOLAN,               JEFF        SACKMAN,                   THE


         WEINSTEIN                          COMPANY                        HOLDINGS,                       LLC          and       THE             WEINSTEIN                        COMPANY,                    LLC           and


         ROBERT                WEINSTEIN                            owed          the    plaintiff          a cognizable                   duty        of      care.


         220.           Defendants                       DIRK             ZIFF,          TIM           SARNOFF,                  MARC                  LASRY,                  TARAK                BEN      AMMAR,

         LANCE               MAEROV,                      RICHARD                       KOENIGSBERG,                           JAMES                L.      DOLAN,               JEFF        SACKMAN,                   THE


         WEINSTEIN                          COMPANY                        HOLDINGS,                       LLC          and       THE             WEINSTEIN                        COMPANY,                    LLC           and


         ROBERT                WEINSTEIN                            breached             the        aforesaid          duty.




                                                                                                                45 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                          INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 46 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         221.           As     a result        of the    aforesaid          breach,       plaintiff          suffered         damage          as a proximate               result.


         222.           Harvey         Weinstein             and     DIRK         ZIFF,         TIM          SARNOFF,                 MARC             LASRY,            TARAK              BEN


         AMMAR,                 LANCE                MAEROV,                RICHARD                   KOENIGSBERG,                           JAMES            L.        DOLAN,              JEFF



          SACKMAN,                     THE        WEINSTEIN                    COMPANY                   HOLDINGS,                      LLC        and        THE         WEINSTEIN


         COMPANY,                  LLC         and    ROBERT               WEINSTEIN                  were     in   an employee-employer                           relationship.


         223.           That      Defendant              Harvey            Weinstein          was        incompetent,                 of     vicious       propensities,               of    bad



         disposition,            and      a violent       sexual      predator.


         224.           That     defendants             DIRK        ZIFF,      TIM        SARNOFF,                  MARC           LASRY,          TARAK                BEN     AMMAR,

         LANCE           MAEROV,                 RICHARD               KOENIGSBERG,                          JAMES            L.   DOLAN,              JEFF        SACKMAN,                 THE


         WEINSTEIN                  COMPANY                     HOLDINGS,                 LLC         and      THE       WEINSTEIN                      COMPANY,                     LLC     and


         ROBERT                WEINSTEIN                 had       knowledge            of   that      aforesaid          fact       which        would         cause       a reasonably


         prudent         person           to   investigate           the     employee's               capacity          and        disposition,           and      to    terminate           said


         employee's              employment.


         225.           That     defendants             DIRK        ZIFF,      TIM        SARNOFF,                  MARC           LASRY,          TARAK                BEN     AMMAR,

         LANCE           MAEROV,                 RICHARD               KOENIGSBERG,                          JAMES            L.   DOLAN,              JEFF        SACKMAN,                 THE


         WEINSTEIN                  COMPANY                     HOLDINGS,                 LLC         and      THE       WEINSTEIN                      COMPANY,                     LLC     and


         ROBERT              WEINSTEIN                  could       reasonably          have        anticipated          that       Harvey        Weinstein's             incompetence


         and    disposition            would          be likely      to result         in injury        to others.


         226.           That     defendants             DIRK        ZIFF,      TIM        SARNOFF,                  MARC           LASRY,          TARAK                BEN     AMMAR,

         LANCE           MAEROV,                 RICHARD               KOENIGSBERG,                          JAMES            L.   DOLAN,              JEFF        SACKMAN,                 THE


         WEINSTEIN                  COMPANY                     HOLDINGS,                 LLC         and      THE       WEINSTEIN                      COMPANY,                     LLC     and


         ROBERT                WEINSTEIN                failed      to use      reasonable             care     to correct           or remove           Harvey          Weinstein.




                                                                                             46 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                           INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 47 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         227.          DIRK          ZIFF,          TIM           SARNOFF,                      MARC             LASRY,                   TARAK               BEN            AMMAR,                   LANCE


         MAEROV,                 RICHARD                    KOENIGSBERG,                               JAMES                    L.      DOLAN,                JEFF               SACKMAN,                     THE


         WEINSTEIN                  COMPANY                       HOLDINGS,                     LLC            and        THE          WEINSTEIN                   COMPANY,                      LLC           and


         ROBERT              WEINSTEIN                    knew          or should          have       known               of the       Harvey            Weinstein's               propensity           for    the


         conduct         which           caused             the         injuries,         assaults,             and            other         misconduct                of        Harvey         Weinstein


         complained             of herein,          prior         to    same         occurring.


         228.          The      injuries,       assaults,               and      other      misconduct                    of     Harvey         Weinstein              complained                of    herein,


         were      committed             on   the     premises                 completely             owed           or        completed            controlled              by    DIRK        ZIFF,           TIM


          SARNOFF,                MARC              LASRY,                    TARAK                  BEN         AMMAR,                       LANCE               MAEROV,                     RICHARD


         KOENIGSBERG,                         JAMES                L.      DOLAN,                 JEFF          SACKMAN,                        THE          WEINSTEIN                      COMPANY


         HOLDINGS,                  LLC       and      THE              WEINSTEIN                    COMPANY,                          LLC      and        ROBERT                 WEINSTEIN,                     or


         with   their        chattels.


         229.          Based       on his      long        history            of misconduct,               Defendants                   DIRK         ZIFF,        TIM            SARNOFF,             MARC


         LASRY,          TARAK               BEN       AMMAR,                       LANCE            MAEROV,                     RICHARD                  KOENIGSBERG,                          JAMES            L.



         DOLAN,              JEFF           SACKMAN,                       THE         WEINSTEIN                          COMPANY                     HOLDINGS,                      LLC         and          THE


         WEINSTEIN                  COMPANY,                       LLC          and      ROBERT                 WEINSTEIN                       knew         or   should            have        known          not



         only   that     Weinstein            was         unfit         or incompetent                to work              with        Plaintiff.


         230.          DIRK          ZIFF,          TIM           SARNOFF,                      MARC             LASRY,                   TARAK               BEN            AMMAR,                   LANCE


         MAEROV,                 RICHARD                    KOENIGSBERG,                               JAMES                    L.      DOLAN,                JEFF               SACKMAN,                     THE


         WEINSTEIN                  COMPANY                       HOLDINGS,                     LLC            and        THE          WEINSTEIN                   COMPANY,                      LLC           and


         ROBERT              WEINSTEIN                    were          given        specific        information                     about     Harvey          Weinstein's                 inappropriate


         conduct        involving             Plaintiff            and          disregarded              the     information.                       As      a result,             Harvey        Weinstein


         continued           to threaten         Plaintiff              and      engage         in    sexual         assault           and     battery         among             other     misconduct.




                                                                                                     47 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 48 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         231.           Harvey           Weinstein              was       an     agent,           director,          owner          and     employee              of    THE        WEINSTEIN


         COMPANY                     HOLDINGS,                  LLC         and        THE         WEINSTEIN                      COMPANY,                  LLC         from       2010     through


         October          2017.


         232.           At     the     time      of    the    time     of      the     acts       alleged        herein           there     was       an   actual        or    assumed          agency


         relationship                between           Harvey         Weinstein                  and      DIRK            ZIFF,           TIM        SARNOFF,                 MARC         LASRY,


         TARAK                BEN      AMMAR,                 LANCE            MAEROV,                   RICHARD                  KOENIGSBERG,                         JAMES         L. DOLAN,


         JEFF      SACKMAN,                      THE          WEINSTEIN                     COMPANY                      HOLDINGS,                   LLC       and       THE       WEINSTEIN


         COMPANY,                     LLC      and      ROBERT                 WEINSTEIN.


         233.           All     acts    or omissions              alleged            herein        were       ratified       by     DIRK          ZIFF,      TIM        SARNOFF,                MARC


         LASRY,               TARAK            BEN       AMMAR,                  LANCE                 MAEROV,               RICHARD                 KOENIGSBERG,                     JAMES               L.



         DOLAN,                JEFF           SACKMAN,                 THE             WEINSTEIN                      COMPANY                     HOLDINGS,                    LLC        and     THE


         WEINSTEIN                     COMPANY,                  LLC        and       ROBERT                  WEINSTEIN.


         234.           DIRK           ZIFF,          TIM        SARNOFF,                       MARC             LASRY,                TARAK               BEN         AMMAR,               LANCE


         MAEROV,                     RICHARD                  KOENIGSBERG,                              JAMES               L.      DOLAN,                 JEFF         SACKMAN,                  THE


         WEINSTEIN                     COMPANY                   HOLDINGS,                        LLC         and        THE       WEINSTEIN                   COMPANY,                   LLC         and


         ROBERT                 WEINSTEIN                     knew          of       the        acts      and       omissions              of     Harvey            Weinstein,            and     THE


         WEINSTEIN                     COMPANY                  HOLDINGS,                       LLC      and     DIRK          ZIFF,        TIM       SARNOFF,                MARC         LASRY,


         TARAK                BEN      AMMAR,                 LANCE            MAEROV,                   RICHARD                  KOENIGSBERG,                         JAMES         L. DOLAN,


         JEFF      SACKMAN,                      THE          WEINSTEIN                     COMPANY                      HOLDINGS,                   LLC       and       THE       WEINSTEIN


         COMPANY,                     LLC       and     ROBERT                 WEINSTEIN'S                          employees,             managers,           supervisors,              executives


         and    directors            had      investigated            or knew              of    the    acts     and       omissions            of    Harvey           Weinstein          and    failed


         and    chose          not     to take        steps     against          Harvey           Weinstein.




                                                                                                   48 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                    INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 49 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         235.           Defendants             DIRK           ZIFF,       TIM        SARNOFF,                      MARC          LASRY,                 TARAK                    BEN       AMMAR,

         LANCE              MAEROV,              RICHARD                KOENIGSBERG,                           JAMES            L.    DOLAN,               JEFF            SACKMAN,                 THE


         WEINSTEIN                    COMPANY                  HOLDINGS,                      LLC       and         THE       WEINSTEIN                         COMPANY,                    LLC         and


         ROBERT               WEINSTEIN                 had     actual         or constructive                knowledge               of     specific           prior       acts       or allegations


         that     made        Harvey        Weinstein's               wrongful          conduct             complained               of herein          foreseeable.


         236.           No        meaningful           disciplinary              action          was        taken       and      Harvey              Weinstein                   was      allowed        to


         continue            to    use     THE         WEINSTEIN                   COMPANY                         HOLDINGS,                   LLC         and           THE        WEINSTEIN


         COMPANY,                    LLC       resources          and      his     position            at    THE       WEINSTEIN                        COMPANY                        HOLDINGS,


         LLC          and    THE       WEINSTEIN                COMPANY,                      LLC       to facilitate           his        sexual       misconduct.


         237.           DIRK           ZIFF,       TIM         SARNOFF,                   MARC               LASRY,              TARAK                  BEN             AMMAR,                LANCE


         MAEROV,                   RICHARD                 KOENIGSBERG,                             JAMES              L.       DOLAN,                  JEFF             SACKMAN,                   THE


         WEINSTEIN                    COMPANY                  HOLDINGS,                      LLC       and         THE       WEINSTEIN                         COMPANY,                    LLC         and


         ROBERT               WEINSTEIN                 are    responsible              for    Harvey          Weinstein's                 acts     alleged             herein.


         238.           Harvey           Weinstein's            conduct           was         committed              within          the     scope         of     his       employment              with


         Defendants               DIRK         ZIFF,      TIM          SARNOFF,                 MARC               LASRY,             TARAK              BEN             AMMAR,               LANCE


         MAEROV,                   RICHARD                 KOENIGSBERG,                             JAMES              L.       DOLAN,                  JEFF             SACKMAN,                   THE


         WEINSTEIN                   COMPANY                  HOLDINGS,                   LLC,         THE         WEINSTEIN                      COMPANY,                       LLC,      HARVEY


         WEINSTEIN                   and    ROBERT              WEINSTEIN,                     DOES           1-10,       who        are     vicariously                liable      for    same.


         239.           As     described         at length       above,          Harvey          Weinstein's                conduct          as alleged            herein          was     committed


         in     the    scope        and     furtherance           of     his     employment                  for     Defendants               DIRK          ZIFF,            TIM          SARNOFF,


         MARC               LASRY,          TARAK             BEN         AMMAR,                 LANCE               MAEROV,                   RICHARD                     KOENIGSBERG,


         JAMES              L. DOLAN,            JEFF      SACKMAN,                     THE       WEINSTEIN                     COMPANY                    HOLDINGS,                       LLC,     THE




                                                                                               49 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                 INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 50 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         WEINSTEIN                                                                 HARVEY                  WEINSTEIN                       and         ROBERT                                                DOES               1-
                                      COMPANY,                           LLC,                                                                                               WEINSTEIN,


          10.


         240.             Harvey          Weinstein's                     misconduct                as alleged              herein            was       previously              known           to     Defendants


         DIRK          ZIFF,        TIM       SARNOFF,                           MARC            LASRY,                TARAK                  BEN          AMMAR,                 LANCE                MAEROV,


         RICHARD                 KOENIGSBERG,                                    JAMES              L.       DOLAN,                  JEFF              SACKMAN,                       THE          WEINSTEIN


         COMPANY                   HOLDINGS,                         LLC,         THE       WEINSTEIN                         COMPANY,                       LLC,           HARVEY                 WEINSTEIN


         and      ROBERT                 WEINSTEIN,                        DOES            1-10,         which         facilitated               his      unlawful,             abusive          and         predatory


         sexual        misconduct                by,        among               other     things          using         THE          WEINSTEIN                        COMPANY                      HOLDINGS,


         LLC        and      THE        WEINSTEIN                         COMPANY,                   LLC          employees                to lure         victims           to private          meetings,                and



         allowing            Harvey         Weinstein                    to conduct          business                in his       hotel       room         or other          places         paid       for      by      THE


         WEINSTEIN                    COMPANY                        HOLDINGS,                      LLC        and       THE            WEINSTEIN                     COMPANY,                        LLC,           failing


         to     discipline         or     remove             Harvey              Weinstein               despite         prior          knowledge               of     recurring               such       actions              by


         Harvey           Weinstein,          all       the        while         taking      steps         to hide          his     misconduct                 and      silence         victims.


         241.          That        DIRK          ZIFF,              TIM          SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,                  LANCE


         MAEROV,                   RICHARD                         KOENIGSBERG,                               JAMES                 L.        DOLAN,                  JEFF            SACKMAN,                          THE


         WEINSTEIN                    COMPANY                        HOLDINGS,                      LLC,          THE         WEINSTEIN                       COMPANY,                      LLC,          HARVEY


         WEINSTEIN                    and    ROBERT                       WEINSTEIN,                      DOES           1-10        are      vicariously              responsible               for      the      acts        of



         Harvey           Weinstein           as alleged                  herein         as they          ratified       and        condoned                 same,       as aforesaid.


         242.          That        as a result              of     the     subject         incidents,             Plaintiff             has      sustained            injury,         emotional               pain        and



         suffering,           physical        pain,              emotional              distress,          pain       and      suffering               and     loss     of      enjoyment               of      life,     and


         claims        compensatory                    and        punitive              damages           herein.


         243.          That        this     action               falls      within         one       or      more        of       the      exceptions                 set     forth       in     CPLR              §1602,


         specifically:             (5)    (due         to    Defendant's                  intentional                conduct),             (7)      (as      Defendants               acted        with         reckless




                                                                                                          50 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                      INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 51 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         disregard),                 (8)       Article            Ten          of    the        Labor           Law,         (11)         (as           Defendant's                    acted         knowingly                   or



         intentionally,                 and         in concert).


         244.            That        this      action         falls     within            one     or more          of the       exceptions                     set forth       in CPLR               §1601,       as with


         due      diligence,                Plaintiff           is unable            to     obtain          jurisdiction               over        any          such     person          that        may       have        any


         fault      in     this         matter            aside         from         Defendants                 herein,          and          in        that      Defendants                   were        vicariously


         responsible              for        any      possible           additional               parties       with       liability           herein.


         245.            The      amount                of   damages                sought         herein          exceeds          the       jurisdictional                  limits         of    all    other        courts


         which       would             otherwise                have     jurisdiction.


                                                    AS AND               FOR A SIXTH                          CAUSE             OF        ACTION                       FOR:
                                                                                    AIDING            AND           ABETTING


         246.            Plaintiff            restates          and      incorporates                 herein         by    reference                the        preceding            paragraphs                 as if     fully


         set forth         herein.


         247.            Weinstein                  was      an       agent,        director,           owner          and      employee                  of      the    Weinstein                 Company              from


         2010       through             October              2017.          At      the    time      of the         time     of the           acts       alleged           herein        there           was    an actual


         or      assumed                agency               relationship                  between              Weinstein                 and            THE            WEINSTEIN                         COMPANY


         HOLDINGS,                         LLC        and       THE       WEINSTEIN                         COMPANY,                    LLC,             as well         as between                 Weinstein              and


         its     Board         of Directors.


         248.            All      acts         or       omissions                alleged          herein         were        ratified              by     THE           WEINSTEIN                         COMPANY


         HOLDINGS,                      LLC          and     THE         WEINSTEIN                      COMPANY,                       LLC          and        THE       WEINSTEIN                        COMPANY


         HOLDINGS,                          LLC           and         THE           WEINSTEIN                      COMPANY,                          LLC's              Board           of        Directors.            THE


         WEINSTEIN                          COMPANY                      HOLDINGS,                          LLC,          THE          WEINSTEIN                           COMPANY,                        LLC,         THE


         WEINSTEIN                          COMPANY                      HOLDINGS,                         LLC's           Board          of         Directors                and       THE              WEINSTEIN


         COMPANY,                      LLC's             Board         of Directors                knew         of the       acts       and        omissions               of Harvey                Weinstein,             and


         THE        WEINSTEIN                           COMPANY                     HOLDINGS,                      LLC       and        THE             WEINSTEIN                      COMPANY,                    LLC's




                                                                                                                     1-



                                                                                                            51 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 52 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         employee,             managers,           supervisors,                executives           and     directors            had       investigated                or    knew         of    the     acts


         and      omissions          of    Harvey          Weinstein             and    THE          WEINSTEIN                       COMPANY                    HOLDINGS,                      LLC      and


         THE          WEINSTEIN                COMPANY,                   LLC       failed         and    chose         not     to take       steps       against           him.


         249.          No       meaningful                disciplinary             action           was        taken          and       THE          WEINSTEIN                       COMPANY


         HOLDINGS,                  LLC        and     THE        WEINSTEIN                    COMPANY,                       LLC          knowingly             allowed             Weinstein               to


         use     THE        WEINSTEIN                  COMPANY                  HOLDINGS,                   LLC         and     THE         WEINSTEIN                       COMPANY,                  LLC


         resources           and     his       position          at      THE       WEINSTEIN                       COMPANY                     HOLDINGS,                      LLC          and        THE


         WEINSTEIN                  COMPANY,                  LLC        to facilitate             his    sexual        misconduct.


         250.           THE        WEINSTEIN                   COMPANY                      HOLDINGS,                    LLC,           THE         WEINSTEIN                       COMPANY,


         LLC,          THE         WEINSTEIN                   COMPANY                       HOLDINGS,                       LLC's          Board          of     Directors                and        THE


         WEINSTEIN                  COMPANY,                    LLC's           Board         of     Directors            are        responsible           for         Weinstein's               acts     of



         assault,       battery,         and    intentional            or negligent            infliction          of    emotional             distress.


         251.          Harvey         Weinstein's               conduct           was        committed             within            the     scope        of     his        employment                with


         Defendants              DIRK          ZIFF,       TIM         SARNOFF,                MARC               LASRY,               TARAK            BEN            AMMAR,                  LANCE


         MAEROV,                   RICHARD                 KOENIGSBERG,                             JAMES               L.      DOLAN,                 JEFF            SACKMAN,                       THE


         WEINSTEIN                  COMPANY                   HOLDINGS,                   LLC,           THE      WEINSTEIN                    COMPANY,                      LLC,         HARVEY


         WEINSTEIN                  and    ROBERT                WEINSTEIN,                   DOES             1-10,     who         are    vicariously            liable          for    same.


         252.          As      described         at length        above,         Harvey          Weinstein's                 conduct        as alleged           herein        was        committed


         in     the    scope       and     furtherance            of     his     employment                 for    Defendants                 DIRK         ZIFF,            TIM          SARNOFF,


         MARC           LASRY,             TARAK              BEN         AMMAR,                   LANCE            MAEROV,                   RICHARD                       KOENIGSBERG,


         JAMES           L. DOLAN,               JEFF        SACKMAN,                   THE        WEINSTEIN                    COMPANY                   HOLDINGS,                       LLC,        THE


         WEINSTEIN                                                        HARVEY                 WEINSTEIN                     and     ROBERT                                                  DOES          1-
                                   COMPANY,                   LLC,                                                                                         WEINSTEIN,


          10.




                                                                                              52 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 53 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         253.            Harvey          Weinstein's                     misconduct                as alleged              herein            was       previously              known            to    Defendants


         DIRK          ZIFF,       TIM        SARNOFF,                          MARC             LASRY,               TARAK                  BEN          AMMAR,                 LANCE                MAEROV,


         RICHARD                KOENIGSBERG,                                    JAMES              L.       DOLAN,                  JEFF              SACKMAN,                       THE          WEINSTEIN


         COMPANY                  HOLDINGS,                         LLC,         THE        WEINSTEIN                        COMPANY,                       LLC,           HARVEY                 WEINSTEIN


         and      ROBERT                WEINSTEIN,                        DOES            1-10,         which         facilitated               his      unlawful,             abusive          and         predatory


         sexual        misconduct               by,        among            other         things         using         THE          WEINSTEIN                        COMPANY                      HOLDINGS,


         LLC       and      THE        WEINSTEIN                         COMPANY,                   LLC          employees                to lure         victims           to private          meetings,               and



         allowing           Harvey          Weinstein                   to conduct           business               in his       hotel       room         or other          places         paid       for      by    THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC        and       THE            WEINSTEIN                     COMPANY,                        LLC,        failing


         to    discipline         or     remove             Harvey              Weinstein               despite         prior          knowledge               of     recurring               such       actions           by


         Harvey          Weinstein,           all      the        while         taking       steps        to hide          his      misconduct                and      silence         victims.


         254.          That       DIRK          ZIFF,             TIM           SARNOFF,                  MARC               LASRY,                TARAK               BEN           AMMAR,                  LANCE


         MAEROV,                  RICHARD                         KOENIGSBERG,                               JAMES                  L.       DOLAN,                  JEFF            SACKMAN,                        THE


         WEINSTEIN                    COMPANY                       HOLDINGS,                      LLC,          THE         WEINSTEIN                       COMPANY,                      LLC,          HARVEY


         WEINSTEIN                    and    ROBERT                      WEINSTEIN,                      DOES           1-10        are      vicariously              responsible               for      the     acts      of



         Harvey          Weinstein            as alleged                 herein          as they         ratified       and         condoned                same,      as aforesaid.


         255.          That       as a result              of     the     subject          incidents,            Plaintiff             has      sustained            injury,         emotional               pain       and



         suffering,          physical         pain,             emotional            distress,            pain       and      suffering               and     loss     of      enjoyment              of     life,      and


         claims        compensatory                   and        punitive           damages              herein.


         256.          That       this      action              falls     within           one      or      more        of       the      exceptions                 set     forth       in     CPLR             §1602,


         specifically:            (5)    (due         to    Defendant's                   intentional               conduct),             (7)      (as      Defendants               acted        with         reckless



         disregard),            (8)      Article                Ten        of      the      Labor            Law,            (11)        (as       Defendant's                  acted          knowingly                   or



         intentionally,            and       in concert).




                                                                                                         53 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                             INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 54 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         257.             That        this       action         falls      within           one     or more            of the           exceptions                  set forth      in CPLR                  §1601,          as with


         due       diligence,                Plaintiff           is unable             to    obtain           jurisdiction                    over        any       such      person          that          may         have           any


         fault       in      this          matter          aside          from         Defendants                    herein,             and         in      that        Defendants               were             vicariously


         responsible                for         any     possible           additional               parties          with         liability           herein.


         258.             The       amount               of     damages             sought             herein         exceeds             the        jurisdictional               limits         of        all    other      courts


         which         would           otherwise                 have       jurisdiction.


                                                 AS AND                 FOR A SEVENTH                                 CAUSE                   OF       ACTION                 FOR:
                                                                                     SEXUAL                  HARASSMENT


         259.             Plaintiff              repeats          and       realleges             each          of    the         preceding                paragraphs              as if         set       forth        at length


         herein.


         260.             That        Defendant                  Harvey            Weinstein               engaged                in    sexual            intercourse            with        plaintiff             by     forcible


         compulsion                 and/or            when           plaintiff         was        incapable            of consent                    by    reason          of being          physically                  helpless.


         261.             That        Defendant                  Harvey             Weinstein              engaged                 in    oral        sexual          conduct          or    anal           sexual         conduct


         with       plaintiff              by     forcible           compulsion                and/or           when          plaintiff              was        incapable          of      consent               by     reason          of



         being        physically                  helpless.


         262.             Harvey                Weinstein               actions,        described               above,             created            a hostile           work        environment.


         263.             In addition,                  Harvey           Weinstein                engaged             in quid           pro     quo        harassment              by promising                        employee


         benefits           and       contacts                in the      industry           in exchange                    for        sexual         favors.


         264.             Using            his     authority             and       power          in     THE          WEINSTEIN                           COMPANY                     HOLDINGS,                         LLC            and


         THE        WEINSTEIN                           COMPANY,                       LLC        and     in the        entertainment                        business,           Harvey           Weinstein                 abused


         his      position            of     power             and      authority            over        Plaintiff,           who          was         his      subordinate                and        in     no       position           to


         reject       his       demands               and       advances.               Weinstein                made             it clear       that        Plaintiff          was        expected               to give         in to


         sexual           advances                and     demands,                 expected             to keep         silent,           and         even         expected           to pretend                  to like        it,     in


         order       to maintain                   her        position           and    status          in the        workplace                 and          the     industry.




                                                                                                              54 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                            INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 55 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         265.         Harvey          Weinstein's               harassment             and      quid        pro    quo        demands              upon         Plaintiff              was            severe     and


         pervasive        and     caused          physical,           mental          and      emotional            distress.


         266.         Harvey          Weinstein             s conduct               was        committed              in      the        scope        of      his         employment                     at     THE


         WEINSTEIN               COMPANY                     HOLDINGS,                      LLC      and      THE          WEINSTEIN                       COMPANY,                          LLC.


         267.         Harvey          Weinstein's                sexual           misconduct              was       known             to    THE            WEINSTEIN                          COMPANY


         HOLDINGS,               LLC        and      THE         WEINSTEIN                     COMPANY,                       LLC,         which           facilitated              his      unlawful            and



         predatory         sexual          misconduct                 by,     among            other         things           using         THE            WEINSTEIN                          COMPANY


         HOLDINGS,               LLC        and     THE          WEINSTEIN                   COMPANY,                      LLC           employees              to lure            victims             to private



         meetings,         and    allowing               Weinstein            to    conduct          business           in     his       hotel      room            or    other        places            paid     for



         by     THE      WEINSTEIN                 COMPANY                    HOLDINGS,                     LLC       and       THE         WEINSTEIN                          COMPANY,                        LLC,



         failing      to discipline         or remove                Harvey         Weinstein             despite          prior      knowledge                 of recurring                    such      actions



         by     Harvey      Weinstein,             all    the    while        taking         steps       to hide        his     misconduct                  and          silence          victims.


         268.         Harvey          Weinstein              was       an     agent,         director,            owner            and      employee                 of        THE          WEINSTEIN


         COMPANY                 HOLDINGS,                      LLC         and     THE        WEINSTEIN                       COMPANY,                        LLC             from         2010         through


         October         2017.        At   the      time        of   the     time      of    the     acts     alleged           herein           there       was          an    actual           or     assumed



         agency       relationship          between              Harvey            Weinstein           and        THE        WEINSTEIN                      COMPANY                         HOLDINGS,


         LLC       and    THE         WEINSTEIN                      COMPANY,                   LLC,         as well           as between                Weinstein                    and       its     Board         of


         Directors.


         269.         Harvey          Weinstein             s conduct               was      committed                within          the        scope         of        his    employment                      with


         Defendants            DIRK         ZIFF,          TIM        SARNOFF,                  MARC               LASRY,                TARAK                BEN              AMMAR,                    LANCE


         MAEROV,                 RICHARD                   KOENIGSBERG,                              JAMES               L.        DOLAN,                   JEFF               SACKMAN,                         THE


         WEINSTEIN                COMPANY                    HOLDINGS,                      LLC,       THE         WEINSTEIN                        COMPANY,                          LLC,            HARVEY


         WEINSTEIN                and      ROBERT                WEINSTEIN,                    DOES           1-10,        who        are        vicariously               liable         for         same.




                                                                                               55 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 56 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         270.           As      described        at length          above,        Harvey          Weinstein's                   conduct      as alleged         herein        was     committed


         in     the     scope        and     furtherance            of    his     employment                 for     Defendants                DIRK         ZIFF,        TIM         SARNOFF,


         MARC               LASRY,            TARAK           BEN          AMMAR,                 LANCE                  MAEROV,                 RICHARD               KOENIGSBERG,


         JAMES              L. DOLAN,                JEFF    SACKMAN,                  THE         WEINSTEIN                       COMPANY                 HOLDINGS,                  LLC,           THE


         WEINSTEIN                                                         HARVEY                 WEINSTEIN                       and      ROBERT                                          DOES              1-
                                       COMPANY,               LLC,                                                                                          WEINSTEIN,


          10.


         271.               Harvey         Weinstein's            misconduct               as alleged              herein          was      previously          known          to    Defendants


         DIRK           ZIFF,        TIM       SARNOFF,                  MARC          LASRY,                TARAK                 BEN       AMMAR,               LANCE              MAEROV,


         RICHARD                  KOENIGSBERG,                           JAMES             L.      DOLAN,                   JEFF           SACKMAN,                   THE          WEINSTEIN


         COMPANY                     HOLDINGS,               LLC,         THE       WEINSTEIN                       COMPANY,                     LLC,      HARVEY                  WEINSTEIN


         and      ROBERT                  WEINSTEIN,                DOES           1-10,        which        facilitated             his    unlawful,           abusive        and         predatory


         sexual         misconduct              by,     among        other        things         using        THE           WEINSTEIN                   COMPANY                    HOLDINGS,


         LLC          and     THE         WEINSTEIN             COMPANY,                    LLC          employees                to lure     victims        to private        meetings,               and



         allowing             Harvey         Weinstein        to conduct             business              in his        hotel     room       or other       places         paid     for     by     THE


         WEINSTEIN                     COMPANY                HOLDINGS,                    LLC       and       THE           WEINSTEIN                   COMPANY,                   LLC,          failing


         to     discipline           or    remove        Harvey          Weinstein              despite        prior         knowledge             of     recurring          such     actions               by


         Harvey             Weinstein,         all    the   while        taking      steps        to hide          his     misconduct             and      silence       victims.


         272.           That         DIRK       ZIFF,       TIM          SARNOFF,                 MARC              LASRY,                TARAK           BEN         AMMAR,                LANCE


         MAEROV,                     RICHARD                KOENIGSBERG,                            JAMES                  L.      DOLAN,                JEFF         SACKMAN,                       THE


         WEINSTEIN                     COMPANY               HOLDINGS,                     LLC,         THE         WEINSTEIN                    COMPANY,                   LLC,      HARVEY


         WEINSTEIN                     and    ROBERT            WEINSTEIN,                      DOES           1-10         are    vicariously           responsible           for     the     acts         of



         Harvey             Weinstein          as alleged         herein        as they         ratified       and         condoned            same,       as aforesaid.




                                                                                                56 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                                             INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 57 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         273.            That         as a result                  of      the      subject                incidents,                 Plaintiff          has         sustained             injury,              emotional                pain          and



         suffering,             physical             pain,              emotional                    distress,             pain         and       suffering             and         loss      of        enjoyment                  of     life,        and


         claims          compensatory                         and         punitive                 damages                 herein.


         274.            That          this        action               falls           within             one        or     more           of     the       exceptions                    set      forth           in      CPLR             §1602,


         specifically:                 (5)       (due         to    Defendant's                         intentional                    conduct),             (7)       (as     Defendants                       acted          with       reckless



         disregard),                 (8)         Article                Ten             of       the        Labor               Law,          (11)           (as       Defendant's                        acted             knowingly                     or



         intentionally,                    and      in concert).


         275.            That         this       action            falls        within               one      or more             of the          exceptions                  set forth            in CPLR                  §1601,           as with


         due      diligence,                 Plaintiff              is unable                   to     obtain             jurisdiction                  over         any       such         person              that        may         have           any


         fault      in        this         matter          aside                from            Defendants                      herein,            and         in      that         Defendants                    were             vicariously


         responsible                 for      any       possible                 additional                   parties           with        liability           herein.


         276.            The         amount              of        damages                    sought             herein          exceeds             the       jurisdictional                     limits         of      all     other          courts


         which        would             otherwise                  have           jurisdiction.


                                                 AS AND                    FOR AN EIGHTH                                          CAUSE                 OF         ACTION                   FOR:
                                     VIOLATION                             OF           NEW YORK                             STATE                HUMAN                     RIGHTS                      LAWS


         277.            Plaintiff             restates              and          incorporates                       herein            by    reference                the     preceding                   paragraphs                    as if     fully


         set forth            herein.


         278.            The         Human              Rights             Law               (Executive                   Law         § 290       et seq.) .) declares                     that         it "shall           be an unlawful



         discriminatory                      practice               ...         [f]or         an       employer                 ...      because             of      the      ...     sex         ...      of    any           individual,                to


         refuse          to     hire          or    employ                  or          to     bar         or       to     discharge                 from            employment                         such          individual                  or      to


         discriminate                   against               such          individual                      in      compensation                        or      in     terms,          conditions                      or      privileges                of


         employment"
                                           (Executive                    Law            § 296           [1]        [a])


         279.            That         Plaintiff            was             an employee                        of     Defendants.


         280.            That         Plaintiff               is a female.




                                                                                                                           57 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 58 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         281.          That      Harvey          Weinstein                physically,                  sexually,             verbally             and      mentally             abused           and   harassed


         plaintiff      as described               at length             above.


         282.          That     the     aforesaid             conduct               was      unwanted              by     plaintiff.


         283.          That     plaintiff         was         subjected               to the          conduct        complained                     of herein             because         she    is a female.


         284.          That     the     conduct           was          so severe             or widespread                   or persistent                 that        a reasonable            woman       would


         consider        the    work          environment                 to be hostile.


         285.          That      plaintiff            actually          considered                 that      she     was           subjected              to     the     conduct         because         she     is a


         female.


         286.          That     defendants               knew           or,       in the      exercise           of reasonable                     care,         should        have      known         about      the


         conduct        and      either        accepted            or approved                  it.


         287.          That      at the        time      of      the     conduct             complained                 of     herein         as aforesaid,                    Harvey       Weinstein            was


         a high-level           managerial               employee.


         288.          That     plaintiff         was         harmed               because            of   the   aforesaid                conduct.


         289.          That      defendant's               conduct                 included            intimidation,                   ridicule          or      insults,        and     was     so    severe      or


         widespread             or      persistent               that         a     reasonable              woman                 in     plaintiff's               circumstances                 would          have


         considered            the    work       environment                       to be hostile.


         290.          That     Harvey           Weinstein's                      derelict      behavior            was           frequent,             highly         persistent,         and    widespread


         and     was    severely             offensive            in nature.


         291.          That      said       behavior             and     conduct             had        an effect            on     Plaintiff's               well-being.


         292.          That     the     conduct           was          humiliating               or physically                    threatening                  to plaintiff.


         293.          That     the     conduct           unreasonably                       interfered            with       plaintiff's               work           performance.


         294.          Harvey           Weinstein's                 conduct               was         committed               within              the     scope           of    his     employment              with


         Defendants             DIRK           ZIFF,          TIM         SARNOFF,                         MARC           LASRY,                   TARAK                 BEN          AMMAR,             LANCE




                                                                                                        58 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                 INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 59 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         MAEROV,                    RICHARD                 KOENIGSBERG,                            JAMES                 L.      DOLAN,                 JEFF         SACKMAN,                         THE


         WEINSTEIN                     COMPANY               HOLDINGS,                     LLC,         THE        WEINSTEIN                     COMPANY,                     LLC,      HARVEY


         WEINSTEIN                     and    ROBERT            WEINSTEIN,                      DOES          1-10,        who         are   vicariously             liable      for    same.


         295.           As      described        at length          above,        Harvey          Weinstein's                  conduct        as alleged        herein          was     committed


         in     the     scope       and      furtherance            of    his     employment                for     Defendants                 DIRK         ZIFF,         TIM          SARNOFF,


         MARC               LASRY,            TARAK           BEN          AMMAR,                 LANCE                 MAEROV,                 RICHARD                 KOENIGSBERG,


         JAMES              L. DOLAN,                JEFF    SACKMAN,                  THE         WEINSTEIN                      COMPANY                  HOLDINGS,                    LLC,          THE


         WEINSTEIN                                                         HARVEY                 WEINSTEIN                      and      ROBERT                                             DOES              1-
                                       COMPANY,               LLC,                                                                                          WEINSTEIN,


          10.


         296.5/~            Harvey    'a'aV~ VVkkk V misconduct
                             4le TO'J Weinstein's    kkkkVVVkk%kW V W  alleged  herein
                                                                    as 'WXVga)V%k
                                                                                kkVkVX'                                           was
                                                                                                                                  TTbtV previously              khkkV     VV ~
                                                                                                                                                                knownTVkk to Defendants
                                                                                                                                                                               VXVkk%k%%EkVV


         DIRK           ZIFF,        TIM       SARNOFF,                  MARC          LASRY,              TARAK                  BEN         AMMAR,              LANCE                MAEROV,


         RICHARD                  KOENIGSBERG,                           JAMES             L.      DOLAN,                  JEFF           SACKMAN,                    THE            WEINSTEIN


         COMPANY                    HOLDINGS,                LLC,         THE       WEINSTEIN                      COMPANY,                     LLC,       HARVEY                    WEINSTEIN


         and      ROBERT                 WEINSTEIN,                 DOES           1-10,        which       facilitated             his      unlawful,          abusive          and         predatory


         sexual         misconduct              by,     among        other        things         using      THE            WEINSTEIN                     COMPANY                     HOLDINGS,


         LLC          and     THE        WEINSTEIN              COMPANY,                    LLC          employees               to lure      victims        to private          meetings,               and



         allowing             Harvey         Weinstein        to conduct             business            in his         hotel     room        or other       places           paid     for     by     THE


         WEINSTEIN                     COMPANY                HOLDINGS,                    LLC       and      THE           WEINSTEIN                    COMPANY,                     LLC,          failing


         to     discipline          or    remove         Harvey          Weinstein              despite       prior         knowledge              of     recurring            such     actions               by


         Harvey             Weinstein,         all    the   while        taking      steps        to hide         his     misconduct              and      silence       victims.


         297.           That        DIRK        ZIFF,       TIM          SARNOFF,                 MARC             LASRY,                TARAK            BEN         AMMAR,                  LANCE


         MAEROV,                    RICHARD                 KOENIGSBERG,                            JAMES                 L.      DOLAN,                 JEFF         SACKMAN,                         THE


         WEINSTEIN                     COMPANY               HOLDINGS,                     LLC,         THE        WEINSTEIN                     COMPANY,                     LLC,      HARVEY




                                                                                                59 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 60 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         WEINSTEIN                          and        ROBERT                     WEINSTEIN,                        DOES            1-10         are     vicariously               responsible                 for        the     acts       of



         Harvey          Weinstein                      as alleged                herein           as they          ratified         and        condoned                same,       as aforesaid.


         298.            That          as a result                  of      the     subject           incidents,             Plaintiff            has         sustained          injury,          emotional                 pain         and



         suffering,             physical                pain,            emotional                distress,          pain       and       suffering              and      loss      of     enjoyment                  of     life,       and


         claims          compensatory                          and        punitive             damages              herein.


         299.            That             this      action               falls      within            one      or      more          of     the        exceptions                set     forth          in    CPLR               §1602,


         specifically:                 (5)        (due         to    Defendant's                    intentional                conduct),               (7)      (as     Defendants                acted            with         reckless



         disregard),                  (8)         Article                Ten         of      the       Labor            Law,             (11)         (as       Defendant's                     acted         knowingly                      or



         intentionally,                     and        in concert).


         300.            That         this        action            falls        within        one      or more             of the        exceptions                   set forth         in CPLR              §1601,             as with


         due      diligence,                 Plaintiff               is unable               to    obtain          jurisdiction                  over         any       such     person           that        may          have          any


         fault      in        this          matter          aside                from       Defendants                   herein,            and          in     that      Defendants                    were          vicariously


         responsible                  for        any     possible                 additional            parties         with         liability           herein.


         301.            The          amount              of        damages                sought        herein          exceeds                the     jurisdictional                 limits       of       all     other         courts


         which        would                otherwise                have          jurisdiction.


                                                       AS AND                    FOR A NINTH                           CAUSE               OF          ACTION                  FOR:
                                            VIOLATION                              OF       NEW YORK                           CITY         HUMAN                      RIGHTS                LAWS


         302.            Plaintiff               restates             and         incorporates                herein           by    reference                 the     preceding             paragraphs                    as if     fully


         set forth         herein.


         303.            Plaintiff                was          treated              less       well         than        other         employees                      because           she       was          a     female,              and


         subjected             to the            conduct                 described             above.


         304.            At          the         time          of        the       subject            occurrences                   and          acts,         Harvey            Weinstein                   was          exercising


         managerial                  or      supervisory                    responsibilities                   over         plaintiff.


         305.            DIRK                ZIFF,              TIM               SARNOFF,                    MARC                  LASRY,                    TARAK              BEN             AMMAR,                      LANCE




                                                                                                                    60 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 61 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         MAEROV,                  RICHARD                    KOENIGSBERG,                            JAMES                L.    DOLAN,               JEFF          SACKMAN,                       THE


         WEINSTEIN                     COMPANY                      HOLDINGS,                   LLC,            THE            WEINSTEIN                 COMPANY,                       LLC        and


         ROBERT             WEINSTEIN                       knew      of   Harvey            Weinstein's              conduct           and     either        accepted          it or    failed      to


         take   immediate               and      appropriate           corrective             action.


         306.        DIRK              ZIFF,        TIM            SARNOFF,                  MARC               LASRY,            TARAK              BEN          AMMAR,                 LANCE


         MAEROV,                  RICHARD                    KOENIGSBERG,                            JAMES                L.    DOLAN,               JEFF          SACKMAN,                       THE


         WEINSTEIN                     COMPANY                      HOLDINGS,                   LLC,            THE            WEINSTEIN                 COMPANY,                       LLC        and


         ROBERT              WEINSTEIN                        are      considered               to       have        had         knowledge               of      Harvey           Weinstein's



         discriminatory                conduct          since       an employee               with        supervisory            or managerial                 responsibility            knew       of


         it.


         307.        In the       exercise          ofreasonable                 care,       DIRK        ZIFF,       TIM        SARNOFF,              MARC            LASRY,             TARAK


         BEN       AMMAR,                 LANCE              MAEROV,                   RICHARD                  KOENIGSBERG,                         JAMES           L.    DOLAN,             JEFF



          SACKMAN,                     THE          WEINSTEIN                         COMPANY                      HOLDINGS,                     LLC,             THE           WEINSTEIN


         COMPANY,                   LLC          and        ROBERT               WEINSTEIN                       should         have         known        of      Harvey          Weinstein's


         conduct       and       failed        to exercise           reasonable              diligence           to prevent         such       conduct.


         308.        Plaintiff            was      an       employee             of    HARVEY                   WEINSTEIN,                   DIRK         ZIFF,        TIM        SARNOFF,


         MARC         LASRY,                 TARAK              BEN        AMMAR,                 LANCE              MAEROV,                  RICHARD                KOENIGSBERG,


         JAMES        L. DOLAN,                   JEFF        SACKMAN,                   THE         WEINSTEIN                   COMPANY                 HOLDINGS,                    LLC,    THE


         WEINSTEIN                 COMPANY,                     LLC        and        ROBERT             WEINSTEIN.


         309.        That        Plaintiff        was        known         to defendants                to be      a woman.


         310.         That         as     described             above,           plaintiff          was         subjected          to    abuse        and         sexual        and      physical


         harassment              and      harm         by    Harvey          Weinstein,               and       vicariously             by     defendants            DIRK         ZIFF,           TIM


          SARNOFF,                MARC              LASRY,                 TARAK                BEN             AMMAR,                  LANCE            MAEROV,                   RICHARD




                                                                                                           1-



                                                                                                61 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                   INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 62 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         KOENIGSBERG,                           JAMES               L.     DOLAN,               JEFF         SACKMAN,                         THE       WEINSTEIN                       COMPANY


         HOLDINGS,                  LLC,            THE        WEINSTEIN                    COMPANY,                 LLC          and    ROBERT             WEINSTEIN.


                                  Defendants'
         311.            That                                  conduct        was      unwanted.


         312.            That     Plaintiff           was      subjected           to the      aforesaid           conduct          because         she     was        a woman.


         313.            That     as a result              of the      aforesaid        conduct,           a reasonable                 woman       would         consider              that   she    was



         being         treated      less      well      than       other      employees             under      all     of the       circumstances.


         314.            That     plaintiff           actually         considered            that    she was          being        treated       less    well     than          other     employees


         because          she     was      a woman.


         315.            That      Harvey              Weinstein              was       exercising            managerial                 or     supervisory              responsibilities                   at


         plaintiff's         workplace.


         316.            That     DIRK              ZIFF,        TIM       SARNOFF,                 MARC             LASRY,              TARAK            BEN          AMMAR,                  LANCE


         MAEROV,                   RICHARD                     KOENIGSBERG,                           JAMES                 L.     DOLAN,               JEFF           SACKMAN,                      THE


         WEINSTEIN                      COMPANY                      HOLDINGS,                      LLC,       THE               WEINSTEIN                 COMPANY,                        LLC        and


         ROBERT                 WEINSTEIN                    knew        of   Harvey          Weinstein's              aforesaid              conduct       and        either       accepted          it or


         failed        to take      immediate                and     appropriate             corrective            action.


         317.            In the     exercise           ofreasonable                 care,    DIRK          ZIFF,       TIM        SARNOFF,                MARC            LASRY,               TARAK


         BEN           AMMAR,              LANCE                 MAEROV,                RICHARD                KOENIGSBERG,                             JAMES            L.      DOLAN,              JEFF



          SACKMAN,                      THE             WEINSTEIN                      COMPANY                       HOLDINGS,                      LLC,          THE               WEINSTEIN


         COMPANY,                    LLC             and       ROBERT               WEINSTEIN                      should         have         known        of     Harvey               Weinstein's


         aforsaid         conduct             and     failed       to exercise          reasonable            diligence            to prevent           such      conduct.


         318.            Harvey         Weinstein's                 conduct           was      committed               within           the    scope       of    his      employment                 with


         Defendants               DIRK          ZIFF,          TIM         SARNOFF,                 MARC            LASRY,               TARAK            BEN          AMMAR,                  LANCE


         MAEROV,                   RICHARD                     KOENIGSBERG,                           JAMES                 L.     DOLAN,               JEFF           SACKMAN,                      THE




                                                                                                    62 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                  INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 63 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         WEINSTEIN                     COMPANY               HOLDINGS,                     LLC,         THE        WEINSTEIN                     COMPANY,                      LLC,      HARVEY


         WEINSTEIN                     and    ROBERT            WEINSTEIN,                      DOES          1-10,        who         are    vicariously             liable      for    same.


         319.           As      described        at length          above,        Harvey          Weinstein's                  conduct         as alleged        herein          was     committed


         in     the     scope        and     furtherance            of    his     employment                for     Defendants                  DIRK         ZIFF,         TIM          SARNOFF,


         MARC               LASRY,            TARAK           BEN          AMMAR,                 LANCE                 MAEROV,                  RICHARD                 KOENIGSBERG,


         JAMES              L. DOLAN,                JEFF    SACKMAN,                  THE         WEINSTEIN                      COMPANY                   HOLDINGS,                    LLC,        THE


         WEINSTEIN                                                         HARVEY                 WEINSTEIN                      and      ROBERT                                              DOES           1-
                                       COMPANY,               LLC,                                                                                           WEINSTEIN,


          10.


         320.               Harvey         Weinstein's            misconduct               as alleged             herein          was        previously          known            to    Defendants


         DIRK           ZIFF,        TIM       SARNOFF,                  MARC          LASRY,              TARAK                  BEN         AMMAR,               LANCE                MAEROV,


         RICHARD                  KOENIGSBERG,                           JAMES             L.      DOLAN,                  JEFF           SACKMAN,                     THE            WEINSTEIN


         COMPANY                     HOLDINGS,               LLC,         THE       WEINSTEIN                      COMPANY,                     LLC,        HARVEY                    WEINSTEIN


         and      ROBERT                  WEINSTEIN,                DOES           1-10,        which       facilitated             his      unlawful,           abusive          and         predatory


         sexual         misconduct              by,     among        other        things         using      THE            WEINSTEIN                     COMPANY                      HOLDINGS,


         LLC          and     THE         WEINSTEIN             COMPANY,                    LLC          employees               to lure       victims        to private          meetings,            and



         allowing             Harvey         Weinstein        to conduct             business            in his         hotel     room         or other       places           paid     for     by   THE


         WEINSTEIN                     COMPANY                HOLDINGS,                    LLC       and      THE          WEINSTEIN                      COMPANY,                     LLC,       failing


         to     discipline           or    remove        Harvey          Weinstein              despite       prior         knowledge               of     recurring            such     actions            by


         Harvey             Weinstein,         all    the   while        taking      steps        to hide         his     misconduct              and       silence       victims.


         321.           That         DIRK       ZIFF,       TIM          SARNOFF,                 MARC             LASRY,                TARAK             BEN         AMMAR,                  LANCE


         MAEROV,                     RICHARD                KOENIGSBERG,                            JAMES                 L.      DOLAN,                  JEFF         SACKMAN,                      THE


         WEINSTEIN                     COMPANY               HOLDINGS,                     LLC,         THE        WEINSTEIN                     COMPANY,                      LLC,      HARVEY




                                                                                                63 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                                 INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 64 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         WEINSTEIN                         and     ROBERT                       WEINSTEIN,                         DOES            1-10        are     vicariously                 responsible                   for       the     acts        of



         Harvey          Weinstein                  as alleged                  herein           as they           ratified        and       condoned                 same,          as aforesaid.


         322.            That        as a result                  of      the     subject            incidents,            Plaintiff            has         sustained             injury,          emotional                  pain        and



         suffering,            physical             pain,              emotional               distress,            pain       and       suffering             and         loss     of      enjoyment                   of     life,      and


         claims          compensatory                        and        punitive             damages               herein.


         323.            That         this        action               falls      within             one      or      more         of     the        exceptions                   set     forth          in      CPLR             §1602,


         specifically:                (5)      (due          to    Defendant's                    intentional                 conduct),               (7)     (as     Defendants                   acted            with         reckless



         disregard),                 (8)       Article                 Ten         of      the        Labor            Law,          (11)          (as        Defendant's                        acted           knowingly                     or



         intentionally,                 and        in concert).


         324.            That        this        action           falls        within          one      or more            of the        exceptions                  set forth           in CPLR                 §1601,           as with


         due      diligence,                Plaintiff              is unable              to     obtain          jurisdiction                  over         any      such         person            that         may         have         any


         fault      in     this         matter            aside                from       Defendants                    herein,           and         in      that         Defendants                    were           vicariously


         responsible              for        any      possible                  additional             parties         with        liability           herein.


         325.            The      amount                of        damages                sought         herein          exceeds              the      jurisdictional                    limits       of       all      other       courts


         which        would            otherwise                  have          jurisdiction.


                                                   AS AND                      FOR A TENTH                            CAUSE               OF         ACTION                  FOR:
                                                                                QUID           PRO QUO                     HARASSMENT


         326.            Plaintiff            restates              and         incorporates               herein             by   reference                 the     preceding               paragraphs                      as if     fully


         set forth         herein.


         327.            Harvey              Weinstein                     committed                    unwelcome                    sexual            conduct,              including                   sexual              advances,


         requests          for       sexual          favors,               or other            verbal       or physical                  conduct              of     a sexual            nature          against             Plaintiff.


         328.            That         said         actions                were          performed              explicitly               or     implicitly,                 as the           basis          for       employment


         decisions           affecting               compensation,                         terms,          conditions,                  or privileges                 of    Plaintiff.




                                                                                                                   64 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                               INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 65 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         329.           That      Defendants             DIRK       ZIFF,     TIM        SARNOFF,                  MARC             LASRY,             TARAK                  BEN       AMMAR,

         LANCE               MAEROV,             RICHARD                KOENIGSBERG,                       JAMES             L.     DOLAN,              JEFF          SACKMAN,                  THE


         WEINSTEIN                    COMPANY                    HOLDINGS,               LLC         and       THE        WEINSTEIN                          COMPANY,                    LLC       and


         ROBERT                 WEINSTEIN                  and      HARVEY              WEINSTEIN                      expressly            or      tacitly          linked          tangible      job


         benefits           to the    acceptance           or rejection         of     sexual        advances.


         330.           Harvey         Weinstein's               conduct       was       committed              within            the     scope         of     his     employment               with


         Defendants               DIRK         ZIFF,       TIM         SARNOFF,              MARC             LASRY,               TARAK               BEN           AMMAR,                LANCE


         MAEROV,                     RICHARD               KOENIGSBERG,                         JAMES              L.        DOLAN,                 JEFF             SACKMAN,                   THE


         WEINSTEIN                    COMPANY                HOLDINGS,                 LLC,         THE       WEINSTEIN                     COMPANY,                       LLC,         HARVEY


         WEINSTEIN                    and     ROBERT             WEINSTEIN,                 DOES           1-10,       who        are    vicariously             liable        for     same.


         331.           As      described        at length        above,      Harvey          Weinstein's               conduct          as alleged            herein         was      committed


         in     the     scope        and     furtherance          of    his   employment                for     Defendants                 DIRK          ZIFF,          TIM           SARNOFF,


         MARC               LASRY,           TARAK           BEN         AMMAR,               LANCE              MAEROV,                    RICHARD                    KOENIGSBERG,


         JAMES              L. DOLAN,            JEFF       SACKMAN,                 THE        WEINSTEIN                    COMPANY                    HOLDINGS,                      LLC,     THE


         WEINSTEIN                                                       HARVEY               WEINSTEIN                   and       ROBERT                                                DOES         1-
                                      COMPANY,               LLC,                                                                                        WEINSTEIN,


          10.


         332.               Harvey         Weinstein's           misconduct            as alleged             herein         was        previously             known           to     Defendants


         DIRK           ZIFF,        TIM       SARNOFF,                MARC          LASRY,            TARAK                 BEN         AMMAR,                  LANCE                MAEROV,


         RICHARD                  KOENIGSBERG,                         JAMES           L.      DOLAN,              JEFF             SACKMAN,                         THE       WEINSTEIN


         COMPANY                     HOLDINGS,               LLC,       THE     WEINSTEIN                     COMPANY,                     LLC,         HARVEY                 WEINSTEIN


         and      ROBERT               WEINSTEIN,                 DOES         1-10,        which       facilitated           his       unlawful,              abusive         and       predatory


         sexual         misconduct             by,     among        other     things         using      THE        WEINSTEIN                        COMPANY                     HOLDINGS,


         LLC          and    THE      WEINSTEIN                  COMPANY,               LLC          employees            to lure         victims            to private        meetings,           and




                                                                                            65 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                           INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 66 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         allowing           Harvey              Weinstein                    to conduct              business               in his       hotel       room           or other         places          paid        for        by    THE


         WEINSTEIN                       COMPANY                          HOLDINGS,                      LLC          and       THE            WEINSTEIN                     COMPANY,                           LLC,          failing


         to    discipline            or     remove               Harvey               Weinstein                despite          prior          knowledge                of     recurring                 such         actions           by


         Harvey          Weinstein,                all      the         while         taking         steps        to hide          his      misconduct                 and      silence         victims.


         333.            That       DIRK              ZIFF,             TIM           SARNOFF,                    MARC               LASRY,                 TARAK              BEN           AMMAR,                      LANCE


         MAEROV,                    RICHARD                             KOENIGSBERG,                                 JAMES                  L.       DOLAN,                  JEFF            SACKMAN,                              THE


         WEINSTEIN                       COMPANY                         HOLDINGS,                       LLC,            THE         WEINSTEIN                        COMPANY,                       LLC,             HARVEY


         WEINSTEIN                       and      ROBERT                      WEINSTEIN,                         DOES           1-10         are     vicariously               responsible                 for        the     acts        of



         Harvey          Weinstein                as alleged                  herein           as they           ratified       and         condoned                same,       as aforesaid.


         334.            That       as a result                 of      the     subject            incidents,            Plaintiff             has        sustained          injury,          emotional                  pain        and



         suffering,            physical            pain,             emotional               distress,            pain       and      suffering              and      loss      of     enjoyment                  of     life,       and


         claims          compensatory                      and        punitive             damages               herein.


         335.            That       this         action              falls      within             one      or      more        of       the       exceptions                set     forth          in     CPLR               §1602,


         specifically:              (5)        (due        to    Defendant's                    intentional                 conduct),              (7)      (as     Defendants                acted            with         reckless



         disregard),               (8)         Article               Ten         of      the        Labor            Law,            (11)         (as       Defendant's                     acted         knowingly                       or



         intentionally,                  and      in concert).


         336.            That      this        action           falls        within          one     or more             of the       exceptions                   set forth         in CPLR              §1601,             as with


         due      diligence,              Plaintiff              is unable              to     obtain          jurisdiction                 over          any      such      person           that        may          have          any


         fault      in      this         matter          aside               from       Defendants                    herein,            and         in     that      Defendants                    were          vicariously


         responsible               for     any        possible                additional             parties         with       liability            herein.


         337.            The       amount             of        damages               sought          herein          exceeds               the    jurisdictional                  limits       of       all     other           courts


         which        would          otherwise                  have          jurisdiction.


                                          AS AND                  FOR AN ELEVENTH                                            CAUSE                OF       ACTION                  FOR:
                                                                         HOSTILE                    WORK                 ENVIRONMENT




                                                                                                                 66 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 67 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         338.          Plaintiff             restates     and         incorporates            herein         by      reference              the    preceding               paragraphs               as if   fully


         set forth          herein.


         339.          That         Harvey           Weinstein's                 conduct         had      the        purpose           or    effect         of        unreasonably               interfering


         with       Plaintiff's              work       performance                  or     creating            an     intimidating,                  hostile,           or     offensive            working


         environment.


         340.          That        Plaintiff's          workplace                was       permeated              with         discriminatory                    intimidation,               ridicule,         and


         insult      that     was       sufficiently          severe          or pervasive              to alter         the    conditions                of the       plaintiff's           employment.


         341.          That           said      conduct          of        Harvey          Weinstein              was          known          to      defendants                DIRK           ZIFF,        TIM


          SARNOFF,                    MARC              LASRY,                TARAK               BEN             AMMAR,                     LANCE                    MAEROV,                   RICHARD


         KOENIGSBERG,                            JAMES                L.    DOLAN,               JEFF           SACKMAN,                          THE       WEINSTEIN                         COMPANY


         HOLDINGS,                     LLC        and     THE          WEINSTEIN                  COMPANY,                       LLC          and       ROBERT                 WEINSTEIN,                   who


         failed      to do        anything           about       same.


         342.          That        Harvey           Weinstein,              as plaintiff's             supervisor,              used        his    actual         or apparent                authority         to


         engage           in the      harassment             complained                of herein.


         343.          That        Defendants             DIRK             ZIFF,       TIM       SARNOFF,                      MARC           LASRY,                  TARAK             BEN


         AMMAR,                LANCE                MAEROV,                 RICHARD               KOENIGSBERG,                               JAMES               L.    DOLAN,                JEFF



          SACKMAN,                    THE        WEINSTEIN                    COMPANY                   HOLDINGS,                        LLC        THE          WEINSTEIN


         COMPANY,                     LLC        and    ROBERT                WEINSTEIN                      aided         in creating             a hostile            work         environment            by


         their      agency         relationship              to Harvey              Weinstein            as described               herein.


         344.          That        Harvey           Weinstein              was      able     to commit               the    wrongful               acts     described                above      because          of


         the      power       of he wielded               as granted                to him       by    his    position            with       Defendants                  DIRK          ZIFF,        TIM


          SARNOFF,                 MARC             LASRY,             TARAK               BEN        AMMAR,                   LANCE              MAEROV,                     RICHARD




                                                                                                  67 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                            INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 68 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         KOENIGSBERG,                          JAMES         L.    DOLAN,           JEFF         SACKMAN,                     THE       WEINSTEIN                   COMPANY


         HOLDINGS,                    LLC,      THE        WEINSTEIN               COMPANY,                     LLC        and       ROBERT            WEINSTEIN.


         345.           Harvey          Weinstein's               conduct       was      committed               within          the     scope        of     his    employment                 with


         Defendants               DIRK         ZIFF,       TIM          SARNOFF,              MARC             LASRY,               TARAK            BEN           AMMAR,                LANCE


         MAEROV,                     RICHARD               KOENIGSBERG,                          JAMES              L.        DOLAN,                JEFF           SACKMAN,                    THE


         WEINSTEIN                    COMPANY                HOLDINGS,                  LLC,         THE       WEINSTEIN                   COMPANY,                      LLC,      HARVEY


         WEINSTEIN                    and     ROBERT              WEINSTEIN,                 DOES          1-10,        who      are    vicariously            liable       for    same.


         346.           As      described        at length         above,      Harvey          Weinstein's               conduct        as alleged           herein        was     committed


         in     the     scope        and     furtherance           of    his   employment                for     Defendants               DIRK         ZIFF,          TIM         SARNOFF,


         MARC               LASRY,            TARAK          BEN          AMMAR,               LANCE              MAEROV,                  RICHARD                  KOENIGSBERG,


         JAMES              L. DOLAN,             JEFF      SACKMAN,                  THE       WEINSTEIN                     COMPANY                 HOLDINGS,                    LLC,        THE


         WEINSTEIN                                                        HARVEY               WEINSTEIN                   and       ROBERT                                             DOES          1-
                                      COMPANY,               LLC,                                                                                      WEINSTEIN,


          10.


         347.               Harvey         Weinstein's            misconduct            as alleged             herein         was      previously            known          to    Defendants


         DIRK           ZIFF,        TIM       SARNOFF,                 MARC          LASRY,            TARAK                 BEN       AMMAR,                 LANCE              MAEROV,


         RICHARD                  KOENIGSBERG,                          JAMES           L.      DOLAN,              JEFF             SACKMAN,                      THE          WEINSTEIN


         COMPANY                     HOLDINGS,               LLC,        THE     WEINSTEIN                     COMPANY,                   LLC,        HARVEY                    WEINSTEIN


         and      ROBERT               WEINSTEIN,                  DOES         1-10,        which       facilitated           his     unlawful,             abusive        and         predatory


         sexual         misconduct              by,    among         other     things         using      THE        WEINSTEIN                      COMPANY                      HOLDINGS,


         LLC          and    THE      WEINSTEIN                   COMPANY,               LLC          employees            to lure       victims           to private       meetings,            and



         allowing            Harvey          Weinstein        to conduct           business           in his     hotel        room       or other          places        paid     for     by   THE


         WEINSTEIN                    COMPANY                HOLDINGS,                  LLC       and      THE          WEINSTEIN                   COMPANY,                     LLC,       failing




                                                                                             68 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                             INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 69 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         to    discipline             or      remove               Harvey               Weinstein                despite           prior         knowledge                of     recurring                 such         actions          by


         Harvey          Weinstein,                  all      the         while         taking         steps        to hide          his    misconduct                   and      silence         victims.


         348.            That         DIRK              ZIFF,             TIM           SARNOFF,                    MARC                LASRY,                TARAK              BEN           AMMAR,                      LANCE


         MAEROV,                      RICHARD                             KOENIGSBERG,                                 JAMES                L.         DOLAN,                  JEFF            SACKMAN,                               THE


         WEINSTEIN                         COMPANY                         HOLDINGS,                       LLC,            THE          WEINSTEIN                       COMPANY,                       LLC,             HARVEY


         WEINSTEIN                         and     ROBERT                       WEINSTEIN,                         DOES            1-10        are     vicariously               responsible                 for        the      acts         of



         Harvey          Weinstein                  as alleged                  herein           as they           ratified        and      condoned                  same,       as aforesaid.


         349.            That        as a result                  of      the     subject            incidents,            Plaintiff             has        sustained          injury,          emotional                 pain          and



         suffering,            physical             pain,              emotional               distress,            pain       and       suffering             and      loss      of     enjoyment                  of        life,     and


         claims          compensatory                        and        punitive             damages               herein.


         350.            That         this        action               falls      within             one      or      more         of      the       exceptions                set     forth          in     CPLR                §1602,


         specifically:                (5)      (due          to    Defendant's                    intentional                 conduct),              (7)      (as     Defendants                acted            with         reckless



         disregard),                 (8)       Article                 Ten         of      the        Labor            Law,          (11)         (as         Defendant's                     acted         knowingly                         or



         intentionally,                  and       in concert).


         351.            That        this        action           falls        within          one     or more             of the        exceptions                  set forth         in CPLR              §1601,              as with


         due      diligence,                Plaintiff              is unable              to     obtain          jurisdiction                  over         any      such      person           that        may          have           any


         fault      in      this         matter            aside               from       Defendants                    herein,            and         in     that      Defendants                    were          vicariously


         responsible               for       any      possible                  additional             parties         with        liability           herein.


         352.            The       amount               of        damages               sought          herein          exceeds             the       jurisdictional                 limits       of       all     other          courts


         which        would            otherwise                  have          jurisdiction.


                                              AS AND                      FOR A TWELFTH                                    CAUSE                 OF         ACTION               FOR:
                                                                                                  RATIFICATION


         353.            Plaintiff            restates              and         incorporates               herein             by   reference                 the     preceding            paragraphs                     as if        fully


         set forth          herein.




                                                                                                                   69 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                             INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 70 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         354.         The       actions            of    Harvey                Weinstein           complained                    of     herein          were        performed             by        a "superior


         officer"
                       of     defendants                in    the       course         of   his     employment,                       and        are    therefore         considered                acts     of    the


         employer           itself      for    which             it is additionally                held        liable.


         355.         Defendant                DIRK              ZIFF,           TIM        SARNOFF,                      MARC               LASRY,               TARAK                BEN           AMMAR,

         LANCE          MAEROV,                    RICHARD                      KOENIGSBERG,                              JAMES             L.     DOLAN,               JEFF      SACKMAN,                    THE


         WEINSTEIN                     COMPANY                          HOLDINGS,                       LLC,          THE              WEINSTEIN                        COMPANY,                     LLC           and


         ROBERT              WEINSTEIN                       ratified           Harvey        Weinstein's                  wrongful               conduct           complained               of herein.


         356.         That           there     was           a    principal-agent                   relationship                  between                defendants               DIRK          ZIFF,             TIM


          SARNOFF,                   MARC               LASRY,                   TARAK               BEN             AMMAR,                       LANCE                 MAEROV,                     RICHARD


         KOENIGSBERG,                          JAMES                 L.        DOLAN,              JEFF           SACKMAN,                             THE      WEINSTEIN                      COMPANY


         HOLDINGS,                     LLC,         THE            WEINSTEIN                       COMPANY,                           LLC         and        ROBERT               WEINSTEIN                        and



         Harvey       Weinstein.


         357.         That         DIRK         ZIFF,            TIM           SARNOFF,                 MARC               LASRY,                 TARAK             BEN          AMMAR,                LANCE


         MAEROV,                     RICHARD                     KOENIGSBERG,                             JAMES                  L.      DOLAN,                  JEFF            SACKMAN,                     THE


         WEINSTEIN                     COMPANY                          HOLDINGS,                       LLC,          THE              WEINSTEIN                        COMPANY,                     LLC           and


         ROBERT              WEINSTEIN                       had        full     knowledge              of     the    material              facts       concerning               Harvey        Weinstein's


         prior      misconduct                which           would             put    them        on     actual           or    constructive                  notice       of     the    propensity               for



         Harvey        Weinstein              to    commit               the     wrongs           complained                of    herein            against       plaintiff,           and     of    those        acts


         committed            by      Harvey            Weinstein                to Plaintiff           complained                    of herein.


         358.         That         there      was        acceptance                   by    DIRK          ZIFF,           TIM          SARNOFF,                  MARC              LASRY,              TARAK


         BEN        AMMAR,                   LANCE               MAEROV,                    RICHARD                   KOENIGSBERG,                              JAMES             L.     DOLAN,              JEFF



          SACKMAN,                      THE             WEINSTEIN                           COMPANY                        HOLDINGS,                           LLC,            THE           WEINSTEIN


         COMPANY,                     LLC       and          ROBERT                   WEINSTEIN                      of    Harvey                Weinstein's              acts     as     complained                of




                                                                                                    70 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                    INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 71 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         herein,        and      those       that    preceded           same      which      would             put     said     defendants                 on    notice        of    the    pronesity


         for    said     acts     to occur.


         359.           Defendants              DIRK          ZIFF,        TIM         SARNOFF,                  MARC                LASRY,                TARAK              BEN          AMMAR,

         LANCE            MAEROV,                   RICHARD              KOENIGSBERG,                          JAMES            L.     DOLAN,                  JEFF       SACKMAN,                   THE


         WEINSTEIN                     COMPANY                     HOLDINGS,                 LLC,              THE          WEINSTEIN                          COMPANY,                    LLC           and


         ROBERT                WEINSTEIN                  intended         to ratify       the        wrongful             actions       of    Harvey            Weinstein              complained


         of herein.


         360.           The      underlying             tortious        conduct        was       done         or professedly                done          on    Defendant              DIRK         ZIFF,


         TIM        SARNOFF,                    MARC          LASRY,              TARAK               BEN        AMMAR,                  LANCE                  MAEROV,                 RICHARD


         KOENIGSBERG,                           JAMES              L.   DOLAN,             JEFF           SACKMAN,                      THE              WEINSTEIN                     COMPANY


         HOLDINGS,                    LLC,      THE        WEINSTEIN                 COMPANY,                        LLC      and      ROBERT                  WEINSTEIN's                    account.


         361.           Harvey           Weinstein            committed              unwelcome                   sexual         conduct,                 including            sexual       advances,


         requests         for     sexual        favors,       and       other     verbal         or     physical            conduct           of        a sexual       nature          explicitly           or



         implicitly,            as the       basis      for    employment               decisions              affecting             compensation,                   terms,         conditions,             or


         privileges            of plaintiff's           employment.


         362.           That      plaintiff's           workplace           was      permeated                with     discriminatory                      intimidation,              ridicule,          and



         insult,       that     was      sufficiently          severe       or pervasive               to alter       the     conditions                 of Plaintiff's             employment.


         363.           Defendants               DIRK         ZIFF,        TIM         SARNOFF,                  MARC                LASRY,                TARAK              BEN          AMMAR,

         LANCE            MAEROV,                   RICHARD              KOENIGSBERG,                          JAMES            L.     DOLAN,                  JEFF       SACKMAN,                   THE


         WEINSTEIN                     COMPANY                     HOLDINGS,                 LLC,              THE          WEINSTEIN                          COMPANY,                    LLC           and


         ROBERT                WEINSTEIN's                    agents       or     supervisory             employees                  knew          or     should       have         known           of   the


         conduct         complained                 of herein.




                                                                                                         1-



                                                                                             71 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 72 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         364.         That      Defendant             Harvey             Weinstein                was      an           official          at     a    sufficiently            high            level     in     the


         company's            management                hierarchy              to     qualify            as         a     proxy           for        defendants             DIRK              ZIFF,          TIM


          SARNOFF,               MARC               LASRY,                TARAK               BEN             AMMAR,                        LANCE               MAEROV,                        RICHARD


         KOENIGSBERG,                       JAMES             L.        DOLAN,              JEFF           SACKMAN,                             THE          WEINSTEIN                     COMPANY


         HOLDINGS,               LLC,        THE        WEINSTEIN                     COMPANY,                          LLC         and     ROBERT                WEINSTEIN.


         365.         That     Defendants             DIRK          ZIFF,       TIM         SARNOFF,                       MARC                LASRY,          TARAK               BEN           AMMAR,

         LANCE         MAEROV,                RICHARD                    KOENIGSBERG,                           JAMES                L.     DOLAN,              JEFF         SACKMAN,                        THE


         WEINSTEIN                   COMPANY                   HOLDINGS,                      LLC,             THE                 WEINSTEIN                    COMPANY,                         LLC          and


         ROBERT            WEINSTEIN                  were      charged             with     a duty        to act           on the         knowledge                and     stop     the       harassment


         complained            of herein.


         366.         That     Defendants             DIRK          ZIFF,       TIM         SARNOFF,                       MARC                LASRY,          TARAK               BEN           AMMAR,

         LANCE         MAEROV,                RICHARD                    KOENIGSBERG,                           JAMES                L.     DOLAN,              JEFF         SACKMAN,                        THE


         WEINSTEIN                   COMPANY                   HOLDINGS,                      LLC,             THE                 WEINSTEIN                    COMPANY,                         LLC          and


         ROBERT              WEINSTEIN                were         charged           with     a duty           to        inform           the    company             of     the    harassment,                 but


         failed     to do so, or same               failed     to act on said               information                    in any         meaningful              matter,          and        thus    showed


         acceptance           and    ratification            of the       propriety          of     said       acts.


         367.         Harvey         Weinstein's              conduct           was         committed                    within           the        scope     of     his     employment                     with


         Defendants            DIRK         ZIFF,       TIM             SARNOFF,              MARC                  LASRY,                 TARAK              BEN           AMMAR,                    LANCE


         MAEROV,                RICHARD                 KOENIGSBERG,                                JAMES                   L.       DOLAN,                  JEFF           SACKMAN,                         THE


         WEINSTEIN                  COMPANY                  HOLDINGS,                     LLC,         THE             WEINSTEIN                     COMPANY,                     LLC,          HARVEY


         WEINSTEIN                  and   ROBERT              WEINSTEIN,                     DOES              1-10,          who         are    vicariously              liable        for     same.


         368.         As     described        at length         above,         Harvey             Weinstein's                    conduct         as alleged           herein         was        committed


         in   the   scope       and       furtherance              of    his   employment                     for        Defendants                  DIRK         ZIFF,           TIM         SARNOFF,




                                                                                             72 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 73 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         MARC             LASRY,             TARAK             BEN           AMMAR,                LANCE                 MAEROV,                 RICHARD                 KOENIGSBERG,


         JAMES            L. DOLAN,                 JEFF      SACKMAN,                 THE          WEINSTEIN                      COMPANY                  HOLDINGS,                  LLC,          THE


         WEINSTEIN                                                           HARVEY                WEINSTEIN                      and      ROBERT                                           DOES           1-
                                      COMPANY,                  LLC,                                                                                         WEINSTEIN,


          10.


         369.             Harvey         Weinstein's                misconduct              as alleged             herein          was      previously             known        to    Defendants


         DIRK          ZIFF,        TIM       SARNOFF,                   MARC          LASRY,                 TARAK                BEN       AMMAR,                  LANCE            MAEROV,


         RICHARD                 KOENIGSBERG,                            JAMES              L.      DOLAN,                  JEFF           SACKMAN,                   THE           WEINSTEIN


         COMPANY                   HOLDINGS,                   LLC,       THE       WEINSTEIN                         COMPANY,                   LLC,       HARVEY                  WEINSTEIN


         and      ROBERT                WEINSTEIN,                   DOES          1-10,         which        facilitated            his    unlawful,              abusive      and         predatory


         sexual        misconduct              by,     among            other     things          using        THE         WEINSTEIN                     COMPANY                    HOLDINGS,


         LLC        and      THE        WEINSTEIN                  COMPANY,                  LLC          employees               to lure     victims           to private      meetings,              and



         allowing            Harvey         Weinstein           to conduct           business               in his       hotel     room       or other          places       paid     for     by     THE


         WEINSTEIN                    COMPANY                  HOLDINGS,                    LLC       and       THE         WEINSTEIN                    COMPANY,                    LLC,       failing


         to     discipline         or    remove            Harvey        Weinstein               despite        prior        knowledge              of    recurring           such     actions            by


         Harvey           Weinstein,          all    the     while       taking      steps         to hide         his     misconduct              and     silence       victims.


         370.          That        DIRK        ZIFF,          TIM        SARNOFF,                  MARC               LASRY,             TARAK             BEN        AMMAR,                 LANCE


         MAEROV,                   RICHARD                   KOENIGSBERG,                            JAMES                 L.      DOLAN,                JEFF         SACKMAN,                       THE


         WEINSTEIN                    COMPANY                  HOLDINGS,                    LLC,         THE          WEINSTEIN                   COMPANY,                   LLC,      HARVEY


         WEINSTEIN                    and    ROBERT                WEINSTEIN,                    DOES           1-10        are    vicariously            responsible           for    the      acts      of



         Harvey           Weinstein           as alleged            herein       as they         ratified       and        condoned              same,      as aforesaid.


         371.          That        as a result         of    the     subject       incidents,             Plaintiff          has    sustained            injury,       emotional             pain      and



         suffering,           physical        pain,         emotional           distress,         pain       and       suffering           and    loss     of      enjoyment          of     life,     and


         claims        compensatory                  and     punitive           damages           herein.




                                                                                                 73 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                                                                                                                                    INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 74 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




         372.            That       this         action           falls        within           one      or     more        of     the         exceptions               set     forth        in    CPLR               §1602,


         specifically:             (5)         (due        to    Defendant's                   intentional              conduct),              (7)    (as     Defendants                acted           with       reckless



         disregard),              (8)          Article             Ten         of       the      Labor           Law,         (11)          (as       Defendant's                    acted         knowingly                    or



         intentionally,                 and      in      concert).


         373.            That      this        action           falls     within          one     or more            of the      exceptions                  set forth         in CPLR             §1601,             as with


         due      diligence,              Plaintiff              is unable           to       obtain         jurisdiction               over         any     such       person           that      may          have       any


         fault      in     this         matter            aside           from       Defendants                   herein,          and          in    that      Defendants                   were            vicariously


         responsible              for      any        possible             additional             parties        with       liability           herein.


         374.            The      amount              of        damages             sought         herein         exceeds            the       jurisdictional                 limits      of      all     other        courts


         which       would          otherwise                    have        jurisdiction.



                         WHEREFORE,                              plaintiff           demands             judgment                and       monetary              damages                against              Defendants


         DIRK            ZIFF,       TIM              SARNOFF,                      MARC              LASRY,             TARAK                  BEN          AMMAR,                    LANCE                 MAEROV,


         RICHARD                   KOENIGSBERG,                                     JAMES               L.      DOLAN,                  JEFF           SACKMAN,                         THE             WEINSTEIN


         COMPANY                    HOLDINGS,                           LLC,        THE          WEINSTEIN                       COMPANY,                      LLC,           HARVEY                    WEINSTEIN


         and      ROBERT                 WEINSTEIN,                           DOES             1-10,     and       each       of them,               and     punitive           damages,                in     such     sums


         as a jury         may          find      fair,         reasonable              and     just,        together       with         costs,        interests          and        disbursements                     of this


         action      and         attorneys               fees.

                                                                                                                                                                 '                       '              '
         Pursuant           to 22         NYCRR                   § 130-1.1,             the     undersigned,                 an attorney                  admitted           to practice               in the        courts
         of New           York          State,        certifies            that,     upon         information               and      belief           and      reasonable               inquiry,             the
         contentions              contained                 in this          Summons               and        Complaint              are       not     frivolous;


         Dated:          New       York,           NY
                         April      30,        2018
                                                                                                               RHEINGOLD                   GlUFFRA             RUFFO           &     PLOTKIN              LLP
                                                                                                               Attorneys             for       Plaintiff




                                                                                                               By:            Jeremy             A.    Hellman,               Esq.




                                                                                                                 -74-



                                                                                                              74 of 75
FILED: NEW YORK COUNTY CLERK 04/30/2018 05:35 PM                                         INDEX NO. 161254/2017
NYSCEF DOC. NO. Case
                 54 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 75 of 157
                                                                    RECEIVED   NYSCEF: 04/30/2018




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                                            75 of 75
Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 76 of 157




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                           A
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FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 77 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

          THE PEOPLE OF THE STATE OF
          NEW YORK, by ERIC T.
          SCHNEIDERMAN, Attorney General                      VERIFIED PETITION
          of the State of New York,
                                                              Index No.
                                  Petitioner,                 IAS Part
                                                              Assigned to Justice
                      v.

          THE WEINSTEIN COMPANY LLC,
          THE WEINSTEIN COMPANY
          HOLDINGS LLC, HARVEY
          WEINSTEIN, and ROBERT
          WEINSTEIN,

                                  Respondents.


          The People of the State of New York, by their attorney, ERIC T. SCHNEIDERMAN, Attorney

          General of the State of New York, respectfully allege, upon information and belief:

                                                 INTRODUCTION

                 1.        The Attorney General, on behalf of the People of the State of New York, brings

          this action to remedy a years-long gender-based hostile work environment, a pattern of quid pro

         quo sexual harassment, and routine misuse of corporate resources for unlawful ends that

         extended from in or about 2005 through at least in or about October 2017. The Attorney General

         seeks to hold accountable Harvey Weinstein (“HW”), his brother Robert Weinstein (“RW”), and

         the company for which they served as co-owners, co-Chairmen of the Board, and co-Chief

         Executive Officers (“co-CEOs”), The Weinstein Company LLC and its parent holding company,

         The Weinstein Company Holdings LLC (collectively, “TWC” or “The Company”), for repeated,

         persistent, and egregious violations of law, to vindicate the rights of TWC’s employees, and to

         prevent future recurrence of such misconduct.


                                                          1


                                                      1 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 78 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 2.      TWC is a company headquartered in New York, New York, that produces and

          distributes films and television shows. At times relevant to this Petition, TWC employed

          upwards of 250 people in its New York office and satellite offices in Los Angeles, California,

          and London, England. TWC was at all times required to comply with New York State and New

          York City laws prohibiting sexual harassment and discrimination on the basis of gender. HW

          and RW, as the company’s owners and co-CEOs, were bound to abide by these laws and ensure

          that they were enforced at TWC. In addition, HW was prohibited from engaging in unlawful sex

          offenses, such as sexual misconduct, forcible touching, and coercion, and attempts to commit the

          same, in violation of various provisions of the New York Penal Law, and from using TWC

          employees, resources, and business opportunities to facilitate repeated and persistent illegality of

          this nature. See N.Y. Exec. Law § 63(12).

                 3.      The Attorney General initiated this investigation after learning of published

          reports that HW used his role as TWC’s co-CEO and his power within the entertainment industry

          to sexually harass employees and abuse women. HW and TWC sought to shield these and

          additional facts from disclosure through routine use of Non-Disclosure Agreements (“NDAs”)

          prohibiting individuals from speaking about their experiences at TWC. The Attorney General has

          used investigative authorities granted to the Office of the Attorney General (“OAG”) under

          Section 63(12), including the OAG’s investigative subpoena power, to begin uncovering these

          facts. While the OAG’s investigation is ongoing, it has obtained documents and interviewed

          witnesses confirming that Respondents repeatedly and persistently violated the law.

                 4.      The unlawful conduct took two primary forms:

                        i.   First, HW, as co-CEO of TWC, repeatedly and persistently sexually harassed

                             female employees at TWC by personally creating a hostile work environment



                                                           2


                                                       2 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 79 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                             that pervaded the workplace and by demanding that women engage in sexual

                             or demeaning conduct as a quid pro quo for continued employment or career

                             advancement. Some of HW’s sexual harassment involved unlawful sexual

                             contact.

                       ii.   Second, HW repeatedly and persistently used his position at TWC, female

                             employees at TWC, and the resources at his disposal as a co-CEO of TWC, to

                             serve his interests in sexual contact, some of which upon information and

                             belief was unlawful in nature, with women seeking employment or business

                             opportunities with TWC.

                 5.      TWC is responsible for the unlawful conduct described herein. HW committed

          these unlawful acts in his capacity as TWC’s co-owner and co-CEO, making him the most senior

          person in the company. In that role, HW used TWC’s corporate resources and employees to

          facilitate the unlawful conduct. Thus, as a matter of law, HW’s unlawful activities are

          attributable to TWC.

                 6.      In addition, TWC and RW are liable because they were aware of and acquiesced

          in repeated and persistent unlawful conduct by failing to investigate or stop it. As described

          herein, RW, TWC’s management, and TWC’s Board of Directors (the “Board”) were repeatedly

          presented with credible evidence of HW’s sexual harassment of TWC employees and interns,

          and his use of corporate employees and resources to facilitate sexual activity with third parties,

          amidst allegations that HW had engaged in unlawful sexual conduct.

                 7.      RW and TWC’s Board failed to: further investigate to discover the nature and

          extent of the misconduct; absolutely prohibit such misconduct; restrict HW’s ability to hire or




                                                          3


                                                       3 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                            INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 80 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          supervise employees and his use of corporate resources in order to avoid future recurrence of

          such misconduct; or terminate HW’s employment altogether.

                 8.     Instead of investigating and taking prompt corrective action, TWC and RW used

          settlements that contained strict NDAs to keep law enforcement, the public, and even other TWC

          employees from discovering the extensive allegations of misconduct against HW. TWC itself

          entered into several of these NDA-containing settlements with company employees. Many

          witnesses to HW’s unlawful conduct separately were subject to broad NDAs pursuant to their

          TWC employment agreements, preventing them from revealing their own observations of

          misconduct to law enforcement as well. In this way, TWC and RW enabled HW’s unlawful

          conduct to continue far beyond the date when, through reasonable diligence, it should have been

          stopped.

                                                    PARTIES

                 9.     Petitioner is the People of the State of New York, by its attorney, Eric T.

          Schneiderman, the Attorney General of the State of New York.

                 10.    Respondents The Weinstein Company LLC and its parent company The

          Weinstein Company Holdings, LLC (collectively, “TWC” or the “Company”) are companies

          that were founded in or about 2005, with their principal offices and places of business at 99

          Hudson Street, New York, New York, 10013, from which they have transacted business at all

          times mentioned herein. TWC also maintains office space at 375 Greenwich Street, New York,

          New York, and satellite offices in Los Angeles, California and London, England.

                 11.    Respondent HW is the co-founder, and was the co-Chairman and co-CEO of

         TWC from its inception in or about 2005 until his termination in October 2017. HW was

         terminated from the TWC Board and as co-CEO in October 2017. HW currently owns

         approximately 21% of the voting shares of TWC. As co-Chairman and co-CEO, HW also drew a
                                                        4


                                                     4 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 81 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          salary from TWC and had expenses covered by TWC. HW regularly transacted TWC business at

          TWC’s headquarters in New York, New York, primarily using office space at TWC’s 375

          Greenwich Street location.

                 12.    Respondent RW is the co-founder and was co-Chairman and co-CEO of TWC

         with HW until HW’s termination. RW remains on the TWC Board and owns approximately 21%

         of the voting shares of TWC. RW regularly transacted TWC business at TWC’s headquarters in

         New York, New York.

                                         JURISDICTION AND VENUE


                 13.    The Attorney General brings this action on behalf of the People of the State of

         New York under the New York State Executive Law.

                 14.    Under the Executive Law, the Attorney General is authorized to bring a special

         proceeding in this Court seeking injunctive relief, restitution, damages, disgorgement, civil

         penalties where applicable, and costs on behalf of the People of the State of New York

         “[w]henever any person shall engage in repeated fraudulent or illegal acts or otherwise

         demonstrate persistent fraud or illegality in the carrying on, conducting or transaction of

         business.” N.Y. Exec. Law § 63(12).

                 15.    Venue is properly laid in New York County because Respondent TWC has its

         principal office within the county, and many of the events and omissions giving rise to the claims

         took place in the county.

                 16.    This Court may exercise personal jurisdiction over Respondents HW and RW

          because they conducted the business of TWC in New York, New York, and because they

          participated in events and omissions giving rise to the violations while in New York County.




                                                         5


                                                      5 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                            INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 82 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                  17.     The Court may exercise personal jurisdiction over Respondent TWC because it is

          a company with its principal office and place of business in New York County.

                          OVERVIEW OF ATTORNEY GENERAL INVESTIGATION

                  18.     On October 23, 2017, the OAG issued a subpoena to TWC pursuant to Executive

          Law 63(12), for documents and testimony. The subpoena was issued as part of the OAG’s

          investigation into reports that HW engaged in sexual harassment and sexual misconduct in the

          workplace, including at TWC’s headquarters in New York; that TWC employees were enlisted

          to further and conceal the sexual harassment; and that all of this misconduct was hidden from

          law enforcement authorities and the public through aggressive use of NDAs and other efforts to

          conceal or distort the truth.

                  19.     The OAG has reviewed documentary evidence produced by Respondents and

          obtained from other sources, including correspondence, business records, financial records, and

          thousands of pages of documents produced pursuant to third-party subpoenas. It continues to

          receive documents responsive to its subpoenas and to review those documents. The OAG also

         has interviewed current and former employees, executives, and Board members of TWC, and it

          continues to interview additional witnesses. Its investigation remains ongoing.

                  20.     The OAG’s ongoing investigation has so far confirmed that Respondents have

          engaged in multiple, repeated, and persistent violations of law that have harmed TWC

          employees, as well as individuals seeking business opportunities with TWC. These violations

          include unlawful gender discrimination and sexual harassment in violation of New York

         Executive Law § 296 et seq., New York Civil Rights Law § 40-c, New York City Human Rights

         Law, New York City Administrative Code § 8-107(1)(a), and violations of provisions of the New

         York Penal Law prohibiting forcible touching (Penal Law § 130.52), sexual abuse (Penal Law



                                                          6


                                                      6 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 83 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          § 130.55), and coercion (Penal Law § 135.60), and attempts to commit the same, and upon

          information and belief, other sexual offenses.

                 21.     Even while its investigation continues, the OAG has instituted this proceeding at

          the present time in light of its factual and legal findings, and the possible imminent sale of TWC

          and/or its assets to purchasers in a transaction that could leave survivors of Respondents’

          unlawful conduct without adequate redress, enable perpetrators or enablers of misconduct to

          obtain unwarranted financial benefits, and fail to protect adequately TWC employees who would

          be reporting to some of the same managers (including TWC’s Chief Operating Officer (“COO”))

         who failed to investigate HW’s ongoing misconduct or adequately protect female employees

         from HW when HW served as co-CEO of TWC.

                                           FACTUAL ALLEGATIONS

                 22.     From the creation of TWC in 2005 through his forced exit from the company in

         October 2017, HW held extensive power and influence in the film and television industry. HW’s

         support could open doors and launch award-winning careers, while his disapproval could

         permanently tarnish reputations and essentially blacklist a person across the industry.

                 23.     As described herein, HW repeatedly and persistently misused his power within

         TWC and in the film and television industry, and the employees and resources of TWC, to harm

         and exploit both TWC workers and third parties seeking to do business with TWC. Within TWC,

          HW wielded this power in a sexually discriminatory manner.

                 24.     HW personally created and perpetuated a work environment permeated with

          gender-based hostility and inequality. As described in Sections A and B below, HW engaged in

          quid pro quo sexual harassment; subjected female TWC employees and women seeking business

         or job opportunities with TWC to unwelcome and inappropriate physical contact and touching;

         subjected employees to a persistent stream of threats and verbal abuse, much of which was
                                                           7


                                                       7 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 84 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          sexual or gendered in nature; and menaced female employees with threats to their careers and of

          physical harm.

                 25.       HW also required multiple groups of TWC employees to facilitate his sexual

          encounters with women. In part, HW required executive assistants to schedule and help arrange

          sexual (or possible sexual) encounters for HW, even directing them to essentially badger women

          who refused or expressed reluctance into accepting a “meeting” with HW. Additionally, on

          multiple occasions, HW required junior executives to meet a woman and discuss working in the

          entertainment industry generally or on specific TWC projects, because he was interested in her

          sexually and wanted the executives to help put the woman at ease before he made any sexual

          advances or because she had already submitted to his advances.

                 26.       Through such conduct and other behavior detailed below, HW created what one

          former employee described as a “toxic environment for women” at TWC that persisted from the

          early days of TWC in 2005 to at least HW’s termination as TWC co-CEO in 2017.

                 27.       HW’s and TWC’s unlawful activity persisted, at least in part, due to the effective

          acquiescence of RW and certain other members of TWC’s management and Board. As explained

          in Sections C and D below, members of TWC’s management and Board were aware of or had

          access to numerous complaints of HW’s misconduct as well as, to TWC employees and records

          which could have confirmed the accuracy of the complaints and the scope of misconduct—yet

         the company failed to adequately investigate any of the claims, take common-sense measures to

          protect female employees and third parties from HW’s illegal conduct, or terminate HW’s

          employment. Furthermore, TWC lacked an effective process for reporting and investigating

          complaints of sexual harassment or other sexual misconduct, as is required by law: it did not

          train employees on sexual harassment policies or laws; it did not have a meaningful or consistent



                                                           8


                                                        8 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 85 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          process for documenting and preserving claims of sexual harassment or other misconduct; and,

          when individuals did complain, Human Resources was not empowered to address claims related

          to HW.

                    28.   TWC’s corporate governance was made aware of but chose not to end the abuse

          being facilitated through its company. TWC’s Board had power to supervise HW, to limit his

          contact with female employees and third parties, and to take concrete steps to stop it. The Board

          also had the power to refuse to renew HW’s employment contract in 2015, but failed to act, in

          part out of HW’s power and influence on the Board and in part due to concern that HW’s

          departure or a public battle over his contract would inflict financial harm on TWC. HW and

         Board members loyal to HW defeated any efforts by independent Board members to investigate

         claims of sexual misconduct, or to remove HW or prevent him from continuing to sexually

         harass and harm women.


         A.         Hostile Work Environment

                    Obscenities and Insults

                    29.   To work for Harvey Weinstein was to work under a persistent barrage of gender-

          based obscenities, vulgar name-calling, sexualized interactions, threats of violence, and a

          workplace generally hostile to women. This conduct occurred throughout the relevant time

          period.

                    30.   For instance, HW regularly berated women using gender-based obscenities and

         stereotypes.      He directed these comments to female employees and peppered ordinary

         conversation with vulgarities and gendered insults.




                                                         9


                                                      9 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 86 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                  31.     HW regularly called female employees “cunt” or “pussy” when he was angry with

          them or felt they had done a task poorly or incorrectly, or even just instead of calling them by

          their first names.

                  32.     When HW wanted to particularly degrade or scold men, he called them cunt or

          pussy as well, and otherwise denigrated them in sexualized terms. For example, at a meeting

          attended by several TWC executives, HW criticized a male executive in the room for his alleged

          weakness. During the course of the criticism, HW turned to another TWC employee and said,

          “Can you smell [his] pussy?”

                  33.     On another occasion, HW told a male assistant he was fired for—as reflected in

         an email sent by the assistant to the head of Human Resources about the incident—being “just a

         fucking faggot boy, a stupid fucking faggot boy.” HW routinely used similar epithets attacking

         employees’ masculinity.

                  34.     HW regularly used gender stereotypes to insult and belittle female employees.

         For example, in a fit of rage against one female employee, he yelled that she should leave the

         company and make babies since that was all she was good for. He belittled other female

         employees using similar language.

                  35.     On other occasions, he asked female employees if they had their period, including

         asking an employee if her tampon was “up too far.” He also accused female employees of

         wanting special treatment because of their gender.

                  36.     HW made these comments in one-on-one conversations, as well as in front of

         other TWC employees, including the company’s most senior executives.

                  37.     Despite knowledge of HW’s use of sexualized obscenities and gendered insults,

         TWC executives with responsibility for the matter and the Board failed to take any meaningful



                                                         10


                                                      10 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 87 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          steps to investigate allegations of such conduct or take remedial action to protect TWC

         employees or stop such behavior.

                 Intimidation

                 38.     HW, who stands over six feet tall, used his stature and threatening statements on

          numerous occasions to demean and frighten female employees. Multiple female employees have

          described HW’s regular use of physical intimidation and threats to terrorize female employees

          generally, deter them from making formal or informal workplace complaints, and prevent them

          from describing his conduct to anyone outside TWC.

                 39.     Female employees described HW as yelling at them for purported incompetence,

          cursing in their faces, threatening to end their careers, and describing his intent to harm them, all

          while walking into them until his face was only inches from theirs.

                 40.     TWC’s management was presented with several allegations of such misconduct.

          According to information contained within HW’s personnel file, on one occasion in 2011, HW

          violently punched the back of a female employee’s car seat while berating her. On a separate

          occasion, he backed the same employee up against a wall, standing intimidatingly close while

          berating her. This as well as other misconduct prompted the female employee to file a formal

          complaint with TWC. TWC resolved the complaint via an agreement that contained an NDA.

          TWC did not adequately investigate the complaint, act to protect employees, or prevent HW

         from engaging in recurring conduct.

                 41.     On another occasion in 2012, according to a formal complaint made to Human

         Resources, HW launched into a tirade against a female employee before a media interview in

         which he berated her viciously and at length in front of other TWC employees and threatened to

         “cut [her] loins,” traumatizing the employee, making her feel “forced out” of her job, and



                                                           11


                                                       11 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 88 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          causing her “severe stress.” TWC resolved the complaint via an agreement that contained an

          NDA. TWC did not adequately investigate the complaint, act to protect employees, or prevent

          HW from engaging in recurring conduct.

                 42.     HW cornered another female employee in a hotel lobby in 2014, coming so close

          to her and screaming at her so loudly about being a failure that a patron and hotel staff member

          came to ask if she needed assistance after HW left. The female employee was traumatized by the

          interaction and felt physically unsafe around HW after its conclusion, as reflected in a formal

          complaint to Human Resources in 2015 that described this incident and other misconduct. TWC

          resolved the complaint via an agreement that contained an NDA. TWC did not adequately

          investigate the complaint, protect employees, or prevent HW from engaging in recurring

          conduct.

                 43.     HW told several employees throughout the relevant time period that, in substance,

          “I will kill you,” “I will kill your family,” and “You don’t know what I can do,” or words to that

          effect. HW touted his connection to powerful political figures and asserted that he had contacts

          within the Secret Service that could take care of problems. Female employees knew from

          observations of HW and from the experiences of other TWC employees that he was capable of

          fits of rage, including infliction of physical injury, and that he was sexually aggressive. Thus,

          they became fearful that they could suffer physical injury or worse if they did not satisfy his

          demands. With respect to all of these matters, TWC did not adequately investigate repeated

          credible complaints of misconduct or prevent HW from engaging in recurring conduct.

                 Forcing Women to Serve in Sexualized and Demeaning Roles

                 44.     HW forced female TWC employees to serve in in humiliating and demeaning

          roles that required them to facilitate and support his sexual activity with third parties or support



                                                          12


                                                      12 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 89 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          “domestic” activities. TWC employed one group of female employees whose primary job it was

          to accompany HW to events and to facilitate HW’s sexual conquests. These women were kept on

          TWC’s payroll in TWC’s New York, Los Angeles, and London offices. While they had different

          titles, as a practical matter their primary responsibility included taking HW to parties at which he

          could meet young women, and introducing him to young women seeking opportunities at TWC

          with whom he could attempt to engage in sexual relations. These women were described by

          some witnesses as members of HW’s TWC “roster” or his “wing women.” One of the members

          of this entourage was flown from London to New York to teach HW’s assistants how to dress

          and smell more attractive to HW, as described further herein.

                 45.     A second group of employees served as his assistants. Predominantly female

          assistants were compelled to take various steps to further HW’s regular sexual activity, including

         by contacting “Friends of Harvey” (“FOH”) and other prospective sexual partners via text

         message or phone at his direction and maintaining space on his calendar for sexual activity. Two

         TWC employee witnesses described having to procure HW’s erectile dysfunction shots, one of

         whom received a TWC bonus for obtaining them and was at times directed by HW to administer

         the injections. Another TWC witness described how she had to ensure HW had an adequate

         supply of them in his travel bag—referred to within the company as his “go bag”—at all times.

         One TWC employee was tasked with preparing a room in TWC’s offices for HW’s sexual

         activity when he wished to have sexual encounters in the office, and with cleaning up when it

         was over. Articles of women’s clothing were left behind on occasion after these incidents,

         making clear what transpired during these encounters and requiring TWC employees to make

         arrangements for their return.




                                                          13


                                                      13 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 90 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 46.    The common occurrence of sexual activity in the workplace by TWC’s co-CEO,

          sometimes while or immediately after employees were working in office space adjacent to the

          room where the activity occurred, contributed to the hostile work environment.

                 47.    Certain of HW’s assistants were threatened with termination of employment if

          they did not serve in gendered roles such as providing childcare to his young children, obtaining

          prescriptions for medicine, and performing other domestic labor such as assisting HW’s wife or

          one of HW’s adult daughters. One employee formally complained of this conduct to Human

          Resources in 2015, noting that she did “not appreciate being given work that my male

          counterparts are never asked to complete.” Human Resources replied to this complaint as

          follows: “Please keep me updated on this….” The employee received no follow-up

          communications from TWC executives and no remedial actions was taken as a result of the

          complaint, reflecting that TWC conducted no meaningful investigation of the complaint.

                 48.    That same employee followed up the next month with an email entitled “Well,

          you asked me to keep you updated . . . .” in which the employee stated that rather than obtaining

          a promotion to executive, she was threatened with termination if she did not start taking care of

          personal tasks for HW such as dealing with HW’s doctors—work that “the boys” at TWC were

          never asked to perform. When the employee refused to assume this domestic role, HW stated,

          according to the second written complaint to Human Resources, “if that’s your attitude fuck you

          and get out.” The employee received no response from TWC executives and no remedial action

          was taken as a result of the complaint, reflecting TWC conducted no investigation of this

          complaint either. The employee left the company, having been retaliated against for refusing to

          accede to HW’s demands.




                                                         14


                                                     14 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 91 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 49.     A third group of predominantly female TWC employees—a group of female

          executives—also were forced to facilitate HW’s sexual conquests. These female employees’ job

          responsibilities should have been confined to using their expertise to help TWC produce films

          and television projects. Yet despite their skills and stated job responsibilities, HW required them

          to meet with prospective sexual conquests in order to facilitate HW’s sexual activity, and to

          follow through on HW’s promise of employment opportunities to women who met with HW’s

          favor. This compelled service demeaned and humiliated the female executives, contributing to

          the hostile work environment.

                 50.     The practice of sending female TWC executives to meetings with HW’s

          prospective sexual conquests was overt within the company. HW’s assistants were aware that

          HW would want a female executive to be present at the outset of any such meeting with a

          prospective sexual conquest, and were trained to ask HW which executives HW would want to

          have present at the meetings.

                 51.     One female executive described her dismay at being compelled to take meetings

          clearly not for business purposes but for the purpose of facilitating HW’s sex life. Male creative

          executives were not forced to take these kinds of meetings. As the executive reported to TWC’s

          Human Resources department: “only female executives are put in these positions with actresses

          with whom HW has a ‘personal friendship,’ which to my understanding means he has either had

          or wants to have sexual relations with them. Female TWC employees are essentially used to

          facilitate his sexual conquests of vulnerable women who hope he will get them work.” TWC

          took no steps to investigate these allegations or to prevent future recurrence of such conduct.


          B.     Quid Pro Quo Sexual Harassment




                                                          15


                                                      15 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 92 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                52.     HW made quid pro quo offers or demands of sexual favors in exchange for career

          advancement at TWC, or to avoid adverse employment consequences at TWC. HW’s overt quid

         pro quo sexual harassment further contributed to the hostile work environment within TWC.

                53.     The quid pro quo harassment took several forms, including demands for sex or

         intimate physical contact in exchange for career advancement, or qualifying career opportunities

         on flirtatious or otherwise attractive dress and behavior.

                54.     According to information provided to TWC employees interviewed by the OAG,

         in one instance in late 2014, HW approached a young female TWC intern, and told her to write

         her name and phone number on a slip of paper. The intern, who had not had interactions with

         HW before, was surprised and complied. HW asked her to join him for dinner that night but she

         declined, citing pre-existing plans. He told her to cancel them and that he would call her that

         night. When HW called, the employee again refused to meet him, and he ultimately proposed a

         meeting at 7:30a.m. at the Peninsula Hotel where he was staying. When she arrived at the hotel,

         HW made clear that he wanted a sexual relationship and proceeded to name famous actresses

         whose careers he purportedly had advanced after they agreed to his proposition. HW proposed a

         similar quid pro quo relationship to the intern. The intern spent an hour repeatedly saying no to

         his entreaties and refusing to come up to HW’s hotel room. After the incident, the intern left the

         company. The complaint was reported to Human Resources and to company executives, but

         TWC took no institutional action to protect interns from HW or prevent future recurrence of such

         conduct.

                55.     On another occasion in 2015, HW asked a female TWC employee to go to his

         hotel room at the end of the day to set up his phone and devices for the next day or some other

         alleged work reason (work that TWC employees referred to as “turndown service,” and that was



                                                          16


                                                      16 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 93 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          generally assigned to female TWC employees). Upon her arrival at his hotel room, HW appeared

          naked under a bathrobe and asked her for a massage. When the employee said no, HW cajoled,

          badgered, and insisted until she relented and, against her wishes, submitted to massaging him out

          of fear of employment-based retaliation by HW. The incident was reported to Human Resources

          and to TWC executives and Board members in November 2015, but TWC took no action to

          formally investigate the complaint, to protect employees from HW, or to prevent future

          recurrence of such conduct.

                 56.    On other occasions in 2014 and 2015, HW exposed himself to a female employee

          and made her take dictation from him while he leered at her, naked on his bed. That same

          employee described how HW would insist that she sit next to him in the back seat of his

          chauffeured vehicle and would place his hand on her upper thigh and buttocks near her genitalia

          and rub her body without her consent. When she attempted to place bags or other barriers

          between them to make it harder for him to reach her, he moved the barriers or repositioned

          himself so that the unwelcome sexual contact could continue. This employee, and other TWC

          employees, believed that they would face adverse employment consequences unless they

          acquiesced to such demands.

                 57.    On one occasion, HW asserted that he might have to fire a female employee

          because his daughter (for whom the employee was providing assistance at HW’s direction) was

          angry with her, and he asked the employee what she was “prepared to do” to keep her job—a

          proposition that the female employee understood as a demand for quid pro quo sexual activity.

          The employee quit rather than submit to the demand for sex in exchange for continued

          employment.




                                                         17


                                                     17 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                          INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 94 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 58.    Another TWC employee did succumb to HW’s demands for sex. The former

          employee informed the OAG that the sexual activity was forced and unwelcome, and was

          compelled out of fear of career repercussions and HW personally.

                 59.    To avoid unwanted touching, leering, or remarks by HW, some female TWC

          employees took to wearing pants instead of skirts or dresses, or wearing clothes that provided

          greater physical coverage.

                 60.    To this HW made comments such as, “why don’t you dress cute?,” “you walk like

          a man,” or “you can be pretty,” making clear that physical attractiveness and femininity were

          necessary in order for the employee to be successful at TWC. As reported to Human Resources,

         company executives, and the Board in 2015, and as was known more generally within TWC,

         HW rewarded some female TWC employees with opportunities for career advancement

         (including access to meetings and other business opportunities) based on how attractive they

         appeared to him on that day, as he himself told the women. TWC did not take adequate steps to

         investigate these allegations or to prevent future recurrence of such conduct.

                 61.    At one point, as recounted by one witness, HW brought in a female member of

         the “roster” from TWC’s London office to teach his female assistants in the New York City

         office on how to make him “happy.” Her tips included wearing skirts or dresses, looking

         feminine, showing more leg or a shoulder, wearing high heels, smelling “good,” and introducing

         him to women. Female assistants were thus made to understand that career opportunities were

         connected to the degree to which they were attractive to HW and facilitated HW’s sexual contact

         with women.


         C.      HW’s Use of TWC Employees and Resources in Supporting His Sexual Misconduct




                                                         18


                                                     18 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 95 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 62.     HW’s assistants were exposed to and required to facilitate HW’s sex life as a

          condition of employment. HW employed a team of up to five assistants at any given time. Over

          the relevant time period, over a dozen people served in these positions due to frequent turnover

          and promotions of assistants who met with his favor. HW typically tasked his female assistants

          with scheduling, arranging, and facilitating his sexual encounters, which were referred to within

          the company as “personals.”

                 63.     HW’s assistants learned of two categories of HW’s prospective or consummated

          sexual encounters. Over time, the assistants had compiled one list that was maintained on TWC’s

          electronic shared directory and consisted of names of women, organized by city, whom HW

          contacted regularly for sexual encounters. This list was known internally as the “Friends of

          Harvey” or “FOH” list. This list was maintained in the HW Office electronic shared folder, and

          was accessible to TWC employees. This list categorized women by city, so that upon arriving in

          a particular city with HW, his assistants could readily find the contact information for the women

          he demanded that the assistants contact on his behalf.

                 64.     The assistants also utilized a second common method for keeping track of the

          women in whom HW was interested sexually or with whom HW had had a sexual liaison, noting

          them in HW’s electronic TWC contact list with an asterisk. The asterisk was used by assistants

          to make it easier to distinguish women with whom HW typically scheduled “personals” and

          people with whom HW had non-sexual relationships.

                 65.     HW’s assistants developed these methods of tracking of the objects of HW’s

          sexual desire because they were keenly aware that an inability to quickly identify and contact the

         specific woman HW referenced posed a risk to their careers. HW made this clear by regularly

         threatening assistants and their jobs for any perceived mistakes.



                                                          19


                                                      19 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 96 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 66.     In HW’s schedule, maintained collectively by his assistants, meetings with

          “FOHs” or other would-be sexual contacts were explicitly dubbed “HW personal” or were

          deliberately excluded from his schedule; in the latter case other communications among

          assistants and HW made clear that a time slot had to remain open for HW’s “personal.”

                 67.     All HW assistants were required to send emails dictated by HW as part of their

          job duties. However, in addition to sending emails to business contacts or as part of business

          operations, HW required his assistants to send emails and text messages, sometimes dictated, to

          would-be sexual partners and relay their responses to him, using TWC email accounts and

          phones.

                 68.     At times, assistants were required to write multiple emails or text messages in the

          course of a single hour—using TWC equipment and email accounts—to an intended sexual

          interest if she did not respond or if she rebuffed HW’s initial advances.

                 69.     HW required his assistants to schedule “personals” for sexual activity both during

          the workday and after work. Upon arranging a “personal,” assistants were required to clear or

          adjust any and all other scheduled plans that potentially conflicted with the “personal,”

          sometimes at great difficulty. If an assistant failed to do so, HW became enraged and made clear

          to assistants that compromising a “personal” appointment also compromised their careers.

                 70.     Assistants possessed copies of a document known as the “Bible,” an assistant-

          created guide to working for HW that was passed down through Assistants. The document sat in

          hard copy on several Assistants’ desks, and was accessible to and known to exist by some TWC

          executives. The Bible included information about HW’s likes and dislikes, and a list of his

          “friends” with directions for assistants on how to arrange HW’s extensive and frequent

          “personals.”



                                                          20


                                                      20 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 97 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




                 71.     Knowledge of “personals” was not limited to HW’s assistants or HW’s office

          suite. As co-Chair and co-CEO of TWC, HW’s unavailability for periods of time during the

          workday for “personals” was well known to TWC executives. According to one witness who

          handled calls from TWC executives to HW, executive staff became familiar enough with

          “personals” to know that they generally lasted anywhere from twenty-five minutes to one hour.

          Thus, upon learning HW was with a “friend,” some executives who reached his assistants during

          “personals” often inquired what time his “personal” began in order to estimate when HW’s

          sexual encounter would conclude and contact him at that time.

                 72.     TWC funds paid for the office space and for the hotel rooms used for many of

          these personal encounters, which were booked using TWC’s travel agent. In addition, while HW

          often initially held out job opportunities, invitations or tickets to events, and other access to the

          entertainment industry to young women in exchange for sexual relations, he also required that

          assistants help purchase flowers, gifts, robes, lingerie, and other gifts for his “friends.” These

          purchases frequently were made on TWC corporate credit cards.

                 73.     A female employee who was once responsible for coding HW’s expenses as

          “business” or “personal” recounted being told by HW to categorize as many of HW’s expenses

          as “business” as possible. She gave the example that if HW had a sexual encounter with a

          woman, and that same woman had once auditioned for a TWC project, then she understood that

          she was expected to categorize expenses related to the sexual encounter as “business.”

                 74.     HW made it clear to his female employees that anyone who protested his

          demands to orchestrate these encounters would suffer retaliation.

                 75.     Several of TWC’s female creative executives were exposed to and required to

          facilitate HW’s sex life as a condition of employment. HW demanded that female executives



                                                           21


                                                       21 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 98 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          fulfill tasks for him such as obtaining the contact information of his sexual targets and meeting

          with these women in order to put them at ease and facilitate them into private meetings with him.

                 76.     Additionally, female executives were frequently forced to meet with women with

          whom HW had sexual relations or hoped to have sexual relations, in order to discuss their

          “career trajectory” and opportunities that HW instructed them to address with the women.

                 77.     HW frequently targeted vulnerable, aspiring models, actresses, and entertainers as

          sexual conquests, using access to TWC and other industry opportunities that purportedly would

          be made available by his female executives, acting at his direction, as a bargaining chip in return

          for sexual favors. HW used female executives’ participation in these meetings to make clear that

          his contact with these women was in his professional capacity as CEO of TWC and to lend an

          “official” air to the encounters.

                 78.     Female executives quickly came to understand that some of the meetings that they

          were required to attend were not for legitimate business purposes. For example, on some

          occasions, female executives were instructed to discuss with HW’s actual or intended sexual

          conquests career opportunities that the executives knew were not appropriate for the women,

          e.g., English-speaking roles with women who did not speak fluent English.

                 79.     Other women came onto TWC payroll at HW’s demand, upon information and

          belief because HW had or sought to have sexual relations with them and promised them a

          position at TWC. It was not uncommon for young women to appear at TWC’s New York City or

          Los Angeles office on the understanding that they were to be given a paid position, although they

          did not appear to have participated in standard interview processes and to fill an unspecific job

          position with no clear role or responsibilities. These women would then be given a desk and put

          on payroll, much to the dismay and annoyance of other TWC employees. Upon information and



                                                          22


                                                      22 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO. Case
                 1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 99 of 157
                                                                     RECEIVED   NYSCEF: 02/13/2018




          belief, TWC’s management asked for a list of these women at one point, pursuant to a review of

          company finances. These women, however, were not immediately removed from payroll by

          TWC upon completion of the review.

                 80.     HW also used TWC’s financial resources to fly women with him or to him for

          engaging in or facilitating sexual encounters.

                 81.     Additionally, HW’s drivers in both New York City and Los Angeles were

          required to keep condoms and erectile dysfunction injections in the car, in order to provide them

          to HW as needed.

                 82.     Certain of HW’s erectile dysfunction injections were charged to HW’s corporate

          credit card, and at least one bonus paid by TWC to an assistant for her assistance in procuring

          HW’s erectile dysfunction drugs for him.

                 83.     It is during these TWC-funded and -facilitated “personal” encounters in his office

          and hotel rooms that, upon information and belief, HW engaged in unlawful sexual conduct with

          numerous women.


          D.     TWC and RW Acquiesced to HW’s Misconduct

                 84.     TWC is responsible for the unlawful conduct described herein. When the legal

          violations described herein were committed, HW was a co-owner, co-CEO, and co-Chairman of

          TWC. As the most senior member of TWC management, the actions taken by HW in the course

          of managing TWC and conducting TWC business are attributable to TWC.

                 85.     Moreover, HW was only able to engage in repeated and persistent unlawful

          conduct because of the failure of key members of TWC’s management and Board to ensure that

          the company complied with relevant nondiscrimination laws and prevent its executives from

         engaging in unlawful conduct while representing the company. The company’s acquiescence

                                                           23


                                                      23 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                           INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 100 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         renders it responsible for HW’s misconduct on separate grounds. RW also is liable as a co-owner

         and co-CEO of TWC who was aware of HW’s misconduct and who failed to take reasonable

         steps to investigate and end it.

                Failures of Management

                86.     Key members of TWC management were fully aware of HW’s creation of a

         hostile work environment and his sexual harassment of others, yet they did not take reasonable

         steps to investigate or stop it, or to protect TWC employees from ongoing victimization. To the

         contrary, certain members of TWC management deliberately looked the other way or took

         actions that enabled HW to retaliate against employees who complained of misconduct.

                87.     The OAG has learned that, while TWC had a policy manual that contained a

         policy prohibiting sexual harassment and discrimination, the policy was flouted in practice.

         Employees who might have had reporting responsibilities, such as employees with supervisory

         responsibilities, did not receive any training or guidance about TWC’s sexual harassment and

         discrimination policies, including what constituted unlawful harassment or discrimination, how

         to assist or personally report or otherwise handle a harassment or discrimination complaint, how

         investigations were conducted, or what remedial actions and privacy or anti-retaliation

         protections existed, were provided to any employees interviewed by the OAG.

                88.     According to the policy manual, complaints of harassment were to be submitted

         to the head of Human Resources (the “Human Resources Director”), who had the authority to

         decide whether a complaint had sufficient merit to warrant investigation. The Human Resources

         Director’s regular practice was to escalate any complaints deemed to be significant to the TWC

         COO, to whom the Human Resources Director directly reported.




                                                       24


                                                    24 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                            INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 101 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                89.     For example, in a May 2015 email obtained by the OAG, the Human Resources

         Director forwarded a complaint to the COO from a woman who worked for TWC, but who was

         expected primarily to serve as assistant to HW’s daughter. In the email, the Human Resources

         Director stated to the COO: “we need to discuss a settlement and nda.” According to material in

         HW’s personnel file, such a settlement agreement was negotiated soon after the email from the

         Human Resources Director to the COO.

                90.     On more than one occasion, upon forwarding a complaint or information about a

         complaint to the COO, the Human Resources Director was not involved in any investigation or

         resolution process. Based on documents obtained by the OAG to date, such matters were handled

         by the COO and other members of TWC senior management, as well as counsel retained to

         contact victims of misconduct.

                91.     On numerous occasions during the relevant time period, victims of HW’s

         misconduct complained to the Human Resources Director or to other TWC management about

         various aspects of the conduct described herein. On not a single occasion was HW subject to a

         formal investigation or to restrictions on his behavior or adverse employment consequences, as a

         result of any complaint.

                92.     Evidence gathered during the course of the investigation reflects that the Human

         Resources Director was not empowered to take any steps to address HW’s ongoing sexual

         harassment of female employees. Victims of HW’s misconduct have stated that when they

         complained to Human Resources about HW’s efforts to intimidate them, use sexually demeaning

         language to refer to them, and issue verbal threats of sexual or physical harm, the Human

         Resources Director stated, in substance, that he “sympathized” with their plight, that they had a

         “tough job” working for HW, but that there was nothing he could do to address the misconduct.



                                                        25


                                                    25 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                             INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 102 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                93.     On another occasion, a complainant who described serious misconduct was

         informed, in substance, that the Human Resources Director was “going to have to speak to HW”

         about the complaint. When the complainant expressed concern that she would be subjected to

         retaliation by HW if he were informed about the complaint, the Human Resources Director said

         that while “technically” HW could not retaliate in this manner, he could not prevent HW from

         doing so, stating, in substance “but I mean his name is on the sign.” Individuals who complained

         to Human Resources were in fact subject to retaliation by HW as a result of their complaints.

                94.     On certain occasions when individuals did complain to Human Resources, those

         complaints were not treated confidentially, nor were they investigated. For example, on one

         occasion, an assistant to HW wrote an email to Human Resources complaining of certain

         misconduct by HW. Soon thereafter, the assistant, who had access to HW’s email account due to

         her role at TWC, saw that her complaint had been forwarded directly to HW via HW’s email

         account.

                95.     On several occasions when TWC employees complained about serious

         misconduct by HW, TWC took steps to separate the employee from the company while securing

         an NDA that would prevent the employee from disclosing the misconduct to others or warning

         others about the misconduct. These NDAs were contained within settlement agreements entered

         into by TWC itself. While the source of the funds used to pay for the monetary component of

         any settlement remains under investigation, TWC’s participation as a party to settlements, and its

         receipt of complaints concerning misconduct leading to those settlements, reflect that members

         of TWC’s management were fully aware of numerous settlements involving claims of

         misconduct by HW brought by TWC employees.




                                                        26


                                                    26 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 103 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                96.     Members of company management also understood that HW was using company

         resources to facilitate his sexual exploits, including his employment on the payroll of the “roster”

         of women described above and his use of company resources for sexual encounters. On certain

         occasions, company employees expressed concerns about HW’s improper charges to company

         accounts, but would be dissuaded from following through by fear of angering HW. At a meeting

         in 2015, TWC’s management requested that HW take his “roster” of women off of the payroll,

         and that he desist from using corporate cards and accounts for inappropriate expenses. While

         HW’s use of corporate cards after this 2015 meeting remains under investigation, certain

         members of the “roster” remained on staff after that date, and HW suffered no adverse

         employment consequences as a result of his misuse of corporate resources.

                97.     RW, as co-owner, co-Chairman, and co-CEO, was responsible for maintaining a

         safe workplace, free of sexual harassment and other unlawful conduct. Yet instead of doing so,

         RW acquiesced in allowing HW to create a hostile work environment and engage in sexual

         misconduct that was known to RW, or which he was responsible for preventing.

                98.     For example, RW knew that HW used sexually explicit and demeaning slurs to

         refer to female employees, having participated in meetings in which HW used those terms.

         Upon information and belief, RW also has admitted to the press that he paid for prior settlements

         of claims made by women against HW, after those claims were made known to him as a member

         of management of RW’s and HW’s prior company, Miramax.

                99.     RW also received by email in late 2014 and 2015, and was otherwise informed of,

         claims of repeated and persistent sexual harassment and misconduct, but he took no measures to

         further investigate the claims of misconduct, to terminate HW’s employment, to restrict or

         prohibit HW from supervising women or having or seeking sexual contact with TWC employees



                                                         27


                                                     27 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 104 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         or women seeking to do business with TWC, or from HW having private meetings with

         employees or women seeking opportunities in hotel rooms or TWC office space, or any other

         concrete measure that may have avoided HW’s ongoing misconduct.

                100.    In addition, other members of company management understood that HW acted

         inappropriately towards women and sexually harassed them. They personally observed numerous

         occasions on which HW referred to women using sexually demeaning terms in front of others.

         They had opportunity to observe the presence of the “roster” on TWC’s payroll. They also

         received or otherwise were made aware of information from complainants. Yet no adverse

         employment action was taken against HW due to his power within the company and his

         perceived importance to the company’s financial results.

                Failures of Corporate Oversight

                101.    TWC’s Board also failed to inquire adequately into, or to restrain or prevent, the

         repeated and persistent unlawful conduct occurring at TWC. In part this was due to HW’s and

         RW’s effective control of the Board through their own participation on the Board and their

         ability to appoint or influence the appointment of others to the Board, leaving a small minority of

         the Board truly independent of HW and RW. In part these failings were due to concerns that

         HW’s removal, or even exposure of his misconduct, would risk harming the financial interests of

         company ownership, which included Board members or Board members’ employers. Finally, in

         part the reluctance to restrict or remove HW was due to personal relationships that many Board

         members had with HW. The Board’s decision to avoid investigating credible claims of

         misconduct, and to shield HW from consequences of that misconduct, enabled HW to continue

         victimizing employees of TWC until his misconduct was revealed by press reports.




                                                         28


                                                     28 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                          INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 105 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                102.    Reflecting the failings of the Board, the Board failed to investigate adequately

         credible claims of HW’s misconduct presented to it by members of TWC management and an

         independent Board member, and to terminate or place meaningful restrictions on HW’s

         continued employment at TWC when presented with the opportunity to do so.

                103.    Specifically, by early 2015, certain corporate executives at TWC who had

         received and handled numerous claims of misconduct from TWC employees, including the

         COO, became so concerned about HW’s misconduct towards women, as well as his expenditure

         of company resources on improper items, that they decided they needed to notify an independent

         member of the Board about the misconduct.

                104.    In the private meeting with an independent Board member, certain members of

         TWC management carried with them and described complaints contained in HW’s personnel

         file, as well as their general concerns about HW’s treatment of women and his financial

         misconduct. They suggested that HW had become harmful to TWC and his conduct presented a

         risk to the company. This information should have been cause for immediate follow-up

         interviews and investigation, but no such investigation took place.

                105.    Instead, that information became relevant to negotiations between the Board and

         HW concerning extension of HW’s employment contract. HW’s original employment contract

         with TWC, entered into in or about 2005, explicitly provided for his termination from the

         company only in extreme circumstances, including conviction of a felony offense. (It did not

         explicitly prevent the Board from taking actions that would help prevent future recurrence of

         misconduct, such as limiting his managerial authority or restricting his ability to supervise

         employees or interact with women in his hotel room, but the Board did not undertake any of

         these actions.) That original employment contract expired at the end of 2015. The Board was



                                                         29


                                                     29 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 106 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         under no obligation to renew the contract; thus, HW’s continued employment could have been

         terminated in 2015, or the Board could have insisted that HW take a reduced non-supervisory

         role with greater oversight that presented lower risk to the company.

                106.    In response to the information obtained from TWC management, independent

         Board members sought access to HW’s personnel file so that counsel representing it could use

         the personnel file and other information to evaluate whether the Board would recommend

         renewal of HW’s contract. HW resisted the independent directors’ efforts to obtain a copy of his

         personnel file and otherwise investigate his misconduct, on the purported grounds that the

         contents of the file would be leaked to the press if disclosed to the Board. There was no basis for

         this claim; instead, HW sought to prevent access to his personnel file to avoid discovery of the

         extent of his own misconduct. A majority of the Board refused to back the independent

         Directors’ efforts to obtain HW’s personnel file; thus, the Board failed to undertake efforts that

         may have resulted in discovery of at least a portion of HW’s misconduct.

                107.    Rather than investigate claims of misconduct by HW or take appropriate steps to

         protect TWC employees from HW’s unlawful conduct, the Board in 2015 negotiated a contract

         extension with HW that placed no effective restrictions on his activity. The Board did require

         HW to, as of 2016, promise to comply prospectively with a Code of Conduct that was written to

         address what the Board understood to be HW’s prior misconduct, including sexual harassment

         and financial impropriety. HW’s 2015 contract extension, however, only permitted termination

         of HW’s employment due to a Code of Conduct violation if the violation was “willful” and a

         majority of the Board, as well as RW, determined that the willful violation had “caused serious

         harm to the company.”




                                                         30


                                                     30 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                              INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 107 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                108.    HW’s contract extension also contained an unusual provision that effectively

         monetized, rather than prohibited, ongoing acts of sexual harassment and misconduct. In

         particular, it stated that if TWC had to “make a payment to satisfy a claim that you [i.e., HW]

         have treated someone improperly in violation of the Company’s Code of Conduct,” he would

         face escalating financial penalties: $250,000 for the first such instance, “$500,000, for the second

         such instance, $750,000 for the third such instance, and $1,000,000 for each such additional

         instance.” This contract contained no provision for any penalties if HW personally covered the

         costs of any payments necessary to satisfy claims of improper treatment, and it provided for no

         adverse employment consequences in the event that one, two, three, or even four or more such

         payments had to be made by TWC and/or HW as a result of HW’s sexual harassment or

         misconduct. Thus, pursuant to HW’s employment contract, HW could continue engaging in

         sexual harassment and misconduct with impunity, provided that he paid the costs of any

         settlements and that he avoided disclosure of misconduct that might risk causing “serious harm

         to the company.”

                109.    Board minutes reflect that the Board ratified HW’s new employment contract

         unanimously. No future efforts were undertaken by the Board to investigate HW’s misconduct or

         TWC’s practices concerning that conduct until HW’s termination in October 2017. Any efforts

         by independent directors to restrain HW’s conduct were overcome by HW, RW, and directors

         friendly to HW and RW. No penalty payments ever were made by HW pursuant to the

         employment contract, and HW was not terminated until after his misconduct was revealed to the

         public in October 2017.

                110.    In November 2015, after renewal of HW’s employment contract, TWC was

         presented with specific and detailed allegations of sexual harassment and misconduct by a TWC



                                                         31


                                                     31 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 108 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         employee. Those allegations referenced other witnesses and victims within the company who

         could have been interviewed about the claims. That employee also was available to be

         interviewed and questioned.

                  111.   Out of fear of retaliation and adverse career consequences, the employee agreed

         to withdraw the complaint in exchange for a settlement with TWC—not HW personally—that

         included an NDA. In connection with that settlement, however, the employee specifically

         informed TWC through its counsel that she was not withdrawing any of the allegations contained

         in the complaint; TWC’s counsel agreed to confirm this understanding in writing, informing the

         complainant’s counsel in a November 6, 2015 letter that in connection with the settlement, “your

         client’s withdrawal of the Complaint she previously made does not imply any retraction of the

         statements made in that Complaint.” Despite this reaffirmation, no effort was made to investigate

         any of the allegations contained within the complaint. To the contrary, upon information and

         belief, TWC’s Human Resources Director was instructed to remove the complaint from HW’s

         personnel file because it had been withdrawn, and the issues identified by the complaint

         remained unexamined and unremedied until HW’s expulsion from the company almost two years

         later.

                  112.   Absent these failings of corporate management and oversight described herein,

         HW would not have been able to continue to engage in the repeated and persistent unlawful

         conduct described herein for several years with impunity.

                                           FIRST CAUSE OF ACTION
                                          Pursuant to Exec. Law § 63(12)
                                          Violation of NYSHRL § 296(1)
                                        Against Respondents HW and TWC

                  113.   The Attorney General repeats and re-alleges, as though fully set forth herein, all

         of the preceding paragraphs.


                                                          32


                                                      32 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                   INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 109 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                 114.    New York State Human Rights Law (“NYSHRL”), N.Y. Executive Law §

         296(1)(a), provides that it is an unlawful practice for “an employer . . . because of the . . . sex . . .

         of any individual, to refuse to hire or employ or to bar or to discriminate against such individual

         in compensation or in terms, conditions or privileges of employment.” The NYSHRL is violated

         when a workplace is permeated by discriminatory intimidation, ridicule, or insult sufficient to

         alter the conditions or employment (“hostile workplace harassment”).

                 115.    The NYSHRL is also violated when a managerial or supervisory employee trades

         or attempts to trade favorable employment terms, conditions, or privileges for sexual favors

         (“quid pro quo harassment”).

                 116.    Through the actions and inactions described above, Respondents HW and TWC

         repeatedly and persistently violated the NYSHRL by subjecting employees to a sex-based hostile

         work environment, targeting female employees for quid pro quo harassment, and otherwise

         discriminating against female employees in the terms, conditions, and privileges of employment.

                 117.    Such conduct was willful, wanton, and malicious.

                 118.    By reason of the conduct alleged above, Respondents HW and TWC engaged in

         repeated and persistent illegal conduct in violation of NYSHRL § 296(1).

                                           SECOND CAUSE OF ACTION
                                          Pursuant to Executive Law § 63(12)
                                            Violations of NYSHRL § 296(6)
                                          Against Respondents RW and TWC

                 119.    The Attorney General repeats and re-alleges, as though fully set forth herein, all

         of the preceding paragraphs.

                 120.    The NYSHRL, N.Y. Executive Law § 296(6), provides that it is “an unlawful

         discriminatory practice for any person to aid, abet, [or] compel … the doing of any of the acts

         forbidden under this article.”


                                                            33


                                                        33 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                               INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 110 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                121.    As alleged above, Respondents RW and TWC repeatedly and persistently aided

         and abetted conduct that violates the NYSHRL, namely, the gender-based hostile work

         harassment of, quid pro quo harassment of, and discrimination against female employees by

         HW.

                122.    RW holds an ownership interest in TWC and was a senior executive of the

         company at all times relevant to the allegations set forth above.

                123.    TWC, through the actions and inactions of its executives and senior management,

         condoned and/or acquiesced in HW’s sexual harassment of and gender-based discrimination

         against female employees.

                124.    Such conduct was willful, wanton, and malicious.

                125.    Through such unlawful conduct, Respondents RW and TWC engaged in repeated

         and persistent illegal conduct in violation of NYSHRL § 296(6).

                                           THIRD CAUSE OF ACTION
                                        Pursuant to Executive Law § 63(12)
                                          Violation of NYCHRL § 8-107
                                             Against All Respondents

                126.    The Attorney General repeats and re-alleges, as though fully set forth herein, all

         of the preceding paragraphs.

                127.    The New York City Human Rights Law (“NYCHRL”), New York City

         Administrative Code § 8-107(1)(a), prohibits discrimination on the basis of gender.

                128.    The NYCHRL is violated when employees are treated “less well” than others,

         because of their gender.

                129.    As alleged above, Respondents repeatedly and persistently treated female

         employees less well than male employees through gender-based hostile workplace harassment,

         quid pro quo harassment, and discrimination.


                                                         34


                                                     34 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                   INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 111 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




                 130.    Pursuant to N.Y.C. Admin. Law 8-107(13)(b), TWC is liable for the violations of

         the NYCHRL because the individual who personally engaged in the harassment and

         discrimination, Harvey Weinstein, was an executive employee with managerial responsibilities.

                 131.    TWC is also liable because its executives and senior management knew of HW’s

         harassing and discriminatory conduct but through their actions and inactions, acquiesced in such

         conduct.

                 132.    TWC is also liable because TWC executives and senior management failed to

         take immediate and appropriate investigative or remedial action despite knowledge of HW’s

         unlawful conduct.

                 133.    Alternatively, TWC is liable for HW’s unlawful conduct because it should have

         known of HW’s actions and failed to exercise reasonable diligence to prevent his sexual

         harassment of and gender-based discrimination against employees.

                 134.    The unlawful discriminatory practices described herein were the result of the

         Respondents’ willful, wanton, and malicious acts.

                 135.    By reason of the conduct alleged above, Respondents engaged in repeated and

         persistent illegal conduct in violation of NYCHRL § 8-107.


                                        FOURTH CAUSE OF ACTION
                                      Pursuant to Executive Law § 63(12)
                        Denial of Equal Protection Under the New York Civil Rights Law
                                            Against All Respondents

                 136.    The Attorney General repeats and re-alleges, as though fully set forth herein, all

         of the preceding paragraphs.

                 137.    New York Civil Rights Law § 40-c provides that “No person shall, because of

         race, creed, color, national origin, sex, marital status or disability . . . be subjected to any



                                                            35


                                                        35 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                  INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 112 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         discrimination of his civil rights . . . by any other person or by any firm, corporation or institution

         . . . .”

                    138.   Respondents have knowingly, repeatedly, and persistently, deprived women of

         equal treatment in terms, conditions, and privileges of employment and of the right to be free

         from severe or pervasive hostile treatment because of their sex.

                    139.   By reason of the conduct alleged above, Respondents discriminated against

         persons based on sex in violation of New York Civil Rights Law §40-c.

                                            FIFTH CAUSE OF ACTION
                                         Pursuant to Executive Law § 63(12)
                                   Persistent or Repeated Illegal Business Conduct
                                               Against All Respondents

                    140.   The Attorney General repeats and re-alleges, as though fully set forth herein, all

         of the preceding paragraphs.

                    141.   A violation of state, federal or local law constitutes illegality within the meaning

         of Executive Law § 63(12) and is actionable thereunder when persistent or repeated.

                    142.   HW, operating in his capacity as TWC’s co-owner and co-CEO, and using TWC

         employees and resources to facilitate his unlawful activities, repeatedly and persistently violated

         New York Penal Law provisions prohibiting forcible touching (Penal Law § 130.52), sexual

         abuse (Penal Law § 130.55), and coercion (Penal Law § 135.60), unlawful sexual misconduct

         (Penal Law § 130.20), criminal sexual acts (Penal Law § 130.40), and attempts to commit the

         same. TWC is liable for such misconduct.

                    143.   Through the conduct, policies, and/or practices described herein, Respondents

         engaged in persistent and repeated violations of NYSHRL, NYCHRL, NYCRL, and NY Penal

         Law in the carrying on, conducting, and transaction of business in violation of New York

         Executive Law § 63(12).


                                                            36


                                                        36 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                           INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 113 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




               WHEREFORE, Petitioner requests an order and judgment pursuant to Executive Law §

         63(12) and NYSHRL § 296(1) & 296(6), CRL § 40(c), and NYCHRL § 8-107(1)(a):

               1.   Permanently enjoining Respondents from violating Executive Law §63(12),

                    NYSHRL § 296(1) & 296(6), CRL § 40(c), NYCHRL § 8-107(1)(a), and relevant

                    provisions of the Penal Law, and from engaging in the illegal acts and practices

                    alleged in the Verified Petition;

               2.   Directing Respondents to pay a civil penalty to the State of New York in the sum of

                    $100,000 for each violation of NYSHRL § 296(1) and of NYSHRL § 296(6),

                    $250,000 for each violation of NYCHRL § 8-107(1)(a), and $500 for each violation

                    of CRL § 40(c);

               3.   Directing Respondents to pay restitution and damages in the amount of the harm to

                    the victims of Respondents’ illegal conduct in connection with its hostile workplace

                    environment and sexual harassment of women;

               4.   Ordering such remedial equitable relief as is warranted based on the illegal acts and

                    practices described above, including judicial or other supervision of compliance

                    with the prohibitions on continued unlawful conduct; freeing women who signed

                    NDAs negotiated by Respondents from those NDAs; prohibiting any corporate or

                    financial transaction that would enable Respondents to evade the continued

                    jurisdiction of the Attorney General and this Court, undermine compliance with the

                    terms of any judgment, or conceal proceeds of any sale of TWC or any of its assets;

               5.   Awarding Petitioner the costs of this proceeding pursuant to CPLR § 8303(a)(6);

                    and

               6.   Granting such other and further relief as the Court deems just and proper.



                                                        37


                                                    37 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                       INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 114 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         Dated: February 11, 2018
                New York, New York

                                                Respectfully Submitted,


                                                ERIC T. SCHNEIDERMAN
                                                Attorney General of the State of New York
                                                Attorney for Petitioner
                                                120 Broadway
                                                New York, NY 10271
                                                212-416-8250



                                       By: __          /s                    _______________

                                                ANJANA SAMANT
                                                Assistant Attorney General
                                                Civil Rights Bureau
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                                                HOWARD MASTER
                                                Senior Enforcement Counsel

                                                AMANDA ADDISON
                                                Volunteer Assistant Attorney General
                                                Civil Rights Bureau




                                                  38


                                            38 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                                  INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 115 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

         THE PEOPLE OF THE STATE OF
         NEW YORK, by ERIC T.
         SCHNEIDERMAN, Attorney General                         ATTORNEY AFFIRMATION
         of the State of New York,                              IN SUPPORT OF
                                                                VERIFIED PETITION
                                 Petitioner,
                                                                Index No.
                     v.                                         IAS Part
                                                                Assigned to Justice
         THE WEINSTEIN COMPANY LLC,
         THE WEINSTEIN COMPANY
         HOLDINGS LLC, HARVEY
         WEINSTEIN, and ROBERT
         WEINSTEIN,

                                 Respondents.


         ANJANA SAMANT, an attorney duly admitted to practice before the courts of this State, makes

         the following affirmation under the penalties of perjury:

                1.        I am an Assistant Attorney General in the Office of Eric T. Schneiderman,

         Attorney General of the State of New York (the “State” or “NYAG”), assigned to the Civil

         Rights Bureau, and am duly authorized to make this verification.

                2.        I have read the foregoing Petition and know the contents thereof, which are to my

         knowledge true, except as to matters stated to be alleged upon information and belief, and as to

         those matters, I believe them to be true.

                3.        The basis for my belief as to all matters stated upon information and belief are the

         investigatory materials contained in the files of the Civil Rights Bureau of the New York State

         Office of the Attorney General.

                4.        The reason this verification is not made by the Petitioner is that the Petitioner is a

         body politic and the Attorney General is their duly authorized representative.




                                                        39 of 40
FILED: NEW YORK COUNTY CLERK 02/11/2018 04:04 PM                                           INDEX NO. 450293/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 116 of 157
                                                                     RECEIVED  NYSCEF: 02/13/2018




               WHEREFORE, it is respectfully requested that the petition be granted in all respects.


         Dated: February 11, 2018
                New York, New York

                                                    Respectfully Submitted,




                                            By:            /s

                                                    ANJANA SAMANT
                                                    Assistant Attorney General
                                                    Civil Rights Bureau
                                                    Anjana.samant@ag.ny.gov




                                                       2


                                                   40 of 40
Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 117 of 157




    EXHIBIT
                            B
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FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                     INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 118 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




            SUPREME                      COURT              OF       THE           STATE                  OF          NEW YORK
            COUNTY                  OF
                                 NEW YORK
            ._________________________________

            SANDEEP REHAL                                                                                                   Index          No.


                                                                                                               :,'
                                                                            Plaintiff(s),


                                                                                                                                  HNN005
                                                                                                                                  11%180nS
                                              -against-

            HARVEY WEINSTEIN, THE WElNSTEIN COMPANY LLC,
            THE WEINSTEIN COMPANY HOLDINGS LLC, ROBERT
            WEINSTEIN, AND FRANK GlL
                                                                                                                            Date         Index           No.         Purchased:
                                                                                                                                                                                                     February 27, 2018
                                              Defendant(s).
           .-___________________________________________


                         To        the      above          named            Defendant(s)

                          Harvey Weinstein, The Weinstein Company LLC, The Weinstein Company Holdings LLC, Robert Weinstein and
                          Frank Gil



                         You         are     hereby          summoned                          to    answer                 the         complaint               in     this           action     and      to      serve
           a copy        of your             answer,           or,     if    the          complaint                    is     not        served          with          this           summons,            to      serve
           a notice           of    appearance,                  on        the         Plaintiffs                    attorney              within          20         days            after    the      service           of
           this      summons,                 exclusive               of    the          day         of   service                 (or     within           30        days             after    the      service           is
           complete            if    this      summons                 is        not      personally                       delivered                to   you          within             the    State       of     New
           York);        and        in     case      of your          failure              to       appear             or     answer,               judgment                   will       be   taken       against
           you      by    default            for     the     relief         demanded                      in         the      complaint.


                         The        basis          of venue           iS         CPLR 503(a)

           whichis                 the county in which a substantial part of the events or omissions giving rise to the complaint occurred.


           Dated:          New York, New York

                          February 27, 2018
                                                                                          Eisenberg & Schnelt LLP


                                                                                          by
                                                                                           Laura S. Schnell
                                                                                        Attorneys               for        Plaintiff

                                                                                         Eisenberg & Schnell LLP
                                                                                         233 Broadway, Suite 2704
                                                                                         New York, NY 10279
                                                                                         Ischnell@eisenbergschnell.com
                                                                                         212-966-8900




                                                                                                          1 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                  INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 119 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




          SUPREME                   COURT             OF THE           STATE              OF NEW            YORK
          COUNTY               OF     NEW YORK


                                                                                                                 )
            SANDEEP                 REHAL,                                                                       )                      Index        No.

                                                                                                                 )
                                      Plaintiff,                                                                 )
                                                                                                                 )                      COMPLAINT
                        - against          -
                                                                                                                 )
                                                                                                                 )
          HARVEY               WEINSTEIN,                     THE       WEINSTEIN                                )
          COMPANY                   LLC,       THE           WEINSTEIN                                           )
          COMPANY                   HOLDINGS                   LLC,        ROBERT                               )
          WEINSTEIN,                  AND          FRANK              GIL,                                      )
                                                                                                                )
                                                                                                                )
                                      Defendants.                                                               )
                                                                                                                 )




                        Plaintiff          Sandeep             Rehal         by      her       attorneys,           the     Genie         Harrison              Law         Firm,      APC,        and



          Eisenberg           &     Schnell           LLP,       as and       for        her   Complaint             against         Defendants             Harvey            Weinstein,          The


         Weinstein            Company              LLC,         The     Weinstein               Company             Holdings          LLC,       Robert              Weinstein          and     Frank



         Gil,     alleges        as follows:




                                                                             NATURE                 OF THE           ACTION


                        1.           For       over     two       years      Plaintiff          Sandeep         Rehal          was    forced         to work           in a pervasive            and


         severe       sexually         hostile         work        environment                 at The       Weinstein           Company              LLC         and        The     Weinstein



         Company             Holdings            LLC         (collectively               referred     to as "TWC"),                  defined         by    endless           offensive,


         degrading,           and     sexually           harassing           actions,          statements,            and      touching         at the      hands            of her     boss,



         Harvey         Weinstein.             Plaintiff          brings          this    action      against        Defendants              under        the        New      York      City

                                                ("NYCHRL"
         Human          Rights       Law                                     or the        "City     law"),         Administrative              Code            of    the    City     of New


         York      §§    8-101        et seq. .




                                                                                                        1


                                                                                                    2 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                          INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 120 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                           2.                 By       February            2015,         the    hostile         work            environment                      created            by     Harvey         Weinstein


          and       condoned                  and      enabled          by      TWC,           Robert          Weinstein,                 and         the     head       of       Human           Resources                 Frank



          Gil,      escalated                to an emotional                    breaking           point        for       Ms.         Rehal.            She       had       no      choice        but      to leave              the


          job      she     needed              to support             herself.


                           3.                 As     a result          of the       hostile        work         environment                      caused             by      the      incessant            sexual


          harassment                   Ms.      Rehal          has     suffered,           and       continues                 to    suffer       from           severe           emotional             distress,


          anxiety,              depression,               humiliation,               fear,      anguish           and          loss       of    self-esteem.



                                                                       PARTIES,                 JURISDICTION                              AND              VENUE


                           4.                 Plaintiff             Sandeep          Rehal        was      a female                  employee               of     Defendants                  employed                as a


          personal              assistant            to Harvey             Weinstein              in     TWC's             New          York           City        office           located         in the        County               of


         New         York          from         approximately                      February             2013     to February                      13,       2015.           She          is a citizen           of    the    state


                                                                                                                                                           "employee"
          of     California               and       at all      relevant           times       met       the    definition                 of    an                                      under      the    NYCHRL.


                           5.                 Defendants               The         Weinstein             Company                    LLC         and        The      Weinstein                  Company               Holdings


         LLC         are        Delaware               limited         liability         companies               whose               principal              places          of      business         are        in New


         York        City,         in     the       County           of New          York        (collectively                      referred          to    as "TWC").                     TWC          is an employer


         within          the      meaning               of     the    NYCHRL.


                         6.                  Upon            information             and       belief      Defendant                    Harvey              Weinstein                is a citizen            of      the     State


         of New            York.          He        was       a Director             of the       Weinstein                Company                    and        was,       until         he was        fired         on



         approximately                       October             8, 2017,          the     co-chairman                    of    TWC.             Ms.         Rehal          was          his   personal              assistant


         at TWC's                New          York           City     office        in the       County          of New                 York.          Harvey            Weinstein                was       Ms.        Rehal's


         employer                within          the      meaning              of the      NYCHRL.


                         7.                  Defendant               Robert          Weinstein             is a citizen                 of      the     State          of New             York.      He      was           and     is


         a Director               of    the      Weinstein              Company,                serves         as its          co-chairman,                      and     is, upon              information                 and




                                                                                                                      2


                                                                                                           3 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                         INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 121 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




          belief,        an owner                 of    a significant               portion          of    TWC.                  Robert          Weinstein                  is an employer                within         the



          meaning              of the           NYCHRL.                 Robert           Weinstein               aided             and      abetted             his     brother          Harvey          Weinstein's


          creation            of    a sexually               hostile        work          environment                       at    TWC            for     Ms.      Rehal            and      other      women.


                         8.                 Upon          information                and       belief          Defendant                    Frank         Gil         is a citizen           of the       State         of New


          York.      He        was          TWC's              Senior       Vice         President              of      Human               Resources                  during         Ms.      Rehal's


          employment                     with       TWC,          worked            in    TWC's                New          York          City         office,         and      aided        and      abetted           Harvey


          Weinstein's                    creation         of    a sexually               hostile          work          environment                      at     TWC          for      Ms.     Rehal        and      other


          women.


                         9.                 This        Court       has jurisdiction                      of     this        action          under            NYCHRL                  §8-502(a).


                         10.                 This        Court          is an appropriate                      venue              for     this     action         pursuant               to CPLR             §503(a).


                                                                               PROCEDURAL                               REQUIREMENTS


                         11.                    Following               commencement                           of this            action,          a copy             of this       Complaint              will     be


          served      both           on     the        New       York        City        Commission                     on        Human                Rights          and      the      Office       of the


          Corporation                Counsel              of the        City        of New            York,          thereby                satisfying                the    notice         requirements                of the


         New        York           City      Administrative                      Code.




                                                                                     FACTUAL                      ALLEGATIONS


                         12.                Ms.        Rehal       commenced                   her        employment                       at    TWC             in approximately                      February           2013,


         at age      26,       as Harvey                 Weinstein's                personal              assistant.


                         13.               Although              Harvey             Weinstein              told         Ms.         Rehal          when           he hired            her     that     "he        was    "a


                                                                         for,"
         tough       guy           and     hard        to work                      she       could        never             have         imagined                how         awful         and      terrifying          her


         job     would         be.




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                                                                                                               4 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                  INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 122 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                          14.              As        Ms.       Rehal         soon       learned,          Harvey             Weinstein's                 assistants          were       expected             to be


          available             at all     times;           there      was         no    boundary             between               Harvey           Weinstein's                work       life    and       personal


          life.    Much           of Ms.         Rehal's              work         as an employee                    of     TWC            involved            catering           to Harvey


          Weinstein's                  sexual         appetites             and     activities,           and        catering            to his        demeaning             and       often       abusive



          family         members.


                          15.             Among                Ms.     Rehal's            myriad          tasks          was       listening           to    Harvey         Weinstein's               calls,


                                                                                                                                doctors'
          reading          and         responding               to    his    emails,           managing              his                         appointment,                 managing              his     drivers,



          doing         his     shopping,              and      even         getting        him         clean        underwear.


                          16.             Ms.        Rehal           was      required            to be involved                   in and          aware         of the      preparations                 for,     and


          clean      up       after,      Harvey             Weinstein's                 extremely              prolific           sexual          encounters.


                          17.             Throughout                   her     employment                    with         Defendants               Ms.        Rehal       was      required,           as a


         condition              of her         employment,                   to work            with      Harvey             Weinstein              when         he was           naked.          On an almost


         weekly           basis,         she    was         required           to take           dictation           of     emails          from       him       while       he was           naked.


                          18.             Harvey             Weinstein              subjected             Mr.        Rehal          to unwelcome                      touching.          Almost            every


         time      Ms.        Rehal        accompanied                       Harvey            Weinstein             in     his       chauffeured              Lexus         SUV,        he made             her        sit


         in the      back         with         him      and      touched            her        thigh.        After         Ms.        Rehal        started        wearing            pants        instead          of



         skirts,        Harvey            Weinstein              would            rub     between             her        thighs.         When          Ms.       Rehal       sat     cross        legged          in an


         attempt          to prevent             him         from          being        able      to touch           her        thigh,      Harvey             Weinstein            would          touch          the


         back      of     her      legs     and        butt.


                         19.              When             Harvey           Weinstein              followed               Ms.      Rehal        out         to the      chauffeured               Lexus          SUV,


         he frequently                  would         walk           very     close        to her        so that           his     large       belly         would        touch        her.       When           Ms.


         Rehal       attempted                 to move           away          he came             even       closer            and      pressed            himself        against         her.




                                                                                                                     4


                                                                                                          5 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                         INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 123 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                           20.              Ms.        Rehal             was        also      subjected              to other           extremely             offensive              physical            contact,


          which         should            never         occur            in the        work             environment                 and      to which          she         would           not    have        been


          subjected              but      for        Harvey             Weinstein's                     depraved           abuses           of power,          that         were      aided            and    abetted               for


                              Defendants'
          years       by                                     acts        and        omissions.


                           21.             Harvey                 Weinstein                 used         sexist      and        sexual        language           to refer            to Ms.         Rehal,        regularly

                                                      "cunt"                   "pussy."
          referring            to her           as                      or                            On numerous                   occasions            he said,              "What's           wrong          Sandeep,

                                                                    today?"
          is the      tampon              up     too        far                            His        offensive            sexist        comments             about            and    to Ms.            Rehal         were


          constant          and        were           made           openly            in the           presence           of    other       employees                of    TWC.


                        22.                Harvey                 Weinstein                 repeatedly              made          remarks            to Ms.         Rehal          about         her     appearance,


         and      her      clothes.              Harvey              Weinstein                   told      Ms.      Rehal         she       looked       good          and       leered          at her.        When               in a


         futile       attempt          to minimize                       Harvey              Weinstein's                  comments              about         her      appearance,                 Ms.        Rehal


         started        wearing             pants,            Harvey                Weinstein                  complained             to her         "you      used         to dress             so cute        and          now


                                       on?"
         what's         going


                        23.                Harvey              Weinstein                   repeatedly               emphasized                his     absolute             power           to Ms.        Rehal           and


         others.           He      constantly                bragged                about          his     power,           stating         to Ms.       Rehal             and     other         employees,                   "I        am

                                                                                                                                                                                                             graduate."
         Harvey            Weinstein                  and      you           are    at Weinstein                   University.               I decide          whether               or not       you


                        24.               Among                   Ms.        Rehal's          responsibilities                      was      to maintain               Harvey            Weinstein's                  list         of


                                                                                                                                                                    "girls,"
         contacts           with       a special                  asterisk           that     identified             Harvey             Weinstein's                                  his     many            sexual



         partners.


                        25.               Harvey               Weinstein                also            ordered       Ms.         Rehal       to     obtain         and        set up        an apartment                     close


         to the       office        for     him         to use               with     one        of      his     sexual         liaisons,          and   purchase                women's               lingerie              for        the


         woman          in that           apartment                  as well           as gifts            for     other        women.




                                                                                                                           5


                                                                                                                   6 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                                    INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 124 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                          26.               In     addition             to maintaining                            his     list       of      available           women,               Ms.        Rehal           was      forced            to do


                                                                                        "assist"
          many          other         offensive               chores             to                         in     Harvey                  Weinstein's               sex      life.      She       was       required             to


          manage              the     stock        of        Caverject                 shots         for     his        erectile             dysfunction.               She       had       to     obtain           the       shots         and



          keep         them         stocked             in cabinet               behind              her      desk         at Harvey                  Weinstein's                 TWC             office.           Every            time



          Harvey             Weinstein              went         to meet                 a woman                  at a hotel,                 in the       office,         or elsewhere,                    which             occurred


          on     average             at least           three     times               a week           when              he was              in New          York,          Ms.        Rehal         was          required             as part


          of     her    job     to provide                   Harvey            Weinstein                    with         a shot,             which         she       placed           in his       jacket          pocket             or in       a


          brown          paper         bag.


                         27.               At      one        point         in        Ms.       Rehal's                employment,                    the     Caverject                 shots       were           no     longer


          available            from        the      London               doctor               who          had         been          prescribing              them.           Harvey              Weinstein                   ordered


         Ms.       Rehal            to find        a supply             in the               United          States              and         gave     her     a bonus             of     $500        paid          by     TWC             for



         doing         so.      Frank            Gil,        knowing                  that     the     bonus              was          for     Ms.       Rehal's           procurement                      of    erectile


         dysfunction                  drugs,            authorized                the        payment.


                                                                "task"
                         28.               Another                                    Ms.      Rehal             was       forced             to do to         aid      Harvey              Weinstein's                   sexual


         encounters                 was     to clean             up      the          semen           on         the     couch               in Harvey             Weinstein's                   office.          This        happened


         on      a regular            basis,        three        or so times                    a week                 when           Harvey            Weinstein               was         in New               York.


                         29.               Ms.          Rehal         had        to pick             up      Harvey               Weinstein's                  used         Caverject               shots,          which            he


         tossed         on     the     floor        in his           office,            hotel         rooms              and         his      apartment.              She      also         had      to pick             up    his     used



         condom,              and      clean            up    rooms            before            housekeeping                             personnel           would            do their            work.


                         30.               Of     course,             Ms.         Rehal           was         not        the         only      victim         of     Harvey              Weinstein.                 Upon


         information                 and        belief         and      as reported                    in     the        New           York          Times,          The       New          Yorker,               and     Vanity


         Fair,     Harvey             Weinstein's                    sexual              abuse             and     conduct,                  and     his     use      of the           office,        TWC              and      the       staff




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                                                                                                                        7 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                        INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 125 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




          to enable             it,   was      common                     knowledge              in the      office,            to management,                        to his     brother              Robert


          Weinstein               and       to Frank               Gil.


                          31.               Before            she         was        forced      to quit,       Ms.        Rehal            reported            various         matters               relating         to



          Harvey             Weinstein              to others               within         the    company.                Ms.         Rehal         was        the     author         of      a document


                                                      Friends."
          entitled           "Harvey's                                         On information                   and       belief,           Harvey             Weinstein             has          recently       had         that


          document               destroyed.                 Also          on     information              and    belief,              Ms.     Rehal's            personnel                 file     is missing              and



          may         have      been         destroyed                at Harvey                Weinstein's                request.


                          32.             By        February                2015,         Ms.     Rehal         could           not     take        it anymore.             The            cumulative              effect           of


          the      sexually           charged               environment                   she    was      forced           to endure,               the        demeaning              tasks           she    had       to


          perform            to enable           Harvey               Weinstein's                 sexual        behavior,                   and    the     physical             and        emotional             abuse            she


          was         subjected         to     left     her        no       choice         but    to resign.




                                                                                               CLAIMS            FOR            RELIEF


                                                                                                            COUNT                I
                                               (Discrimination                          and      Harassment                in    Violation                of    the     NYCHRL)
                                        (Against               Defendantsflarvey                           Weinstein                  Robert             Weinstein             and         TWC)




                         33.              Plaintiff            hereby                repeats      and     re-alleges                 each         and     every        allegation                  in the    preceding


         paragraphs               as if      set forth              fully        herein.


                         34.             Defendants                       have        discriminated              against              Plaintiff           on     the    basis         of      her     sex    in violation


         of     the    NYCHRL                  by      denying                 her     equal      terms      and          conditions                of    employment,                      including,            but        not


         limited         to,    denying               her     the         opportunity             to work          in      an employment                         setting        free         of unlawful


         discrimination                  and        sexual           harassment,                 leading         to her          constructive                   termination.




                                                                                                                      7


                                                                                                             8 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                          INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 126 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                          35.            Defendants                have        discriminated                     against                   Plaintiff           on     the      basis       of her        sex      in violation


          of the        NYCHRL                by     creating,           fostering,            and         condoning,                         accepting,              ratifying            and/or         otherwise



          failing        to prevent            or to remedy                a hostile            work            environment.


                                                                                                                           Defendants'
                         36.             As    a direct            and    proximate                 result            of                                      unlawful            discriminatory                    conduct


          in violation           of the        NYCHRL,                   Plaintiff          has       suffered,                  and          continues               to suffer,            monetary              and/or


          other       economic              harm       for     which          she     is entitled                an award                     of monetary                   damages              and      other        relief.


                                                                                                                           Defendants'
                         37.            As     a direct            and    proximate                 result        of                                          unlawful            discriminatory                    conduct


          in violation           of     the    NYCHRL,                   Plaintiff          has       suffered,                  and          continues               to    suffer,         severe            mental


          anguish         and     emotional              distress,            including,             but         not       limited                to,       depression,              humiliation,


          embarrassment,                    stress      and        anxiety,          loss      of    self-esteem                           and        self-confidence,                     and    emotional               pain


          and       suffering         for     which          she      is entitled           to an award                     of        monetary                 damages               and     other        relief.


                                        Defendants'
                         38.                                          unlawful          and         discriminatory                             conduct              constitutes             willful           or wanton



          negligence,            or recklessness,                     or a conscious                  disregard                       of     Plaintiff's              rights         or conduct                so reckless


          as to amount            to        such      disregard           in violation                of        the        NYCHRL                       for    which           Plaintiff          is entitled            to an


          award        of punitive             damages.




                                                                                                      COUNT                      II

                                                        (Aiding           and        Abetting              in    Violation                       of     the    NYCHRL)
                                 (Against             Defendants                 Harvey             Weinstein                    Robert                Weinstein               and     Frank           Gil)




                        39.             Plaintiff        hereby           repeats           and       re-alleges                      each            and     every         allegation            in    the      preceding


         paragraphs             as if       set forth         fully      herein.


                        40.            Defendant               Harvey            Weinstein,                 as set forth                      above,           directly           participated                 in the



         discriminatory                 conduct          perpetrated                 against          Plaintiff.




                                                                                                                      8


                                                                                                       9 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                                             INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 127 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




                            41.               Defendants                 Robert               Weinstein                and      Frank           Gil     aided          and      abetted           Harvey


          Weinstein's                   discriminatory                    conduct.


                            42.               As      a direct          and      proximate                  result,           Plaintiff          has      suffered,             and           continues          to suffer,



          monetary                and/or            economic             damages,                 including,                  but     not      limited          to,     loss       of past            and    future      income


          for   which             Plaintiff            is entitled             to an award                  of     damages.


                         43.               As        a direct           and     proximate                   result,           Plaintiff          has      suffered,             and           continues          to suffer,


          severe       mental              anguish           and         emotional                  distress,           including,               but      not     limited               to,    depression,


          humiliation,                  embarrassment,                        stress          and     anxiety,                loss     of      self-esteem               and       self-confidence                    and


         emotional                pain        and       suffering             for       which          Plaintiff              is entitled              to an award                 of     damages.


                                           Defendants'
                         44.                                             unlawful                and        discriminatory                      conduct               constitutes               willful         or wanton



         negligence,                or recklessness,                      or a conscious                         disregard                of   Plaintiff's             rights           or conduct              so reckless


         as to amount                    to such          disregard                 in violation              of       the     NYCHRL                    for    which           Plaintiff              is entitled       to an


         award         of     punitive               damages.




                                                                                                PRAYER                    FOR          RELIEF



                        WHEREFORE,                             Plaintiff              prays          that     the       Court           enter         judgment               in her           favor       and    against


         Defendants                 for       the     following               relief:




                       (a)                 A       declaratory             judgment                  that        the      actions,             conduct          and       practices               of      Defendants


         complained                 of     herein          violate            the     laws          of the         City        of New            York;



                         (b)               An        award         of    damages                 against           Defendants,                    in an amount                     to be determined                    at trial,


         plus    prejudgment                        and    post         judgment                interest,           to compensate                        Plaintiff           for        all    monetary             and/or


         economic                harm,         including,               but     not       limited            to,       loss      of    income,            reputational


         harm      and           harm      to professional                      reputation;                 for        harm           to her      professional                  and           personal          reputations


         and    loss        of    career            fulfillment;               for      all     non-monetary                         and/or           compensatory                      harm,          including,        but   not




                                                                                                                          9


                                                                                                                 10 of 11
FILED: NEW YORK COUNTY CLERK 02/27/2018 10:36 AM                                                                                                                                    INDEX NO. 151738/2018
NYSCEF DOC. NO.Case
                1   1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 128 of 157
                                                                     RECEIVED  NYSCEF: 02/27/2018




          limited      to,     compensation                 for     physical           injury,         pain    and     suffering,            serious       psychological                   and


          emotional          distress,          mental           anguish,           stress       and    anxiety,         embarrassment                    and     humiliation;               all    other



          monetary           and/or          non-monetary                  losses       suffered         by    Plaintiff;



                       (c)              An award            of     punitive          damages            in    an amount           to be determined                      at trial;



                       (d)              An     award        of     costs      that     Plaintiff         has    incurred          in this       action,          including,          but      not


                                                                                                                                       attorneys'
          limited      to,     expert        witness        fees,       as well         as Plaintiff           s reasonable                                     fees    and     costs        to the


          fullest     extent      permitted            by        law;      and



                      (e)               Such     other       and        further        relief      as the      Court        may      deem        just      and      proper.




         Dated:       New        York,         New       York                                                      Respectfully               submitted,

                      February            27,    2018


                                                                                                                                                                                        ..

                                                                                                                   Laura         S. Schnell

                                                                                                                   Eisenberg           &      Schnell           LLP
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                                                                                                   11 of 11
Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 129 of 157




    EXHIBIT
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               Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 130 of 157




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     10
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
     11                                  FOR THE COUNTY OF LOS ANGELES
     12
          DOMINIQUE HUETT,           ) CASENO:
     13
                                     )
     14             Plaintiff,       )    CIVIL COMPLAINT ALLEGING
               vs.                   )    DAMAGES FOR NEGLIGENCE
     15                              )
     16   THE WEINSTEIN COMPANY LLC, )     DEMAND FOR JURY TRIAL
                                     )
     17             Defendant.       )
                                     )
     18                              )
     19                              )
          ~~~~~~~~~~~~~~~·)
     20
                                                  PARTIES AND JURISDICTION
     21

    22
                    1.            Plaintiff Dominique Huett is a citizen and resident of New York.

     23             2.            Defendant The Weinstein Company LLC (hereinafter referred to as "TWC") is a

     24   Delaware limited liability company whose principle place of business is in New York, New
     25
          York.
     26
                    3.            Venue properly lies in this county in that Defendant regularly conducts business
    27
     28   in thG,; county, and the torts described herein were committed in this county. This Court has
               ~~




                                                                 -)-
                                                           CIVIL COMPLAINT




--------~····            ·-·---
                    Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 131 of 157



......
          1   jurisdiction in that this is a claim for damages of not less than $5 million, well in excess of the
          2   jurisdictional minimum of $25,000.
          3
                                                 FACTUAL ALLEGATIONS
          4
                     4.      In or about November 2010, Plaintiff Dominique Huett and Harvey Weinstein
          5

          6   arranged to meet each other at The Peninsula Beverly Hills hotel in Beverly Hills, California.

          7   Plaintiff was an aspiring actress at the time and the purpose of the meeting was to discuss
          8
              Weinstein,s offer to assist Plaintiff in procuring future television and/or film roles. The
          9
              communications to arrange this meeting included e-mails from the e-mail address of
         10
              Weinstein's assistant at TWC.
         11

         12          5.      Plaintiff and Weinstein initially met at the bar of The Peninsula hotel, where they

         13   discussed Weinstein's interest in assisting Plaintiff with her acting career. During their
         14
              conversation, Plaintiff noticed Weinstein staring at her breasts. Weinstein asked Plaintiff is she
         15
              had ever had a "boob job" and asked her to show him her breasts. Plaintiff refused and was
         16
         17   made uncomfortable by the question and the request. However, Weinstein informed Plaintiff

         18   that the purpose of the questioning was that it would be beneficial for securing future roles if
         19   she did not have breast augmentation.
         20
                     6.      At some point during their conversation, Weinstein, who was at the time living at
         21
              the hotel, invited Plaintiff to his room under the guise of continuing their business meeting.
         22

         23   Plaintiff agreed to move the meeting to his hotel room, believing they were to continue their

         24   discussion regarding her career.
         25
                     7.      While in Weinstein's room, the two continued their conversation regarding
         26
              Plaintiffs career. At some point, Weinstein excused himself to use the restroom. After several
         27
              minute~Weinstein returned from the restroom wearing only a bathrobe.
         28


                                                              -2 -
                                                       CIVIL COMPLAINT
           Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 132 of 157




 1          8.      U1)on   r~htrfung, Weinstein asked Plaintiff to perfonn a massage on him. Plaintiff
 2   said, "No," and that she did not feel comfortable by his request. However, Weinstein persisted
 3
     and would not take "no" for an answer. Weinstein laid on the bed and demanded that Plaintiff
 4
     perform a massage on him. Plaintiff ultimately complied with his demands and performed the
 5

 6   massage.

 7          9.      Subsequently, Weinstein requested to perform oral sex on Plaintiff. Plaintiff was
 8
     shocked and alarmed by the request and initially refused. Again, Weinstein displayed
 9
     persistence and would not take "no" for an answer. Weinstein initiated and Plaintiff froze as
10

11
     Weinstein removed her clothing and perfonned oral sex on her. Weinstein performed oral sex

12   on Plaintiff for several minutes. After perfonning oral sex on Plaintiff, Weinstein masturbated

13   in front of Plaintiff until he reached orgasm.
14
             10.    At some point during their communications, Weinstein gave Plaintiff the contact
15
     information for an executive producer with Project Runaway, a television program produced by
16

17   Defendant, and offered to secure a role for Plaintiff on the program.

18           11.    Prior to the incident involving Plaintiff, Defendant TWC's executives, officers
19
     and employees had actual knowledge of Weinstein's repeated acts of sexual misconduct with
20
     women. In particular, Defendant was aware of Weinstein's pattern of using his power to coerce
21
     and force young actresses to engage in sexual acts with him. This knowledge was possessed by
22
23   Defendant's Board of Directors including, upon infonnation and belief, Bob Weinstein.

24          12.     Upon information and belief, Defendant was aware of allegations of sexual
25
     misconduct against Weinstein going back to the 1990s. Upon information and belief, prior to
26
     the incident involving Plaintiff, Defendant was aware of multiple claims of sexual misconduct
27
           r-"

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                                               CIVIL COMPLAINT
          Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 133 of 157



                                     ..
 1   which were settled with tl:ie victirris prior to the filing of suit. This knowledge was possessed by
 2
     Defendant's Board of Directors including, upon information and belief, Bob Weinstein.
 3
                13.   Prior to the incident involving Plaintiff, Defendant often aided and abetted
 4
     Weinstein in the commission of his sexual misconduct. For example, female Weinstein
 5

 6   Company employees were often used as "honeypots" to lure his victims into a false sense of

 7   security. The "honeypots" would initially join a meeting along with a woman Weinstein was
 8
     interested in, but then Weinstein would dismiss them, leaving him alone with the woman.
 9
                14.   Plaintiff did not discover, and a reasonable and diligent investigation would not
10
     have disclosed, that prior to her incident Defendant was aware of numerous allegations of
11

12   sexual misconduct involving Weinstein. Upon information and belief, the allegations of sexual

13   misconduct involving Weinstein that Defendant was aware of were subject to nondisclosure
14
     agreements and/or confidential settlements, and were otherwise only known inside TWC. Upon
15
     information and belief, the nondisclosure agreements and/or confidential settlements legally
16

17   prohibited Defendant TWC, Weinstein, and the victims of the sexual misconduct from

18   discussing the allegations and Defendant's knowledge thereof. As such, even if Plaintiff had
19   conducted a timely and reasonable investigation, she could not have discovered Defendant's
20
     prior knowledge of Weinstein's sexual misconduct. Plaintiff was unable to discover
21
     Defendant's knowledge of Weinstein's propensity to engage in sexual misconduct until the
22

23   story of Weinstein's pattern of sexual misconduct with young actresses broke in October 2017.

24                                                COUNT I
                                                 (Negligence)
25

26              15.   Plaintiff repeats and realleges the allegations in paragraphs 1 through 14 above.

27              16.   At all relevant times, Defendant owed a duty to use reasonable care in the
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     retenli§m and supervision of its employee Harvey Weinstein.

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                                                CIVIL COMPLAINT
          Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 134 of 157




             17.       This included a duty to control Weinstein in his intera~tions with wbme~ durlng
 2
     meetings taking place within the course and scope of his employment in order to prevent
 3
     foreseeable harm.
 4
             18.       Prior to the sexual misconduct with Plaintiff, Defendant knew or had reason to
 5

 6   believe Weinstein was likely to engage in sexual misconduct with women he came into contact

 7   with during the course and scope of his employment. In particular, upon information and belief,
 8
     Defendant knew or should have known that Weinstein would lure young aspiring actresses into
 9
     compromising situations under the guise of business meetings. Prior to the incident involving
10
     Plaintiff, Defendant's Board of Directors possessed knowledge of Weinstein's propensity to
11

12   engage in sexual misconduct. Knowledge of Weinstein's propensity to engage in sexual

13   misconduct was additionally possessed by Defendant's executives, officers and employees. At
14
     all relevant times Defendant's Board of Directors maintained a supervisory position over
15
     Weinstein.
16

17           19.       By possessing knowledge of Weinstein's prior sexual misconduct, Defendant

18   knew or should have known that Weinstein was unfit and that this unfitness created a particuli;rr
19   risk to others.
20
             20.       Defendant did not act in a reasonable manner by failing to terminate Weinstein
21
     and instead continued to allow him to meet with prospective actresses in private areas with tJ:ie
22
23   knowledge that there was a substantial likelihood for sexual misconduct.

24           21.       Weinstein's meeting with Plaintiff at the Peninsula hotel occurred within the
25
     course and scope of his employment. The contact between Plaintiff and Weinstein was
26
     generated by the employment relationship between Defendant and Weinstein.
27

28


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                                               CIVIL COMPLAINT
              Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 135 of 157




                                                                                   .. ,•
 1             22.   Defendant's negligence in supervising and/or retaining Wefostein was a
 2   substantial factor in causing Plaintiffs harm.
 3
               23.   It was foreseeable that Weinstein would engage in sexual misconduct if
 4
     Defendant continued to allow Weinstein to have private business meetings with actresses. At
 5

 6   all relevant times, Defendant knew Weinstein was using his power and position to coerce

 7   women into engaging in sexual contact and knew that this sexual misconduct would cause
 8
     harm.
 9
               24.   Defendant failed to institute corrective measures to protect women coming into
10
     contact with Weinstein, including Plaintiff, from sexual misconduct despite the Board of
11

12   Directors possessing actual notice of Weinstein's sexually inappropriate behavior. Such acts and

13   omissions demonstrate a conscious disregard of the safety of others. The Board of Directors was
14
     aware of the probable dangerous consequences of failing to remove or adequately supervise
15
     Weinstein. In failing to do so, Defendant acted with actual malice and with conscious disregard
16

17   to Plaintiffs safety.

18             25.   As a direct and proximate result of Defendant's negligence, Plaintiff was a
19   victim of Weinstein's sexual misconduct. The sexual misconduct has caused Plaintiff to suffer
20
     continuing, severe and permanent psychological and emotional issues, and the loss of
21
     enjoyment oflife.
22
23                                       PRAYER FOR RELIEF

24             26.   General damages in an amount to be shown according to proof at the time of
25
     trial.
26
               27.   Special damages including medical and psychological care expenses in an
27
     amom@o be shown according to proof at the time of trial.
28


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                                              CIVIL COMPLAINT
           Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 136 of 157




 1              28-.        Punitive and. exempfary damages in an amouht appropriate to punish or set an
 2
      ex~ple           of Defendant.
 3
                29.         Co$.t.S of suit.

                30..        StJch other and further :relief as· this Court deems just and proper.
 5
 6
 7                                             DEMAND FOR JURY TRIAL
 8
               'Plaintiff hereby demands. a jury trial in this. action.
 9
1.0

11

12    Dated;.'(}t-. ·~ J.f'.)          2017

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                                                                     By.:
M                                                                                .i.~l.. .li.s
15:                                                                         Califo· ·.·a. Bar No. 2980.39
                                                                            dellis. . h~nnaplaw.com
16.                                                                         Arick Fudali
                                                                            CcV.iforni~ :Sar No •. 296364·
1,7
                                                                            afqdali@hermanlaw.com
i8                                                                          Jeff Herman.
                                                                            (pendii:igpro hqc. vice adi;nission)
i9                                                                          Attotneysfor Plaintiff
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            CD                                         CIVIL. COMPLAINT.
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                          Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 137 of 157

 St:fORT Tr{LE,:                                                                          cAse NUMBER.
                   Dominique HI.Jett v. The Weinstein Company LLC


Step 4: Statement of Reason and Address:                Check the appropriate boxes for the numbers shown under Co.lumn C.forthe
               type of action .that you have selected. Enter the address which is the basis for the filing location~ including zip code.
               (No address required for class action cases). .
         .                                                             ADDRESS:
    REASON:                                                            98°82 s. Santa Monica ·soul~vMd
      01.02.o3.o4.D5.06.07. OS.O 9.010.~11.


    CITY!°                                     STATE:     ZIP COPE:•
                      '
    Beverly Hills                              CA         90212

Step 5:. 'Certificatfon of Assignment: t certify that this case is properly flied in the              Central                 District of
               the Superior court of California, County oflos An'geles. (Code Civ. Proc•; §~92 et seq., and Local Ru.le ·2.3(a)(l)(E)].




   Dated:· October 24, 2P1.7




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED.IN ORDER TO PROPERLY
   CO~MENCEYOURNEWCOURlCA~~-:

          1.. Qriginal Co&ip.laint or Petitiqn.
          2. If ·filing a Complaint, a completed Summons form for Issuance by the Cieri< .
         .3. Civif Case Cover Sheet, Judicial Council. form CM•b1 o.

          4.       c·ivil Case Cover Sheet Addendum and Statement.of Locationform, LACIV 109, LASO Approved 03-04 (Rev;
                   OZ'16).
          5. Payment in fuli of the filing fee, unless there.is court order for waiver; partial or sehecluled paymen!S;
          6. A signed orde~ appointing the G.uardian ao Utem, .Judici~J Counc,il.:fc;irm C.IV-010; if th~ plaintiff ot peti.tion~r is a
                   minor under 18 Years of age Will be required by Court in .ordeflo· issue a summons..
          7. Additional copies of documents to be conformed by the Clerk. Copies of the cover she.et and this addehdum
             must be served along with the summons and complaint; or .other Initiating pleading in the case.




    LAciV 109 (RevU16)                        CIVIL CASE COVER SHEET ADDENDUM                                             Local Ri.Jle 2;3
                       .r"
    LASO Approved 03.r04                         AND STATEMENT OF LOCATION.                                                  Pag_e·4of 4
Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 138 of 157




    EXHIBIT
                           D
           RHEINGOLD GIUFFRA RUFFO & PLOTKIN LLP
                    Attorney for Plaintiff
                     551 Fifth Avenue, 29th Floor
                        New York, N.Y. 10176
                        Tel: (212) 684-1880
                        Fax: (212) 689-8156
                        Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 139 of 157




                         1          GLORIA ALLRED SBN 65033
                                  NATHAN GOLDBERG SBN 62192
                         2        CHRlSTINA CHEUNG, SBN 280148
                                                                                                  FILED
                                                                                           Superior Court of California
                                            LAW OFFICES
                                                                                             County of Los Angeles ·
                         3       ALLRED, MAROKO & GOLDBERG
                                            SUITE 1500                                           NOV 14 2017
                         4           6300 WO..SHIRE BOULEVARD
                               LOS ANGELES, CALIFORNIA 90048-5217
                                                                                     Sherridter, ~ji!?fficer/Clerk
                         5          Telephone No. {323) 653-6530
                                       Fax No. (323) 653-1660                         By ,   ·      J,     , Deputy

                         6                                                                  Moses Soto
                             Attorneys for Plaintiff. JANE DOE
                         7
                         8                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         9                                FOR THE COUNTY OF LOS ANGELES ~
                                                                           -~        (,cfV~
                        10
                        11
                             JANE DOE, an Individual,                        l
                                                                             )
                                                                                 f   CASE NO:       BC 6 8 3 4 1 1
                        12                 Plaintiff,                                COMPLAINT FOR DAMAGES

                        13          vs.                                      )        1.       SEXUAL BATTERY IN
                                                                             )                 VIOLATION OF CAL. CIV.
                        14                                                   )                 CODE § 1708.5
                             THE WEINSTEIN COMPANY LLC, a                    )
                        15 Corp.; THE WEINSTEIN COMPANY                      )       2.        GENDER VIOLENCE IN
                           HOLDINGS LLC, a Corp.; HARVEY                     )                 VIOLATION OF CAL. CIV.
                                                                      I
                                                                             L') \l ·
                        16 WEINSTEIN, an individual; and DOES                                  CODE§ 52.4
                           through 25, inclusive,
                                                                                               BATTERY
                        17
                                                                      -~ ~~          3.
                        18                · Defendants.                   ~      J   4.        ASSAULT

                        19                                                   )    j 5.         NEGLIGENCE
                        20                                                        v 6.         NEGLIGENT RETENTION
                                                                                               OR SUPERVISION
                        21

                 ~
                                                                                      7.        INJUNCTIVE RELIEF
                        22
     ..
                 z-     23
                                                                                     JURY TRIAL DEMAND



                 -
                 ( !)
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                        24 Plaintiff hereby alleges as follows:
                        25                                    GENERAL ALLEGATIONS
                 0      26          1.     Plaintiff JANE DOE ("Plaintiff"' or "Doe"), at all relevant times mentioned herein,
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       ~·;.
                        27 and currently, resides in the County of Los Angeles, State of California.
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      .j:J.
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                        28          2.     Plaintiff is informed and believes, and based thereon alleges that Defendant THE
      f'.;)
      O)                                                                     1
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      °"'.:)                                                       COMPLAINT FOR DAMAGES

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              1 WEINSTEIN COMPANY LLC (hereinafter "Weinstein Co.") is now and at all relevant times a
              2 corporation or other fonn of legal entity doing business in the County of Los Angeles, State of
              3 California.
              4           3.      Plaintiff is infonned and believes, and based thereon alleges that Defendant THE
              5 WEINSTEIN COMPANY HOLDINGS, LLC (hereinafter "Weinstein Co. Holdings") is now
              6 and at all relevant times a corporation or other fonn of legal entity doing business in the County of
              7 Los Angeles, State of California.
              8           4.      DEFENDANT WEINSTEIN CO. HOLDINGS and DEFENDANT
              9 WEINSTEIN CO. hereinafter shall be collectively referred to as ''the Companies."
             10           5.      Plaintiff is infonned and believes, and based thereon alleges that at all relevant
             11   times, each Defendant was the principal, agent, partner, joint venturer, officer, director, controlling
             12   shareholder, subsidiary, affiliate, parent corporation, successor in interest, and/or predecessor in
             13   interest" of some or all of the other Defendants, and was engaged with some or all of the other
             14   Defendants in a joint enterprise for profit, and bore such other relationships to some or all of the
             15   other Defendants so as to be liable for their conduct with respect to the matters alleged below.
             16           6.     Plaintiff is infonned and believes, and based thereon alleges that each Defendant
             17   acted pursuant to and within the scope of the relationships alleged above, that each Defendant
             18   knew or should have known about, and authorized, ratified, adopted, approved, controlled, and
             19 aided and abetted the conduct of all other Defendants.
             20          7.      Plaintiff is infonned and believes, and based thereon alleges that at all relevant
             21   times, the Companies are joint ventures in that each business combined their property, skill or
             22   knowledge with intent to carry out a single business undertaking, each has an OWnership interest in
             23   the business, they have joint control over the business even if they agreed to delegate control, and
             24   they have agreed to share the profits and losses of the business and that together, at all relevant
             25   times herein, the Companies regularly conducted business in California in the production of films.
             26          8.      Plaintiff is infonned and believes, and based thereon alleges that Defendant
   f-.'~

   r,.::-    27 HARVEY WEINSTEIN (hereinafter "Weinstein") is an individual who at all relevant times
    r-..:.
   r.-J>
   J!J>      28 herein, is a resident of the County of New York who regularly came to this County to conduct
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                                                                       COMPLAINT FOR DAMAGES
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Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 141 of 157




     business.
 2           9.      Venue properly lies in this county in that all Defendants regularly conduct business
 3 in this county and that the conduct described herein were committed in this county.
 4           10.     The true names and capacities, whether individual, corporate, partnership, associate
 5 or otherwise, of Defendants sued herein as DOES 1through25, inclusive, are currently unknown
 6 to Plaintiff, who therefore sues said Defendants by such fictitious names. Plaintiff is informed and
 7 believes, and based thereon alleges, that each of the Defendants designated herein as a DOE is
 8 legally responsible in some manner for the events and happenings referred to herein, and caused
 9   injury and damage proximately thereby to Plaintiff as hereinafter alleged. Plaintiff will seek leave
10   of court 'to amend this Complaint to show the true names and capacities of the Defendants
11   designated herein as DOES when the same have been ascertained. Whenever in this complaint
12   reference is made to "Defendants," such allegation shall be deemed to mean the acts of Defendants
13   acting individually, jointly, and/or severally.
14           11.    Except as hereinafter specifically described, Defendants and each of them, are and
15   were the agents and/or employees of the other Defendants, and in acting as described herein were
16   acting within the scope of their authority or employment as agents and/or employees thereof, and
17 with the pennission and consent of the other Defendants.
18           12.    In late 2011, Plaintiff met Defendant Weinstein at a party that Defendants were
19 hosting at the Chateau Marmont. Plaintiff was an actress and informed Weinstein of the same
20   when she was introduced to him at the event. Upon learning that Plaintiff was an actress,
21   Weinstein offered to assist her with her acting career and requested her telephone number. She
22   obliged.
23           13.    Over the next few years, Weinstein invited Plaintiff to attend awards show parties
24   that the Defendants hosted and maintained regular communication with Plaintiff every few months
25   thereafter.
26           14.    In late 2015, Plaintiff met Weinstein at the Montage Hotel in Beverly Hills,
27   Califorilla to discuss a prospective acting job on a television show called "Marco Polo" as well as
28   acting in two to three other projects. At some point, he said he wanted to masturbate in front of

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                                             COMPLAINT FOR DAMAGES
             Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 142 of 157




             1 her. Plaintiff told Weinstein that she did not want him to masturbate in front of her. Weinstein
             2 told her that he would not touch her, but "only" wanted her to watch him. Despite her telling
             3 Weinstein "no," Weinstein proceeded to grip her wrist with one hand while using the other to
             4 masturbate in front of her until completion.
             5          15.     In early spring of 2016, Weinstein contacted Plaintiff again to meet with him at the
             6 Montage Hotel in Beverly Hills to celebrate her upcoming role in Marco Polo giving her the
             7 impression that she had been chosen for the part. Plaintiff agreed. At some point; Weinstein
             8 excused himself and returned wearing a bathrobe. Before Plaintiff could leave, Weinstein grabbed
             9 her and pulled her into the bedroom. Plaintiff told Weinstein that she did not want to do anything
            10   sexual with him. He forcefully threw Plaintiff onto the bed. He pulled down her jeans and started
            11   to orally copulate her. Plaintiff pushed Weinstein's head off of her and told him, "Stop!"
            12   Weinstein then used his massive weight and strength to force himself on her, pushing his penis
            13   inside of her vagina without a condom. After he withdrew, he gripped her with one hand while
            14 using his other hand to masturbate. Plaintiff finally broke free from his grasp and immediately left
            15   the bedroom and suite.
                        16.     Weinstein contacted her thereafter and acted as if nothing had happened. He told
            17 her he was coming to Los Angeles. Plaintiff swore at him and hung up the phone.
            18          17.     Plaintiff never received a job offer for the Marco Polo project even though she had
            19   been previously told that she would be a perfect addition for the show. Nor did she receive any
            20   offers for other projects that Weinstein had discussed with her.
            21          18.     Prior to the incidents involving Plaintiff, the Companies' executives, officers,
            22   directors, managing agents, and employees had actual knowledge of Weinstein's repeated acts of
            23   sexual misconduct with women. In particular, the Companies were aware of Weinstein's pattern
            24 of using his power and the promise of procuring jobs to coerce and force actress.es to engage in
            25   sexual acts with him.
            26          19.     Based upon information and belief, the Companies were aware of multiple claims
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    ,,      27 of sexual misconduct against Weinstein, which were settled prior to the initiation of litigation.
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 ........   28          20.     Based upon information and belief, the Companies' knowledge of multiple claims
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""·'~                                                   COMPLAINT FOR DAMAGES
             Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 143 of 157                                           ·1
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              1 of sexual misconduct against Weinstein is evidenced in their 2015 employment contract with
              2 Weinstein. The contract with Weinstein states that if Weinstein is sued for sexual harassment or
              3 other "misconduct" that results in a settlement or judgment against the Companies, Weinstein
              4 must reimburse the Companies for such settlements or judgments and that Weinstein must pay the
              5 Companies liquidated damages of$250,000 for the first such instance, $500,000 for the second
              6 such instance, $750,000 for the third such instance, and $1,000,000 for each additional instance.
              7 Moreover, the contract states that as long as Weinstein pays, it constitutes a "cure" for the
              8   misconduct and the Companies can take no further action against Weinstein, such as terminating
              9 him.
             10          21.     Plaintiff further alleges that the Companies and DOES 1-25 are strictly liable for
             11   Defendant Weinstein's actions under the principles ofrespondeat superior, as alleged herein, and
             12 had advance knowledge that Defendant Weinstein would engage in this despicable conduct while
             13   acting within the scope of his employment and by their actions and inactions ratified, authorized
             14 and condoned this unlawful behavior.
             15          22.     As a direct and proximate result of Defendants' unlawful conduct as alleged
             16 hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
             17 embarrassment, mental and emotional distress and anxiety, and economic harm, all in an amount
             18   exceeding the jurisdictional minimum of the Superior Court according to proof at trial.
             19          23.     The aforementioned conduct by Defendants was willful, wanton, and malicious. At
             20 all relevant tim:es, Defendants acted with conscious disregard of the Plaintiff's rights and feelings.
             21   Defendants also acted with the knowledge of or with reckless disregard for the fact that their
             22 conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further informed
             23   and believes that Defendants intended to cause fear, physical injury and/or pain and suffering to
             24   the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary
             25   damages from Defendants according to proof.
             26                                      FIRST CAUSE OF ACTION
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             27          (Sexual Battery in Violation of Cal. Civ. Code§ 1708.5 Against All Defendants)
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             28          24.     Plaintiff repeats and realleges by reference each and every allegation contained
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"':.~                                                     COMPLAiNT FOR DAMAGES



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             Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 144 of 157
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              1 hereinabove and incorporates the same herein as though fully set forth herein.
              2          25.     Cal. Civ. Code Section 91708.S(a) provides: A person commits a sexual battery
              3 who does any of the following: (1) acts with the intent to cause a harmful or offensive contact with
              4 an intimate part of another, and a sexually offensive contact with that person di~ectly or indirectly
              5 results. (2) Acts with the intent to cause a harmful or offensive contact with another by use of his
              6 or her intimate part, and a sexually offensive contact with that person directly or indirectly results.

              7   (3) Acts to cause an imminent apprehension of the conduct described in paragraph (1) or (2), and a
              8 sexually offensive contact with that person directly or indirectly results.
              9          26.     Cal. Civ. Code Section 91708.S(d) defines "intimate part" as the sexual organ,
             10   anus, groin, or buttocks of any person, or the breast of a female.
             11          27.     Cal. Civ. Code Section 91708.S(f) defines "offensive contact" to mean contact that
             12   offends a reasonable sense of personal dignity.
             13          28.     Plaintiff alleges that Defendant Weinstein committed the act of civil sexual battery
             14   in violation of Cal. Civ. Code Section 1708.5, when on or about early 2016, Defendant, willfully,
             15   maliciously, intentionally, and without the consent of Plaintiff subjected her to the forceful,
             16   harmful and/or offensive touching of Plaintiff's breasts, buttocks, and/or vagina, including
             17   viciously raping her by away of vaginal penetration against her will, without her consent, and in
             18   spite of her express objection.
             19          29.     Plaintiff further alleges that the Companies and DOES 1·25 are strictly liable for
             20   Defendant Weinstein's actions under the principles of respondeat superior, as alleged herein and
             21   otherwise had advance knowledge that Defendant Weinstein would engage in this despicable
             22   conduct while acting within the scope of his employment and by their actions and inactions
             23   ratified, authorized and condoned this unlawful behavior.
             24          30.     As a direct and/or proximate result of Weinstein's unlawful conduct as alleged
             25   hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
             26   embarrassment, mental and emotional distress and anxiety, all in an amount exceeding the
.....,.
tr.::..
 rr:,:,      27 jurisdictional minimum of the Superior Court according to proof at trial.
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 ,.,.;,      28          31.     As a direct and proximate result of Defendants' unlawful conduct as alleged
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              Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 145 of 157




                   hereinabove, Plaintiff has suffered economic harm, loss of earnings, and other damages, all in an
               2 amount that exceeds the jurisdictional minimwn of the Superior Court, according to proof at trial.
               3           32.    The aforementioned conduct by Defendants was willful, wanton, and malicious. At
               4 all relevant times, Defendants acted with conscious disregard of the Plaintiff's rights and feelings.
               S Weinstein also acted with the knowledge of or with reckless disregard for the fact that his conduct
               6 was certain to cause injury and/or hwniliation to the Plaintiff. Plaintiff is further informed and
               7 believes that Defendants intended to cause fear, physical injury and/or pain and suffering to the
               8 Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary
               9 damages from Defendants according to proof at trial.
              10          33.     Plaintiff also seeks declaratory relief as set forth below.
              11                                    SECOND CAUSE OF ACTION

              12           (Gender Violence in Violation of Cal. Civ. Code§ 52.4 Against All Defendants)

              13          34.     Plaintiff repeats and realleges by reference each and every allegation contained
              14 hereinabove and incorporates the same herein as though fully set forth herein.
              15          35.     Cal. Civ. Code Section 52.4(c) defines "gender violence" as: (1) one or more acts
              16 that would constitute a criminal offense under state law that has as an element the use, attempted
              17 use, or threatened use of physical force against the person or property of another, committed at
              18 least in part based on the gender of the victim, whether or not those acts have resulted in criminal
              19 complaints, charges, prosecution, or conviction. (2) A physical intrusion or physical invasion of a
              20   sexual nature under coercive conditions, whether or not those acts have resulted in criminal
              21   charges, complaints, charges, prosecutipn, or conviction. Cal. Civ. Code Section 52.4(d) provides:
              22 Not withstanding any other laws that may establish the liability of an employer for the acts of an
              23   employee, this section does not establish any civil liability of a person because of her or her status
              24   as an employer, unless the employer personally committed an act of gender violence.
              25          36.     Plaintiff further alleges that the Companies and DOES 1-25 are strictly liable for
              26   Defendant Weinstein's actions under the principles ofrespondeat superior as alleged herein and
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 "I:;,        27   otherwise had advance knowledge that Defendant Weinstein would engage in this despicable
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.tl~               conduct while acting within the scope of his employment and by their actions and inactions
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Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 146 of 157




     ratified, authorized and condoned this unlawful behavior.
 2          37.     Plaintiff alleges that, on or about early 2016, and prior to that, Defendant Weinstein
 3 violated Cal. Civ. Code Section 52.4 in that one or more acts he inflicted on Plaintiff constitutes a
 4 criminal offense under state law that has an element of use, attempted use, or threatened use of
 5 physical force against her person, committed at least in part based on Plaintiffs gender, whether or
 6 not those acts have resulted in criminal complaints, charges, prosecution, or conviction.
 7          38.     Plaintiff alleges that, on or about early 2016, and prior to that, Defendant Weinstein
 8 violated Cal. Civ. Code Section 52.4 in that he engaged in a physical intrusion or physical invasion
 9 of a sexual nature under coercive conditions, even if those acts have not yet resulted in criminal
10 complaints, c~arges, prosecution, or conviction.
11          39.     As a direct and proximate result of Defendants' unlawful conduct as alleged
12 hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
13   embarrassment, mental and emotional distress and anxiety, all in an amount exceeding the
14 jurisdictional minimum of the Superior Court according to proof at trial.
15          40.     As a direct and proximate result of Defendants' unlawful conduct as alleged
16 hereinabove, Plaintiff has suffered economic harm and other consequential damages, all in an
17   amount according to proof at trial.
18          41.     The aforementioned conduct by Defendants was willful, wanton, and malicious. At
19 all relevant times, Defendants acted with conscious disregard of the Plaintiffs rights and feelings.
20   Defendants also acted with the knowledge of or with reckless disregard for the fact ~at their
21   conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further informed
22   and believes that Defendants intended to cause fear, physical injury and/or pain and suffering to
23   the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary
24   damages from Defendants according to proof at trial.
25          42.     Plaintiff also seeks injunctive relief as set forth below.
26          43.     Plaintiff has incurred, and will continue to incur, attorneys' fees in the prosecution
27   of this action and therefore demands such reasonable attorneys' fees and costs as set by the Court.
28   // /

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                                             COMPLAINT FOR DAMAGES
           Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 147 of 157




            1                                        TIIlRD CAUSE OF ACTION

            2                                  (For Battery Against All Defendants)

            3           44.    Plaintiff repeats and realleges by reference each and every allegation contained
            4 hereinabove and incorporates the same herein as though fully set forth herein.
            s           45.    In perfonning the acts described herein, Defendant Weinstein acted with the intent
            6 to make a harmful and offensive contact with Plaintiff's person.
            7           46.    Defendant Weinstein did, in fact, bring himself into offensive and unwelcome
            8 contact with Plaintiff as described hereinabove.
            9           47.    At all relevant times, Plaintiff found the contac~ by Defendant to be offensive to her
           10 person and dignity. At no time did Plaintiff consent to any of the acts by Defendant alleged
           11   hereinabove.
           12          48.     As a result of Defendant Weinstein's acts as hereinabove alleged, Plaintiff was
           13   physically harmed and/or experienced offensive contact with her person.
           14           49.    Plaintiff further alleges that the Companies and DOES 1-25 are strictly liable for
           15   Defendant Weinstein's actions under the principles of respondeat superior, as alleged herein and
           16 otherwise had advance knowledge that Defendant Weinstein would engage in iliis despic~ble
           17   conduct while acting within the scope of his employment and by their actions and inactions
           18   ratified, authorized and condoned this unlawful behavior.
           19          50.     As a direct and proximate result of Defendants' unlawful conduct as alleged
           20   hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
           21   embarrassment, mental and emotional distress and anxiety, economic harm and other
           22   consequential damages, all in an amount exceeding the jurisdictional minimum of the Superior
           23   Court according to proof at trial.
           24          51.     The aforementioned conduct by Defendants was willful, wanton, and malicious. At
           25   all relevant times, Defendants acted with conscious disregard of the Plaintiffs rights and feelings.
           26 Defendants also acted with the knowledge of or with reckless disregard for the fact that their
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           27   conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further informed
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           28 and believes that Defendants intended to cause fear, physical injury and/or pain and suffering to
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            Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 148 of 157




                 the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary
             2 damages from Defendants according to proof at trial.
             3                                     FOURTH CAUSE OF ACTION
             4                                    (Assault Against All Defendants)

             5           52.    Plaintiff repeats and realleges by reference each and every allegation contained
             6 hereinabove and incorporates the same herein as though fully set forth herein.
             7           53.    When Defendant Weinstei~ charged at Plaintiff, Weinstein intended to cause
             8 Plaintiff apprehension of an imminent harmful and offensive contact with her person.
             9           54.    As a result of Defendant Weinstein's acts, Plaintiff was in fact, placed in great
            10   apprehension of imminent harmful and offensive contact with her person.
            11           55.    In performing th~ acts alleged hereinabove, Defendant Weinstein acted with the

            12   intent of making contact with Plaintiff's person.
            13           56.    At no time did Plaintiff consent to any of the acts by Weinstein alleged
            14 hereinabove.
            15           57.    Defendant's conduct as described above, caused Plaintiff to be apprehensive that
            16 Defendant would subject her to further intentional invasions of her right to be free from offensive
            17 and harmful contact and demonstrated that at all times material herein, Defendant had a present
            18   ability to Sl,lbject her to an intentional offensive and harmful touching.
            19           58.    Plaintiff further alleges that the Companies and DOES 1-25 are strictly liable for
            20   Defendant Weinstein's actions under the principles of respondeat superior, as alleged herein and
            21   otherwise had advance knowledge that Defendant Weinstein would engage in this despicable
            22   conduct while acting within the scope of his employment and by their actions and inactions
            23   ratified, authorized and condoned this unlawful behavior.
            24           59.    As a direct and proximate result of Defendants' unlawful conduct as alleged
            25   hereinabove, Plaintiff has suffered physical injury, severe emotional distress, humiliation,
            26   embarrassment, mental and emotional distress and anxiety, and economic harm, all in an amount
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            27   exceeding the jurisdictional minimum of the Superior Court according to proof at trial.
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            28          60.     The aforementioned conduct by Defendants was willful, wanton, and malicious. At
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          Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 149 of 157




           1 all relevant times, Defendants acted with conscious disregard of the Plaintiffs rights and feelings.
           2 Defendants also acted with the knowledge of or with reckless disregard for the fact that their
           3 conduct was certain to cause injury and/or humiliation to the Plaintiff. Plaintiff is further informed
           4 and believes that Defendants intended to cause fear, physical injury and/or pain and suffering to
           5 the Plaintiff. By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary
           6 damages from Defendants according to proof.
           7                                      FIFTH CAUSE OF ACTION
           8                                (For Negligence against all Defendants}

           9           61.     Plaintiff repeats and realleges by reference each and every allegation contained
          10 hereinabove and incorporates the same herein as though fully set forth herein.
          11           62.     Defendants committed the negligent actions and/or negligent failures to act, as set
          12 forth hereinabove and those acts proximately caused the emotional, physical, and financial injuries
          13   visited upon Plaintiff.
          14           63.     Defendants owed Plaintiff a duty of care not to cause her emotional distress.
          15           64.     Defendants breached this duty of care by way of their own conduct as alleged
          16 herein.
          17           65.     As a direct and proximate result of Defendants, extreme and outrageous acts,
          18   Plaintiff has suffered emotional distress, humiliation, and embarrassment, economic harm, all in
          19   amount exceeding the jurisdictional minimum of the Superior Court according to proof at trial.
          20                                      SIXTH CAUSE OF ACTION

          21                 (For Negligent Retention or Supervision against the Companies Only}

          22           66.     Plaintiff repeats and realleges by reference each and every allegation· contained
          23   hereinabove and incorporates the same herein as though fully set forth herein.
          24           67.     The Companies had a mandatory duty of care to properly hire, train, retain,
          25   supervise, and discipline their employees so as to avoid unreasonable harm to citizens. With
          26   deliberate indifference, the Companies failed to take necessary, proper or adequate measures in
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          27   order to prevent the violation of Plaintiffs rights and injury to Plaintiff. Among other acts and/or
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J:i.      28   failures to act, the Companies retained Defendant Weinstein and did not terminate him despite
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">.:4"                                                 COMPLAINT FOR DAMAGES
            Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 150 of 157




             1 knowing, or should have known of, his long and well-known history of abusing and sexually
             2 harassing women based on sex.
             3            68.    The Companies breached this duty of care by failing to adequately train employees
             4 to not sexually discriminate and/or harass women. This lack of adequate supervisory training
             5 and/or policies and procedures demonstrates a failure to make reasonable attempts and to prevent
             6 sexually discriminatory behavior toward women. In addition, the retention of Defendant
             7 Weinstein despite his well-known predatory pattern of abuse and harassment was negligent.
             8,           69.    The Companies had a duty to control DefeJ.?-dant Weinstein in his interactions with
             9 women during meetings taking place within the course and· scope of his employment in order to
            10 prevent the reasonably foreseeable harm that he would sexually harass and/or sexually assault
            11    them.
            12            70.    The Companies' negligence in supervising and/or retaining Weinstein was a
            13    substantial factor in causing Plaintiffs harm.
            14            71.    As a direct and proximate result of the Companies' unlawful conduct, Plaintiff has
            15    suffered emotional distress, humiliation, and embarrassment, economic harm, all in amount
            16 exceeding the jurisdictional n:iinimum of the Superior Court according to proof at trial.
            17            72.    The aforementioned conduct by the Companies was willful, wanton, and malicious.
            18    At all relevant times, the Companies acted with conscious disregard of the Plaintiffs rights and
            19 feelings. The Companies were aware of the probable dangerous consequences ofretaining or
            20    adequately supervising Weinstein and allowing him to meet with women under the guise of
            21    procuring work for them. The Companies acted with the knowledge of or ~th reckless disregard
            22    for the fact that Weinstein,s conduct wa5 certain to cause inj.ury and/or humiliation to the Plaintiff.
            23    By virtue of the foregoing, the Plaintiff is entitled to recover punitive and exemplary damages
            24 from the Companies according to proof at trial. ·
            25                                   SEVENTH CAUSE OF ACTION

            26                          (Claim for Injunctive Relief Against All Defendants)
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r..:t•      27            73.    Plaintiff repeats and realleges by reference each and every allegation contained
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,f..i•      28    hereinabove and incorporates the same herein as though fully set forth herein.
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                                                          COMPLAINT FOR DAMAGES
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Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 151 of 157




 1          74.     Plaintiff seeks a Court Order enjoining Defendants from engaging in similar
 2 conduct toward other women.
 3          WHEREFORE, Plaintiff prays judgment be entered in her favor against Defendants, and
 4 each of them, as follows:
 5          1.      For a money judgment representing compensatory damages including consequential
 6                  damages, lost wages, eantlng, and all other sums of money, together with interest
 7                  on these amounts, according to proof;
 8          2.      For an award of money judgment for mental pain and anguish and severe emotional
 9                  distress, according to proof;
10          3.      For punitive and exemplary damages according to proof;
11          4.      For attorneys' fees and costs;
12          5.      For prejudgment and post-judgment interest;
13          6.      For injunctive relief; and
14          7.      For such other and further relief as the Court may deem just and proper.
15
16                                      JURY TRIAL DEMANDED

17   Plaintiff Jane Doe demands trial of all issues by jury.
18

19   DATED: November 14, 2017                        ALLRED, MAROKO & GOLDBERG
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21                                                            ~af!M
                                                     By: -.,,-d"""L__O_RIA........__AL__..._..LRE..._,D=-------
22                                                             NATHAN GOLDBERG
                                                               CHRISTINA CHEUNG
23                                                             Attorneys for Plaintiff,
                                                               JANE DOE
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27
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                                             COMPLAINT FOR DAMAGES
                       Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 152 of 157

                                                                                                                                                                                    CM.01C
       ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Ber number, and address):                                                                                  FOR COURT USE ONLY
  ,_GLORIA ALLRED, ESQ.; SBN: 65033
      NATHAN GOLDBERG, ESQ.; SBN: 62192
      ALLRED, MAROKO & GOLDBERG
       6300 WILSHIRE BOULEVARD, SUITE 1500                                                                                                            FILED
       LOS ANGELES, CA 90048                                                                                                                           Superior Court of Californi~
                 TELEPHONE NO.; 3 23 • 6 53 • 653 0                                   FAX NO.: 323-653·1660                                                 County of Los ARgeles
      ATTORNEY FOR INamel: JANE DOE
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                                          NOV 14 2017
              STREETAODRESS: 111 N. HILL STREET
             MAILING ADDRESS: SAME AS ABOVE                                                                                                       ~h     .R c
                                                                                                                                                  11 em~ter, ~c~fficer/Clerk
            CITY AND z1P cooe: LOS ANGELES , CA 9oo12
  1---"""""'eRA~Nc""'H""'N""'AM;:.::;E:..:::S:..::T;..;.AN=L;;;E""'Y'---"M.:.;;O:.::S:.::K..._C""'O""'UR=T::.;:Hc:..;O""'U:.::S:.::E=------------1 By &a....:. ~~ , Deputy
       CASE NAME:                      JANE DOE v. THE WEINSTEIN COMPANY LLC i THE                                                                      >       Moses Soto
      WEINSTEIN COMPANY HOLDINGS LLCi and HARVEY WEINSTEIN
            CIVIL CASE COVER SHEET                                                        Complex Case Designation
                                                                                                                                                    --                  -
                                                                                                                                                     CASE NUMB~y t) lS ;j 4 1 1
    [JO Unlimited                 D                   Limited           D                           D
                                                                                                Counter                  Joinder
               &~~~~~~d                               &~~~~~~d is                    Filed with first appearance by defendant                       JUDGE:
               exceeds -$25 000) $25 000 or lessl                                           (Cal. Rules of Court, rule 3.402)                        DEPT:
                                                                Items 1-6 below must be completed (see instructions on page 2).
   1. Check one box below for the case type that best describes this case:
          Auto Tort                                                                  Contract                                                Provisionally Complex Civil Litigation
          D Auto (22)                                                                D Breach of contract/warranty (06)                      (Cal. Rules of Court, rules 3.400·3.403)
          D Uninsured motorist (46)                                                  D Rule 3.740 collections (09)              D                    Antitrust/Trade regulation (03)
          Other Pl/PD/WO (Personal Injury/Property                      D                     Other collections (09)                         D Construction defect (10)
          Damage/Wrongful Death) Tort                                   D                     Insurance coverage (18)           D                    Mass tort (40)
           D Asbestos (04)                                                           D Other contract (37)                      D                    Securities litigation (28)
           D Product liability (24)                                                  Real Property                              D                    Environmental!Toxic tort (30)
           D Medical malpractice (45)                                                D Eminent domain/Inverse                   D                    Insurance coverage claims arising from the
           D Other Pl/PDM/D (23)                                                              condemnation (14)                                      above listed provisionally complex case
          Non-Pl/PD/WO (Other) Tort                                     D                     Wrongful eviction (33)                                 types (41)
              DBusiness tort/unfair business practice (07)              D
                                                                Other real property (26)                                        Enforcement of Judgment
          (][] Civil rights (08)                           Unlawful Detainer                                                    D    Enforcement of judgment (20)
          D Defamation (13)                                D Commercial (31)                                                    Miscellaneous Civil Complaint
          D Fraud (16)                                     D Residential (32)                                                   D    RIC0(27)
          D Intellectual property (19)                     D Drugs (38)                                                         D Other complaint (not specified sbove) (42)
              DProfessional negligence (25)                Judicial Review                                                      Miscellaneous Civil Petition
          D Other non-Pl/PDM/D tort (35)                   D Asset forfeiture (05)                                              D Partnership and corporate governance (21)
          Employment                                                    D
                                                                 Petition re: arbitration award (11)                            D Other petition (not specified ebove) (43)
              DWrongful termination (36)                                D
                                                                Writ of mandate (02)
          D Other employment (15)                          D Other judicial review (39)
   2. This case            D
                          is (][] is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:                         ·
      a.          D
                Large number of separately represented parties d.                                D
                                                                          Large number of witnesses
      b.          D
                Extensive motion practice raising difficult or novel e.                          D
                                                                          Coordination with related actions pending in one or more courts
                issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court ·
      c. D Substantial amount of documentary evidence                f. D Substantial postjudgment judicial supervision
   3. Remedies sought (check all that apply): a. [][] monetary b. [][] nonmonetary; declaratory or injunctive relief c. [JO punitive
, 4. Number of causes of action (specify): (?) SEVEN
  5. This case D is (][] ls not a class action suit.
  6. If there are any ~nown related cases, file and serve a notice of related case. (You may use form CM-~15.)
  Date: NOVEMBER 14, 2017
  GLORIA ALLRED.                       ~~?oR;PRl~T~~:El
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                                                                            ~ ~
                                                                                                                 ~o~OR~TTORN
                                                                                                               RPARlY)
                                                                                                                                               oa
                                                                                            NOTICE
    • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases flied
         under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      .. In sanctions.
    ~~File this cover sheet in addition to any cover sheet required by local court rule.
    !· If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    ~;.other parties to the action or proceeding.
    "-'•Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
     ~·                                                                                                                                                                             Pane 1 of2
  Fcll1Jl'Adopted for Mandatory Use                                       CIVl~1~ m~i:ET                                  Le.!ml Cal. Rules of Court, rules 2.30, 3.220. 3.401>-3.403, 3.740;
    J,.!i~lclal Council of Callfomla                                                                                    Sofuefgns-       Cal. Standards of Judicial Administration, std. 3.10
    ~~M.010 [Rev. July 1, 20071
    ...,,;J                                                               0                                                 C0_PJus
                     Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 153 of 157

                                           e
                                   INSTRUCTIONS ON HOW TO                COMPL~TE
                                                                                                  e
                                                                                          THE COVER SHEET                                CM-010
To Plaintiffs and Others Flllng First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This Information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed In Item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, Its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of Interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes In items 1 and 2: If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provislonally Complex Clvll Litigation (Cal.
    Auto (22)-Personal Injury/Property             Breach of ContracVWarranty (06)                 Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                         Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
    Uninsured Motorist (46) (if the                        Contract (not unlawful detainer              Construction Defect (10)
         case involves an uninsured                           or wrongful eviction)                     Claims Involving Mass Tort (40)
         motorist claim subject to                     Contract/Warranty Breach-Seller
                                                           Plaintiff (not freud or negligence)          Securities Litigation (28)
         arbitration, check this Item                                                                   Envlronmentalffoxlc Tort (30)
                                                       Negligent Breach of Contract/
         instead of Auto)                                  Warranty                                     Insurance Coverage Claims
Other Pl/PD/WO (Personal Injury/                       Other Breach of ContracVWarranty                     (arising from provisionally complex
Property Damage/Wrongful Death)                    Collections (e.g., money owed, open                      case type listed above) (41)
Tort                                                   book accounts) (09)
    Asbestos (04)                                                                                  Enforcement of Judgment
                                                       Collection Case-Seller Plaintiff .               Enforcement of Judgment (20)
         Asbestos Property Damage                      Other Promissory Note/Collections
         Asbestos Personal Injury/                            Case                                          Abstract of Judgment (Out of
              Wrongful Death                       Insurance Coverage (not provisionally                        County)
    Product Liability (not asbestos or                 complex) (18)                                        Confession of Judgment (non·
         toxic/environmental) (24)                     Auto Subrogation                                         domestic relations)
    Medical Malpractice (45)                           Other Coverage                                       Sister State Judgment
         Medical Malpractice--                     Other Contract (37)                                      Administrative Agency Award
              Physicians & Surgeons                    Contractual Fraud                                        (not unpaid taxes)
         Other Professional Health Care                Other Contract Dispute                               Petition/Certification of Entry of
              Malpractice                        Real Property                                                  Judgment on Unpaid Taxes
    Other Pl/PO/WO (23)                            Eminent Domainflnverse                                   Other Enforcement of Judgment
         Premises Liability (e.g., slip                Condemnation (14)                                        Case
              and fall)                            Wrongful Eviction (33)                          Miscellaneous Civil Complaint
         Intentional Bodily Injury/PD/WO           Other Real Property (e.g., quiet title) (26)         RICO (27)
                                                       Writ of Possession of Real Property              Other Complaint (not specified
              (e.g., assault, vandalism)               Mortgage Foreclosure
         Intentional Infliction of                                                                          above) (42)
                                                       Quiet Title                                          Declaratory Relief Only
              Emotional Distress                       Other Real Property (not eminent
         Negligent Infliction of                                                                            Injunctive Relief Only (non-
                                                       domain, landlord/tenant, or                              haressment)
              Emotional Distress                       foreclosure)
         Other Pl/PO/WO                                                                                     Mechanics Lien
                                                 Unlawful Detainer
Non-Pl/PD/WO (Other) Tort                          Commercial (31)                                          Other Commercial Complaint
    Business Tort/Unfair Business                                                                               Case (non-tort/non-complex)
                                                   Residential (32)                                         Other Civil Complaint
         Practice (07)                             Drugs (38) {if the case involves illegal
    Civil Rights (e.g., discrimination,                                                                         (non-tort/non-complex)
                                                       drugs, check this item; otherwise,
         false arrest) (not civil                                                                  Mlscellaneous Civil Petition
                                                       report as Commercial or Residential)             Partnership and Corporate
         harassment) (08)                        Judicial Review
    Defamation (e.g., slander, libel)                                                                       Governance (21)
                                                   Asset Forfeiture (05)
         (13)                                                                                           Other Petition (not specified
                                                   Petition Re: Arbitration Award (11)                      above) (43)
    Fraud (16)                                     Writ of Mandate (02)
                                                                                                            Civil Harassment
    Intellectual Property (19)                         Writ-Administrative Mandamus
                                                                                                            Workplace Violence
    Professional Negligence (25)                       Writ-Mandamus on Limited Court
                                                                                                            ElderfDependent Adult
         Legal Malpractice                                Case Matter
                                                                                                                Abuse
 t-" Other Professional Malpractice                   Writ-Other Limited Court Case
                                                          Review                                            Election Contest
 '""-''       (not medical or legal)                                                                        Petition for Name Change
 ;other Non·PllPDIWD Tort (35)                     Other Judicial Review (39)
                                                                                                            Petition for Relief from Late
E~ployment                                             Review of Health Officer Order
                                                                                                                Claim
   ,,,~rongful Termination (36)                        Notice of Appeal-Labor
                                                          Commissioner Appeals                              Other Civil Petition
  r-.9ther Employment (15)
CM;b'.10 (Rev. July 1, 2007)                            CIVIL CASE COVER SHEET                                                            Pogo 2ol2
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                                 Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 154 of 157
f>




             JANE DOE v. THE WEINSTEIN COMPANY LLC; THE                                                       CASE NUMBER
      SHORT TITLE:

      WE N TEIN COMPANY HOLDING LLC· and HARVEY    INSTEIN
                                                                                                                                        BC 6 8 3 411
                                            CIVIL CASE COVER SHEET ADDENDUM AND
                                                    STATEMENT OF LOCATION
                             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                            This form is required pursuant to Local Rule 2.3 in all new civil case filings In the Los Angeles Superior Court.



            Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                               Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

            Step 2: In Column 8, check the box for the type of action that best describes the nature of the case.

            Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                               chosen.
                                                    Applicable Reasons for Choosing Court Filing Location (Column C)

     1. Class actions must be flied in the Stanley Mosk Courthouse, Central District.           7. Location where petitioner resides.
     2. Permissive filing in central district.                                                  8. Location wherein defendant/respondent functions wholly.
     3. Location where cause of action arose.                                                   9. Location where one or more of the parties reside.
     4. Mandatory personal injury filing in North District.                                   10. Location of Labor Commissioner Office.
                                                                                              11. Mandatory filing location (Hub Cases - unlawful detainer, limited
     5. Location where performance required or defendant resides.
                                                                                              non-collection, limited collection, or personal injury).
     6. Location of property or permanently garaged vehicle.




              1::
              ~                         Auto (22)           D    A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death              1, 4, 11
              ~
              ci:                Uninsured Motorist (46)    D    A7110 Personal Injury/Property Damage/Wrongful Death- Uninsured Motorist 1, 4, 11

                                                            D    A6070 Asbestos Property Damage                                                    1, 11
                                     Asbestos (04)
             >. t:
            t: 0
                                                            D    A7221 Asbestos. Personal Injury/Wrongful Death                                    1, 11
             8. ....
             e..c
            Q. "iii               Product Liability (24)    0    A7260 Product Liability (not asbestos or toxic/environmental)                     1, 4, 11
            '!- i!
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             ::::i-                                         D    A7210 Medical Malpractice - Physicians & Surgeons                                 1, 4, 11
            .5 'Si              Medical Malpractice (45)
            (ij
             c 12
                     c                                      D    A7240 Other Professional Health Care Malpractice                                  1, 4, 11
             0::::
             !!! CiJ
            8?....   1:11           Other Personal
                                                            D    A7250 Premises Liability (e.g., slip and fall)                                    1, 4, 11
                 cu
             Cl> E
            ..c cu
                                    Injury Property         D    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,             1, 4, 11
            so                     Damage Wrongful
                                      Death (23)            D
                                                                       assault, vandalism, etc.)
                                                                 A7270 Intentional Infliction of Emotional Distress                                1, 4, 11

                                                            D    A7220 Other Personal Injury/Property Damage/Wrongful Death                        1, 4, 11




       i_ACiv 109 (Rev 2116)                                CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
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        ti:"/!•·                                                ANDOTRf~~~CATION                                                                  Page 1of4
                                                                                                                                                                 LA-CV109
        ""ii;.J
                            Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 155 of 157




           ~t:
                                Business Tort (07)          D    A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1, 2, 3
           G)      {!!
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           0. IV
                                 Civil Rights (08)          00 A6005 Civil Rights/Discrimination                                                 1,2@

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           :::J     :::J
                                 Defamation (13)            D A6010 Defamation (slander/libel)                                                   1,2,3
           s~
           n;   e                   Fraud (16)              D A6013 Fraud (no contract)                                                          1, 2, 3
           ~le iii
               ==
           ~ g>            Professional Negligence (25)
                                                            D A6017 Legal Malpractice                                                            1, 2, 3
           SE
           z~
                                                            D A6050 Other Professional Malpractice (not medical or legal)                        1, 2, 3

                                    Other (35)              D A6025 Other Non-Personal Injury/Property Damage tort                               1, 2, 3

              c   Cll
                            Wrongful Termination (36)       D A6037 Wrongful Termination                                                         1, 2, 3


              l
              E
              w
                              Other Employment (15)
                                                            D A6024 Other Employment Complaint Case
                                                            D A6109 Labor Commissioner Appeals
                                                                                                                                                 1. 2, 3
                                                                                                                                                 10

                                                            D A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful           2,5
                                                                     eviction)
                           Breach of Contract/ Warranty                                                                                          2, 5
                                       (06)                 0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                                                                                                  1, 2, 5
                                 (not insurance)            D A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                 1, 2, 5
                                                            D A6028 Other Breach of ContractJwarranty (not fraud or negligence)
                  tl
                  I!!            Collections (09)
                                                            0 A6002 Collections Case-Seller Plaintiff                                            5, 6, 11
                  c0                                        D A6012 Other Promissory Note/Collections Case                                       5, 11
                  0                                         D A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                   5, 6, 11
                                                                         Purchased on or after Janua     1, 2014
                             Insurance Coverage (18)        D    A6015 Insurance Coverage (not complex)                                           1,2, 5,8

                                                            D    A6009 Contractual Fraud                                                         1, 2, 3, 5
                                Other Contract (37)         0    A6031 Tortlous Interference                                                      1, 2, 3, 5
                                                            D    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8, 9

                             Eminent Domain/Inverse
                               Condemnation (14)            D    A7300 Eminent Domain/Condemnation             Number of parcels _ _             2,6
                  ~
                  Cll
                  a.
                  e           Wrongful Eviction (33)        D    A6023 Wrongful Eviction Case                                                    2,6
                  a.
                                                            D
                  !          Other Real Property (26)       D
                                                                 A6018 Mortgage Foreclosure
                                                                 A6032 Quiet Title
                                                                                                                                                 2,6
                                                                                                                                                 2,6
                                                            D    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)    2,6
                   ..
                   Cll
                   i:
                           Unlawful Detainer-Commercial     D    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)             6, 11
                                       (31)
                  ~
                  0        Unlawful Detainer-Residential
                                       (32)                 D    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)            6. 11

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                  .!!!
                               Unlawful Detainer-
                                                            D    A6020F Unlawful Detainer-Post-Foreclosure                                       2, 6, 11
t-:"i!'i          i:          Post-Foreclosure 34
                  :::>
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""'l·                      Unlawful Detainer-Drugs (38)     D    A6022 Unlawful Detainer-Drugs                                                   2,6, 11
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~~LACIV 109 (Rev 2/16)                                     CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.3
t<-t•LAsc Approved 03-04
....;4
                                                              AND STATEMENT OF LOCATION                                                           Page 2 of 4
               Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 156 of 157




                  Asset Forfeiture (05)        D   A610B Asset Forfeiture Case                                         2,3,6

               Petition re Arbitration (11)    D   A6115 Petition to Compel/ConfirmNacate Arbitration                  2,5

                                               D   A6151 Writ· Administrative Mandamus                                 2,8
                 Writ of Mandate (02)          D   A6152 Writ. Mandamus on Limited Court Case Matter                   2
                                               D   A6153 Writ· Other Limited Court Case Review                         2

               Other Judicial Review (39)      D   A6150 Other Writ /Judicial Review                                   2,8

            Antitrust/Trade Regulation (03)    D   A6003 Antitrust/Trade Regulation                                    1,2,8

               Construction Defect (10)        D   A6007 Construction Defect                                           1, 2, 3

              Clalms Involving Mass Tort
                         (40)                  D   A6006 Claims Involving Mass Tort                                    1, 2, 8

                Securities Litigation (28)     D   A6035 Securities Litigation Case                                    1, 2, 8

                      Toxic Tort
                  Environmental (30)           D   A6036 Toxic Tort/Environmental                                      1, 2, 3, 8

              Insurance Coverage Claims
                from Complex Case (41)         D   A6014 Insurance Coverage/Subrogation (complex case only)            1, 2, 5, 8

                                               D   A6141 Sister State Judgment                                         2, 5, 11
                                               D   A6160 Abstract of Judgment                                          2,6
                     Enforcement               D   A6107 Confession of Judgment (non-domestic relations)               2,9
                   of Judgment (20)
                                               D   A6140 Administrative Agency Award (not unpaid taxes)                2,8
                                               D   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax      2,8
                                               D   A6112 Other Enforcement of Judgment Case                            2, 8, 9

                         RICO (27)             D   A6033 Racketeering (RICO) Case                                      1, 2, 8

                                               D   A6030 Declaratory Relief Only                                       1,2, 8
                   Other Complaints .          D   A6040 Injunctive Relief Only (not domestic/harassment)              2,8
              (Not Specified Above) (42)       D   A6011 Other Commercial Complaint Case (non-tort/non-complex)        1, 2, 8
                                               D   ASOOO Other Civil Complaint (non-tort/non-complex)                  1, 2, 8

                Partnership Corporation
                   Governance (21)             D   A6113 Partnership and Corporate Governance Case                     2,8

                                               D   A6121 Civil Harassment                                              2,3, 9
                                               D   A6123 Workplace Harassment                                          2,3,9

                  Other Petitions (Not
                                               D   A6124 Elder/Dependent Adult Abuse Case                              2, 3, 9
                 Specified Above) (43)         D   A6190 Election Contest                                              2
                                               D   A6110 Petition for Change of Name/Change of Gender                  2, 7
                                               D   A6170 Petition for Relief from Late Claim Law                       2,3, 8
                                               D   A6100 Other Civil Petition                                          2,9




~\?-CIV 109 (Rev 2/16)                        CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
..,!!Ase Approved 03-04                          AND STATEMENT OF LOCATION                                            Page 3 of 4
".:·l
                     Case 1:18-cv-04115-PAE Document 12-1 Filed 05/16/18 Page 157 of 157




 SHORT TITlE:   JANE DOE v. THE WEINSTEIN COMPANY LLC; THE                                   CASE NUMBER
 WEINSTEIN COMPANY HOLDINGS LLC· and HARVEY WEINSTEIN


Step 4:         Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
                type of action that you have, selected. Enter the address which is the basis for the filing location, including zip code.
                (No address required for class action cases).

                                                                        ADDRESS:   2 2 5 N. Canon Drive
   REASON:

   01.D2.1813.04.D5.06.D7.D8.D9.010.D11.


   CITY:                                        STATE:    ZIP CODE:


   Beverlv Hills                                CA         90210
Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL                               District of
               the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and local Rule 2.3(a)(1 )(E)].




  Dated: NOVEMBER 14, 2017                                                               ,
                                                                                       (SIGNATURE OF ATTORNEY/FILING PARTY)
                                                                                       GLORIA ALLRED, ESQ.

 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:
          1. Original Complaint or Petition.
          2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
          3. Civil Case Cover Sheet, Judicial Council form CM-01 O.
          4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
             02/16).
          5.    Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
          6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
               minor under 18 years of age will be required by Court in order to issue a summons.
          7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
               must be served along with the· summons and complaint, or other initiating pleading in the case.




  LAG~V 109 (Rev 2116)                       CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.3
  uW~ Approved 03·04                            AND STATEMENT OF LOCATION                                                     Page 4 of4
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